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                                         UNITED S"fATES DTS"IRICT COURT               ~    1    CITY OF CHICAGO
                                         NORTFIERN DISTRICT OF ILLINOIS               ~         [3y; nqR. SHAV✓N BARNETT
                                           EASTERN D]VISION                           ~    2    30 North LaSalle Street
                                                                                                Room 900
                                 ESTATE OF PIERRE LOURY~                 )                 3    CIllC1o0, Illinois 60602
                                 Deceased, by Tambrasha )                                       (312)744-4746,
                                 Hudson, Administrator, )                                  4    shawn.barnett@ciryofchicago.oig
                                                                                           5         Appeared on behalf of the Defendants,
                                           Plaintiff,))No. ]6 C 04452
                                                     ~                                               Officer Sean Hitz and Officer Jeff
                                     vs                ~                                   6         Riordan;
                                                     ~                                     7   THE VIDEOGRAPHER: MS. BARBARA RUDOLPH
                                 CITY OF CHICAGO,Chicago )                                 $
                                 Police Officers SEAN RITZ )                                   REPORTED BY:
                                 (Star No. 6272) and JEFF J. )                             9
                                 RIORDAN (Star No. 7716), )                                      Steven J. Brickey, CSR
                                                                                          10     CSR License No. 084-004675
                                           Defendants. )                                  11
                                        The discovery deposition ofROGER                  1z
                                 CLARK,taken in tl~e above-entitled cause before          13
                                 Steven J. Brickey, CSR, State ofIllinois, at 30          19
                                 North LaSatle Street, Chicago, Illinois, on the
                                                                                          15
                                 27th day ofDecember, A.D., 2017, commencing at
                                                                                          16
                                 10:10 o'clock a.m.
                                                                                          17
                                                                                          18
                                                                                          19
                                                                                          20
                                                                                          21
                                                                                          22
                                                                                          23
                                                                                          24


                                                                             Page 2                                                             Page 4
                           1    APPEARANCES:                                               1                    INDEX
                           2     ACTION INJURY LAW GROUP,LLC
                                                                                           2    7'~ jE WI7TIESS: ROGER CLARK
                                 BY: MR. ANDREW M. STROTH
                           3     191 North Wacker Drive                                    3                               PAGE
                                 suite 2300
                           4     Chicago, Illinois 60606
                                                                                           9    Direct Examination by 1Vv~. Green........... 7
                                 ~saa) a~a-as29,                                           5    Cross-Examination by Mr. Bai7~ett.......... 219
                          5      astroth@actioninjwylawgroup.com
                          6      ODIM LAW OFFICES
                                                                                           6    Redirect examination by Mr. Green......... 233
                                 BY: MR. CARLTON OD1M                                      7
                           7     225 West Washingnon Street                                8
                                 Suite 2200
                                 Chicago, Illinois 60606                                   9                 E ~( fI 1$ 1 T S
                                 (312)578-9390,                                           10
                          9      ca~1ton@odimla~v.com
                         10           Appeared on behalf of the Plaintiff;                11                                 Marked for
                         11      CITY OF CHICAGO
                                                                                                                            Identification
                                 BY: MR. JONATHAN CLARK GREEN
                         12         MR. DEVLIN SCHOOP                                     12
                                    MR. RAOUL MOWATT                                      13    Exhibit No. 1 .........................    9
                         13         MS. KATE MCCLELLAN                                                ,
                                 30 No~Yli LaSalle Street                                 14    Exhibit No. 2 .........................    12
                         ~9      xoom 900                                                 15    Exhibit No. 3 .........................    14
                                 Chicago, Illinois 60602
                         is      (312)744-4746,                                           16    Exhibit No. 4 .........................    21
                                 jan~~than.greenrr,cityotehicago.org                      17    ~xhibitNo.S .........................     234
                         16      devlinschoop ~cilyofchicago.oig
                                 raoul.mowatt~cityofchicago.org                           18
                         17      katemcclellan chi cityofchicago.org                      1g
                         18           Appeared on behalf of the Defendant,                2O
                                      City of Chicago;
                         19                                                               21
                         zo
                         zl                                                               22
                         ?Z                                                               23
                         ~q                                                               24



                                                                                                                    1 (Pages 1 to 4)
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                                                                          Page 5                                                      Page 7
                            ~             THE VIDEOGRAPHER: Good morning. We             1   WHEREUPON:
                           2     are now on the video record at 10:12 a.m. on            2                 ROGER CLARK
                           3     December 27th, 2017. Please note drat the mics          3   called as a «~itness herein, having been first duly
                           9     are sensitive and may pick up whispering, private       9   swrorn, deposeth and with as follows:
                           5     conversation and cellular interference. Please          5       DIRECT             EX A M I N A TI O N
                           6     turn off all cellphones or place them away from         6   BY MR. GREEN:
                           7     microphones as they can interview with the              7       Q. Okay. Let the record reflect as
                           8     deposition audio. Audio and video recording will        8   stated this is the videotaped deposition of Roger
                           9     continue to take place unless all parties agree to      9   A. Clark taken pursuant to agreement ofthe
                          10     go off record.                                         10   parties and notice in the Federal Rules of Civil
                          11                  This is media unit one of the             11   Procedure in the case of Hudson versus City of
                          12     video recorded deposition ofRoger A. Clark taken       12   Chicago, et al 16 C 4452 presently pending in the
                          13     by counsel for 8~e defendant in the matter of          13   United States District Court for the Northern
                          14     Hudson versus City of Chicago filed in the United      19   District ofIllinois Eastern Division.
                          15     States District Court Northern District of             15                Now, Mr. Clark, are you here
                          16     Illinois Eastern Division. Case number 16 C            16   with counsel today?
                          17     04452.                                                 17       A. I am.
                          18                  This deposition is being held at          18       Q. And who is your counsel who will be
                          19     the City of Chicago Department ofLaw located at        19   defending you?
                          20     30 North LaSalle Street in Chicago, Illinois. My       Z~       A. Mr. Odim as I understand.
                          21     name is Barbara Rudolph in association with JR         21       Q. Okay. And you understand you're
                          22     Colby and Associates and I am tUe videographer. I      22   under oath?
                          23     am not related to any party in this action nor am      23       A. I do.
                          24     I financially interested in the outcome.               Z4       Q. Okay. And are you presently under


                                                                          Page 6                                                      Page 8
                           1                   Will counsel please state their           1   the influence ofany medication, drugs or alcohol
                           2     appearance and affiliation for the record starting      2   that may affect yom• testimony today?
                           3     with the taking counsel first.                          3        A. I am not.
                           4               MR. GREEN: Jonathan Clark Green on            9        Q. And how many depositions have you
                           5     behalf'of'the City of Chicago.                          5   taken approximately?
                           6              MR. MOWATT: Raoul Mowatt on behalf             6        A. In depositions, probaUly 800.
                           7     of the City of Chicago.                                 7        Q. Okay. So you know the ground rules,
                           8              MR.STROTH: Andrew M. Stroth on                 8   correct?
                           9     behalf of the plaintiff.                                9        A. 1 believe I do.
                          10              MR ODIM: Carlton Odim on Uehalf of            10        Q. Okay. And if you have any questions
                          11     the plaintiff.                                         11   while ['m taking this deposition, if there is
                          12               MR. GREEN: Also for the record we            12   anything ~~ou don't understand, of course feel free
                          13     have Kate McClellan.                                   13   to stop me at any time and ask for clarification,.
                          19              MS. MCCLELLAN: Kate McClellan on              19   do you understand that?
                          15     behalf ofthe City.                                     15        A. Yes.
                          16              MIt. GREEN: Also we may have Devlin           16        Q. Okay. And if you don't indicate
                          17     Schoop joining us during the deposition as well as     17   that you don't understand the question, it will be
                          18     Shawn Barnett on behalf ofthe individual               18   assumed that you understood the question, do you
                          19     defendants.                                            19   understand that?
                          20              THE VIDEOGRAPHER: Thank you. The              20        A. Yes.
                          21     repo~~ter is Steven Brickey in association ~~~ith LA   21        Q. Okay. Also, if you need to take a
                          22     ReUoiting. Vdill the reporter please swear the         22   break, of course please indicate so you'd be
                          23     wiU~ess.                                               23   allo~~~ed to take such a break unless a question is
                          29                                                            29   pending, at ~~hich time you can take a break ~s


                                                                                                              2 (Pages 5 to 8)
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                                  soon as the question is answered, you understand     1   with Mr. Odim.
                           2      that, correct?                                       2       Q. And where --
                           3          A. Yes, and probaUly every hour if it's          3       A. And that was after I landed and went
                           9      okay with you.                                       9   to the location.
                           5          Q. I understand. Yow• com~sel informed           5       Q. And so that was the site ofthe
                           6      me that you may want to take a break, we as well.    6   underlying incident in this case?
                           7      So we71 work that out as we go along here.           7       A. Yes.
                           8                   Now, you've been engaged by             8       Q. And how long did you spend there
                           9      plaintiffs counsel to give opinions in this          9   approximately?
                          10      matter•, correct?                                   10       A. Probably around --well, we drove
                          11          A. Yes.                                         11   the area starting from where the incident started
                          12          Q. Okay. And let's go first to just             12   and then wound up in the alley and got out and I
                          13      get the exhibits out ofthe way. If we could mark    13   went to the yard, etcetera, and that was probably
                          19      here Exhibit 1 the notice of videotaped             14   20 minutes, 30 minutes. It was cold.
                          15      deposition.                                         15       Q. And what time of day was it? Was it
                          16               MR. GREEN: Do you have Exhibit --          16   light out, dark out?
                          17                  (Document marked as Clark               17       A. It was -- it was right around
                          18                   Exhibit No. 1 for                      18   3:00 -- 3:00 to 3:30 p.m.
                          19                   identification.)                       19       Q. So it was still light out a bit?
                          20      BY MR. GREEN:                                       20       A. Yes, it was.
                          21          Q. You have Exhibit 1 before you, have          21       Q. And did you speak with anybody at
                          22      you seen this before?                               22   the location?
                          23          A. Yes.                                         23       A. No.
                          29          Q. Now,on the backside or the second            29       Q. Was anybody other than your counsel


                                                                       Page 10                                                  Page 12
                           1     page ofthe exhiUit, it states that all materials      1   and you there with you?
                           2     to bring with you or make available to defendants'    2        A. There was a white Lexus with the
                           3     counsel in advance, all materials upon which you      3   engine running and somebody in it parked right at
                           4     relied or relies to formulate and support all         9   the location. We did not approach or talk to that
                           5     opinions contained in this report, all materials      5   individual, but there was someone there.
                           6     reviewed or consulted in this matter, but not         6   Otherwise, I saw no one else.
                           7     relied upon by drafting --before drafting his         7        Q. So you don't know if that was an
                           8     expert repot including treatises, all notes,          8   Uber or somebody just from the neighborhood?
                           9     notations, comments or other recordkeeping created    9        A. Ca~rect, I do not know.
                          10     while reviewing materials to formulate his opinion   10        Q. Okay. Ifwe can mark ExhiUit 2 for
                          11     and/or to memorialize facts or thoughts, copies of   11   the record, which is essentially your CV,that was
                          12     all statements, bills, plid or unpaid, copies of     12   attached as Exhibit A to your repot in this
                          13     all recordkeeping or for billable hours, a list of   13   matter.
                          19     all matters in which you gave deposition or U•ial    14              (Document marked as Clark
                          15     testimony providing the case name, number, court     15                Exhibit No. 2 for
                          16     and party for whom the testimony was given, have     16                identification.)
                          17     you }provided all those to defendants' counsel?      17   BY MR. GREEN:
                          18          A. Yes.                                         1S        Q. Can you take a look at this, please.
                          19          Q. All right. Have you birought                 19   Is this what you recognize as your six-page CV
                          20     anything in addition other than what ~~~as sent to   20   that was attached as Exhibit A to your report of
                          21     you by -- from your counsel to us directly, have     21   November 13th, 2017, in this matter?
                          22     you brought any[hingwi[h you today?                  22        A. Yes.
                          23          A. 1 brought nothing tiarther except to         23        Q. Have there been any changes since
                          29     let you know that yesterday 1 did ~ site visit       29   ~~ou submitted this?


                                                                                                          3 (Pages 9 to 12)
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                                                                              Page 13                                                            Page 15

                            1          A.    I just noted as 1 looked that it            1       Q.      Cicacions, coo,just as if it was
                            c     said that 1 -- on the first paragraph; 1 have          =   added io phis list, tl,ai wa~~ ~~e're till up-to-date
                            3     consulted in approximately 1,500 cases. That           3   and whether it's trial or deposition.
                            4     should read 1.700. Other than that -- and I went       9       A.      All right. October —okay. So
                            5      ahead and wirote that in by -- 1,700.                 5   here is what I'll do. 1 will say what it is,
                            6          Q.    By hand on the exhibit?                     6   trial or deposition, and then the date and the
                            7          A.    By hand. So I hope that's okay and          ~   citation.
                            8     that would be a correction.                            s       Q.      Perfect.
                            9          Q.    Okay. And between the 1,500 and             9       A.      I did something wrong here. lYs a
                          10       1,700, when did that occur?                          10   busy month. Okay. Deposition, October l2th,
                          11           A.    Well, I -- I -- apparently, I drew         11   Evangelica -- Evangelina, E-V-A-N-G-E~L-I-N-A,
                          12      this -- the 1,700 would be a couple of years ago.     12   Gonzalez versus the County of Los Angeles, case
                          13      So it would be ayear-and-a-half ago, 18 months        1s   I'll have to —one second. I think I listed a
                          14      ago that this was produced.                           i4   number. It's a federal case. 2:16-cv-07018.
                          15           Q.    So you've consulted 1n 200 more            15   Next, deposition, October 13th and December 15th.
                          16      cases within the last tVvo years?                     16   There were two days. Felipe Navarro, F-E-L-I-P-E,
                          17           A.    I believe so, yes.                         17   versus the State ofNew Mexico, 20 —excuse me.
                          18           Q.    Okay.                                      18   26:16-cv-01 ]80 MCA. Next, trial, October 17th,
                          19           A.    I've not kept track, but it's              19   Mayumi, M-A-Y-U-M-I, Donaldson,D-O-N-A-L-D-S-O-N,
                          20      something like that. A hundred cases a year.          zo   versus the City of Englewood,superior court in
                          21           Q.    All right. We'll return to that in         21   the County ofLos Angeles, case number BC 563203.
                          22      a minute. Let's just do Exhibit 3 here. This is       22   Next, trial, October 25th, Randy Conan, C-0.N-A-N,
                          23      the prior testimony for the last four years           23   versus the City ofFontana,federal case number
                          24      attached as Exhibit B to the report of November       2a   15:16-cv-01261. Neat.


                                                                              Page 14                                                            Page 16

                           1      13th, 2017, in this matter. If you take a look at      1    BY MR. GREEN:
                           2      this just to verify.                                   2         Q.      I'm sorry. City of Fontaine?
                           3                 (Document marked as Clark                   3         A.      Fontana, F-O-N-T-A-N-A.
                           4                   Exhibit No. 3 t'or                        4         Q.      Okay.
                           5                   identification.)                          5         A.      Okay. Next is a trial, October
                           6      BY MR. GREEN:                                          6    27th, Estate of Manuel Diaz versus City of
                           7          Q.    Okay. Mr. Clark, if you can take a           7    Anaheim, case number 12 -- it's a US case 12-01897
                           8      look at that. Is that a fair and accurate copy of      8    JVS.
                           9      your prior testimony for the last four years as        9         Q.      Cmanuel. What was his last name'?
                          10      submitted on Exhibit B to yow• report of November     10         A.      Diaz; D-I-A-Z. Next --
                          11      ]3th, 2017, in this matter?                           11         ~.      What court was that again?
                          12          A.    Yes.                                        12         A.      It's a federal case. Central
                          13          Q.    Have there been any changes since           13    District.
                          14      then?                                                 19         Q.      Of California?
                          15          A.    There have been additions since             15         A.      California.
                          16      October 9t1~.                                         16         Q.      Oka~~.
                          17          Q.    And which additions are those?              17         A.      Next. ~ trial, November 7th, William
                          18          A.    I have to refer to -- this is a             18    Mears; M-E-A-R-S, versus the City of Los Angeles,
                          19      precise list. So starting from October 9th 171        19    cv ]5-08441 JnK. Next, a trial, November 15th.
                          20      give you die additional cases -- do you want[he       20    I'm going to murder this name Shellabarger,
                          21      additional cases?                                     Z1    S-H-E-L-L-A-B-A-R-G-E-R versus Dichany,
                          22         Q.     Sure. Yes, please.                          22    D-I-GH-A-R-R-Y, case numUer 13-cv-00188 TLN.
                          23          A.    You ~~-ant me to, um,just give you          23         Q.      And where was that located?
                          24     the dues or do you ~~-ant the citations as welI?       29         A.      Just one second here. That vas in



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                           1     San Francisco Eastern District US case -- US          1        Q. If you can then forward it to us for
                           2     Eastern District of California. It vas an             2   our records, that would be great.
                           3     interesting case. Next is a deposition of             3        A. Okay.
                           9     November 21st, Heleine, H-E-L-E-I-N-E, I'm going      9        Q. But if you can finish up.
                           5     to spell this for you T-C-H-A-Y-O-U versus the        5        A. I keep it updated and it's precise.
                           6     City of Los Angeles. It's a federal case              6   So what you71 get is a complete -- the latest
                           7     16-cv-06073 TJH. Neat, a deposition on November       7   edition it won't have this one on it, but it will
                           8     27th, Monica Ortiz, O-R-T-I-Z, versus the City of     8   Ue up to this date.
                           9     Rialto, R-I-A-L-T-O, and that is a federal case       9        Q. Okay.
                          10     5:16-cv-01384 JGB.                                   10        A. Is that satisfactory?
                          11          Q. V or B?                                      11        Q. Sounds good. We have trial --
                          12          A. Bas in boy. Okay.                            12        A. So where we are -- December what?
                          13          Q. And where was that located, the City         13        Q. On December 8th. Sauuny Sanchez
                          19     of Rialto?                                           19   versus City ofTucson?
                          15          A. Rialto. That's in California.                15        A. That's aUS case XX-XXXXXXX. Next
                          16          Q. Central District?                            16   is a deposition of wliicli the City is involved.
                          17          A. Right, that would be Central                 17   That was December 11th. The Estate ofRoshad
                          18     District Los Angeles County area. So December 1st    18   McIntosh, M-C-I-N-T-O-S-H, versus City of Chicago.
                          19     CR and you put in parenthesis Rucks, R-U-C-K-S,      19   That is case number 1:15-cv-01920.
                          20     it's a child deceased, versus the City of Antioch,   20        Q. And that's otherwise known as Lane,
                          21     A-N-T-I-O-C-H, and that's an Eastern District.       21   the Estate of Lane, or the Estate of McIntosh,
                          22     It's C 16-03742 JST.                                 22   Lane is the plaintiff, correct?
                          23          Q. I'm Sony. Could you say that one             23        A. Correct. Then two more to go. Neat
                          29     more time?                                           Z9   is a deposition on December 14th, which is Taylor


                                                                       Page 18                                                   Page 20

                          i-          A. Sure. C 16-03742 JST. Next is a               1   Swift, S-W-I-F-T, versus David Woo, W-O-O, it's a
                          2      trial on December 8th.                                2   case in San Francisco, it's a US case
                          3           Q. I'm sorry. That December ]st one              3   3:17-cv-00866. And last is a deposition on
                          ~      Rucks, was that a h~ial or a deposition?              4   December 18th. Domingo Davis, Junior versus the
                          5           A. It's a deposition. I'm sorry.                 5   City of Santa Clara and that case -- and that's in
                          6           Q. And the next one is a trial?                  6   the Eastern District. It's near San Francisco.
                          7           A. Next is a trial. December 8th.                7   5:15-cv-05603 E7D. ThaPs it. And then it will
                          8      Sammy Sanchez, S-A-N-C-H-E-Z, versus the City o1'     8   be today.
                          9      Tucson, Ne~v Mexico.                                  9        Q. So since you've provided us with
                         10               MR. MOWATT: Might I make a                  10   this, you've had 14 depositions a• U•ial
                         11      suggestion. Mr. Clark, you're reading this off of    11   testimony, correct?
                         12      a Word file or some such?                            12        A. You are correct. That's a precise
                         13               THE WITNESS: I am.                          13   list.
                         19               MR. MOWATT: Could you possibly              19        Q. And of these 14, ~~~ere any ofthem
                         15      e-mail that and i could print copies as a revised    15   Morrell cases or have Morrell claims that you were
                         16      exhibit?                                             16   testifying in regard to?
                         17      BY MR. GREEN:                                        17        A. There were a number that had Morrell
                         18           Q. Well, please do. How many more do            18   opinions. In the h•ials -- in the ones where
                         19      you have?                                            19   there were trials; T did not express a Morrell
                         20           A. Not many more, but ]was going to             20   opinion.
                         21      suggest that and I'm happy to --                     21        Q. And --
                         22           Q. I'd like to hear it first for the            22        A. Almost in ever~~ one of the reports,
                         .3      deposition.                                          23   there was a Morrell commentar~~.
                          29         A.   Sure.                                       29      Q.    In each of these?



                                                                                                        5 (Pages l~ to 20)
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                           1          A. About two-thirds of them had a                 1        A. And not to make false statements.
                           2      Monell conuncntary.                                   2        Q. Nora-, your attorney e-mailed us last
                           3          Q. All right. So along with the                   3   night that in clarification for this line nine
                           9      additions of these 14 other cases and the list you    4   that you had cited Rule 14, ~~hich in the Chicago
                           5      provided, this is now a fair and accw•ate copy of     5   Police Department is the one regarding making a
                           6      yow• prior testimony of the last fom• years coming    6   false report, written or oral, is that con•ect?
                           7      into this deposition?                                 7        A. Correct.
                           8          A. It would be fair, accw•ate and                 8        Q. Other than that, you have not seen
                           9      precise.                                              9   any other City policies?
                          10          Q. All right. Finally, let's do                  10        A. Not in relation to this -- this
                          11      Exhibit 4.                                           11   issue.
                          12                  (Document marked as Clark                12        Q. In this report?
                          13                   ExhiUit No. 4 for                       13        A. Yes.
                          14                   identification.)                        19        Q. So the only ~vle that you looked at
                          15      BY MR. GREEN:                                        15   or are familiar with in the Chicago Police
                          16          Q. Okay. Mr. Clark, can you take a               16   Department is Rule 14 about making a false report,
                          17      look at what's been marked as Exhibit 4 to this      17   written or oral?
                          18      deposition.                                          18            MR.ODIM: Objection. Foundation.
                          19                  Do you recognize it as your              19   BY THE WITNESS:
                          20      disclosure in this case of November 13th, 2017,      20        A. For the purposes of this repot,
                          21      without the two attached exhibits which we've        21   that was the policy referenced. As you are aware
                          22      marked separately?                                   22   of, I've had a number of Chicago cases and I've
                          23          A. Yes.                                          23   reviewed their policies in other cases, but the
                          24          Q. And is it a fair and accurate copy            24   policy for this case is that citation Rule 14 --


                                                                        Page 22                                                    Page 24

                           1      ofthat disclosure?                                    1   BY MR. GREEN:
                           2          A. It is fair, accw•ate and precise.              2        Q. So --
                           3          Q. Okay. In looking at this report on             3        A. -- or policy 14.
                           9      page two to eight, you mark "Materials reviewed       4        Q. So you did not review Rule 21 or
                           5      thus tar for this matter" and there are 42 items      5   Rule 22 or anything regarding spars or any other
                           6      listed.                                               6   policies/procedw•es ofthe Chicago Police
                           7                   Have you reviewed anything since         7   Department in coming to your conclusions in this
                           8      then and, if so, what?                                8   report?
                           9          A. ]t would only be the site visit.               9       A. That's correct.
                          10          Q. The site visit that you just talked           10       Q. Now, also, we received a note from
                          11 ~    about?                                               11   your -- I'm sorry. From your -- ti•om your counsel
                          12          A. Yes.                                          12   last night that in regard to your reference to the
                          13          Q. And was that the one on Gcenshaw              13   comments by Gene Williams in the Police
                          14      ~~~here the actual shooting took place?              19   Accountability Task Force report that it is the
                          15          A. Yes.                                          15   quote that Mr. Williams makes or -- at page 7~1. is
                          16          Q. Now,in this list of items on number           16   that correct?
                          17      nine, it says "CPD written policies," which          17       A. That's right.
                          18      exactly policies -- which policies did you review    18       Q. There are no other quotes or
                          19      in preparation ofthis repa•t from the Chicago        19   references in regard to that citation?
                          20      Police Department?                                   20       A. Correct.
                          21          A. The -- the policy references the              21       Q. Okay. Also on number 27 you listed
                          22      requirement to be u-uthful and accurate in           22   Daley's July 19th. 2017, statement to the City
                          23      reports.                                             23   Council. Your attorney contacted us last night
                          29          Q. Are --                                        24   end said that should not have been on the list.


                                                                                                         6 (Pages 21 to 24)
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                                                                        Page 25                                                     Page 27
                           1      that it ~e~as, in fact. not provided to you,          1                So the opinions that you are
                           2      correct?                                              2   expressing in this case are based solely on your
                           3           A. Right. I'm glad he's conveyed that            3   review of Rule 14 in regard to the police policies
                           9      to you. That was a mistake. So[hat item should        9   and procedures?
                           5      be stricken completely.                               5             MR. STROTH: Objection again
                           6           Q. And it was not considered a[ all in           6   foundation.
                           7      your• conclusions here --                             7   BY THE WITNESS:
                           8           A. That's right.                                 8        A. That's con-ect regarding opinions
                           9           Q. -- opinions? Finally, your --                 9   that I have expressed.
                          10      numUer 28. It states "Publicly released police       10   BY MR. GREEN:
                          11      complaint registered information on the Internet     11        Q. All right. You said there was one
                          12      at the Citizens Police Data Project website          12   other correction on this list, which one is that?
                          13      www.cpdb.com." We received an e-mail from your       13        A. Right. It's on the list as number
                          14      counsel last night that said, in fact, that you      14   35. It's plural. It's a singular deposition and
                          15      had conducted no specific search in that database,   15   it's Ms. Hudson's deposition. She's the
                          16      is that correct?                                     16   plaintiff. That's sort of technical, but -- so
                          17          A. Correct.                                      17   the list then would be 41 items, not 42.
                          18           Q. Do you know how that database is             18        Q. All right. You list the jwy
                          19      compiled at all?                                     19   verdict in Obrycka versus Chicago, are you
                          20           A. It is -- it's a civilian project and         20   familiar with that verdict at all?
                          21      it has key statistics and what I remember in my      21        A. Only that it was the -- as I
                          22      reviewing of that database, and very quickly, for    22   remember, it was the -- putting the City on notice
                          23      example, like 56,000 allegations versus how many     23   of the Monell.
                          24      are sustained. There is a pie chart indicating       24        Q. Do you know which Monell claim, i f


                                                                        Page 26                                                    Page 28

                           1      that. I could bring it up and show it to you.         1   any, were decided in that case?
                           2      But -- but the pw•pose ofthe notation is -- for       2        A. I think there was -- they were given
                           3      the report was that the City has had put on --        3   a choice of two views and they -- i don't think it
                           4      numerous notices of the problem.                      4   was -- my understanding was it was not clear which
                           5           Q. Do you know how accurate that actual          5   of the two views.
                           6      database is?                                          6        Q. So you recognize that it was
                           7           A. Nn.                                           7   dete~7nined it was an ambiguous verdict?
                           8           Q. Do you know who actually put that             8        A. It's an interesting ~vay to put it,
                           9      together?                                             9   but in that way there is an ambiguity. I'm not
                          10           A. It's a civilian project and I can't          10   the la~~ryer here, butjust the important thing ~a~as
                          11      remember the individual's name, but he --it's        11   it was a notice ofthe Monell problems. That's my
                          12      a --                                                 12   tens for the City.
                          13           Q. So you have no idea?                         13        Q. So you mean that in a generic
                          19           A. It goes back like 15 years of                19   sense --
                          15      research, but I don't remember.                      15        A. I do.
                          16           Q. But you have no personal knowledge           16        Q. -- as for not a specific q~pe of
                          17      of how accurate or who even put that together,       17   Morrell issue?
                          18      correct?                                             18        A. Right, and I wouldn't even know if 1
                          19           A. Correct, 1 did not wllaborate. I             19   would be -- if you can even say there is a
                          20      haven't even contacted him. There is one other       20   difference in types ofMonell. i['s a custom and
                          21      correction on the list if you're finished. 1         21   practice issue. That's the way I looked at it.
                          22      don't know.                                          22   Tt's the City's custom and practice.
                          23           Q. Okay. Well;just going back to Rule           23        Q. So it doesn't matter what type of
                          29      14 just to clarify dial                              29   Morrell, it's al] the same; is [hit what ~~ou're


                                                                                                         7 (Pages 25 to 2~)
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                                                                        Page 29                                                    Page 31

                            ~     spying?                                               1   nave to bring i[ up.
                           2           A. 1 don't understand what you're                2        Q. So you have no inde~~endent kno~~~ledge
                           3      asking me. So if you can Ue ma•e precise, mayUe I     3   right now of what that report is?
                           4      can ans~a~er it. 1 -- 1 don't kno~~ what you mean.    4        A. Correct, 1 don't. I'd have to look
                           5      1 think there is a global approach to problems in     5   at it to refresh my memory. There were -- I'll
                           6      a department and it's called Morrell, whether it's    6   wait for a question.
                           7      a -- I71 wait for the next question.                  7        Q. All right. On 29, you have Macareg,
                           8           Q. So when you divide up your opinions           8   Sarali and Flowers, Alison, Amid Shootings, Chicago
                           9      into five subject matters, it doesn't really          9   Police Department Upholds Culture ofImpunity, the
                          10      matter? They're all tl~e same, is that what you're   10   Truthout, what is Tiuthout? Is that a news blog?
                          11      saying?                                              11        A. Yes, as I remember.
                          12                MR. STROTH: Objection. Form.               72        Q. So you're listing this as something
                          13      BY THE WITNESS:                                      13   you're relying on which is actually a news blog?
                          19           A. Same as what?                                19        A. Yeah, I listed quite a bit of
                          15      BY MR. GREEN:                                        15   news -- quite a few news articles all of which I
                          16          Q. Meaning they don't mean a difference          16   think lave a collective weight, best way to say
                          17      in regard to notice or whether they're               17   it, regarding the opinions I expressed.
                          18      deliberately indit~erent or anything in regard to    18        Q. Now, when you say --
                          19      a particular area of policy and practice?            19        A. Just let me add this. There could
                          20           A. I think you asked me like three              20   Ue -- what I was trying to demonstrate in the
                          21      things. One is there is notice and that's --         21   report and document is that there could be no
                          22      that's the references of all these different         22   claim by the City that's reasonable that they are
                          23      reports, but, in particular, the Department of       23   not aware of these problems that have Ueen ongoing
                          24      Justice report which is a global --                  29   for alength -- a considerable number of years and


                                                                        Page 30                                                    Page 32
                           1          Q. What I'm trying --                             1   that's wl~y these -- that's why they were cited.
                           2          A. If 1 may. The second issue is which            2       Q. So the news articles which would I
                           3     is I think the overarching and most authoritative      3   believe, and correct me ifI'm among, 29, 30, 31,
                           4     commentary. The next is are -- are there written       9   32, 33 and 34 are basically you're saying that
                           5     issues? Yes. And are there custom and practices        5   they go to notice to the City that something --
                           6     that are not written? Yes. And they're all             6   well, in regard to notice for Morrell purposes?
                           7     included in the five specific areas which are          7       A. Yes.
                           8     parsed out in 28 opinions starting at page eight       8       Q. Other than that, there is no --
                           9     of my report                                           9   that's the only reason you're citing them?
                          10          Q. You say the ~~ritten policies and             10       A. I'm taking your question as whether
                          11     procedures ofthe City of Chicago are reasonably       11   or not they're totally truthful or accm•ate. I
                          12     sut'ticient_just for written policies?                12   did not assess diem in that regard. Only that
                          13          A. No, 1 don't think so and I think              13   they -- the weight of these a~~ticles which are --
                          19     that's exactly what the Department of Justice says    19   in my opinion, are substantial would take -- would
                          15     in a number of -- number of areas.                    15   serve as notice to the City and the City response
                          16          Q. Going to this list you have a report          16   should be in accordance with that kind of notice
                          17     munber 26 Crime, Corruption and Coverups in the       17   and has not occurred.
                          18     Chicago Police Department Anticorruption Report       18       Q. So as I mentioned the 29 through 34;
                          19     No. 7 Jan~a~y 17th, 20]3, what type of report is      19   you have ~~o idea how accurate the reporting may
                          20     that and where is it from?                            20   have been or how --
                          21          A. I can't remember exactly. I'd have            21            MR. STROTH: Objection. You'rc
                          22     to go to the report. It's one of the -- just a        22   mischaracterizing the expert's ans~~ers.
                          23     minute. It references in a footnote. It's listed      23   BY MR. GREEN:
                          24     in the footnote oi'page tight. And I hive to -- I     29       Q. Is it fair ro say that you don't


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                                                                             Page 33                                                Page 35
                           1      know how accurate the reports are that you cite in    1       Q. Now, how much time is required for
                           2      29 through 34?                                        2   the alternative mechanisms?
                           3          A. Tha['s not exactly correct. T                  3       A. That's totally dependent on what we
                           4      having been around a while and this looked to me      9   call the totality ofthe circumstance. There
                           5      to be good journalism, substantial, I'll use that     5   are -- there is training throughout the country
                           6      teen, serious, another really good teen and           6   regarding putting yourself deliberately in
                           7      collaborative to the -- what I consider to be the     7   jeopardy and refusing to take areasonably -- an
                           8      crown jewel of all the studies of the City, the       8   obvious reasonable alternative to spare alife --
                           9      DOJ report.                                           9       Q.    Now --
                          10          Q.     Have you had a journalism                 10       A.    -- to use it as a pretext. So those
                          11      background?                                          11   are -- and there is a lot of training including
                          12               MR. STROTH: Objection. Foundation.          12   simulation training given throughout the country
                          13               MR. GREEN: I'mjust asking.                  13   regarding those issues.
                          14      BY THE WITNESS:                                      14       Q. Would you agree ifPien•e Loury in
                          15          A. Not as a journalist, but as a police          15   this case pointed a gun at Officer Hitz, he would
                          16      administrator and then that was one ofthe issues     16   be justified in shooting?
                          17      covered in the Command College course I took.        17             MR. STROTH: Objection. Foundation.
                          18      BY MR. GREEN:                                        18   BY THE WITNESS:
                          19          Q. And did you talk to any ofthese               19       A. Without knowing any other facts,
                          20      groups from 29 tlirougU 34 in how they came about    20   strictly on that basis, if Officer Hitz is looking
                          21      and produced their repots that are listed?           21   down the barrel of a gun in the lands of -- of
                          22          A. No.                                           22   Loury with the expectation that his life is in
                          23          Q. Okay. You state after you list in             23   danger, then, of course, he could defend himself.
                          24      this repot the things that you reviewed. You         24   BY MR. GREEN:


                                                                             Page 39                                                Page 36
                           1      have a section entitled The Basic Rules Regarding     1       Q. And then your opinions would change
                           2      the Use of Deadly Force.                              2   in regard to the underlying case here if that was
                           3                   Would you agree that the                 3   true?
                           4      right -- that an officer has tl~e right to use        4           MR.STROTH: Same objection.
                           5      deadly face, including tl~e use of'a firearm, if      5   BY THE WITNESS:
                           6      an officer is in fear of death or great bodily        6       A. My opinions are regarding the
                           7      harm to himself or others?                            7   Monell. Are we talking now about Hitz's practice
                           8          A. Well, as part of the calculus, there           e   or --
                           9      is more.                                              9   BY MR. GREEN;
                          10          Q.     So --                                     10       Q.   I'm saying if Hitz vas justified in
                          11          A.     So I would not agree with that as         11   shooting in this matter, would your opinions not
                          12      a -- as a justification in its entirety.             12   change in regard to this underlying case in regard
                          13          Q.     So if he is in fear of great bodily       13   to any constitutional violation that your Morrell
                          19      harm to himself or others or death, that he should   14   would be based on?
                          15      not use a tireartn, is that what you're saying?      15            MR.STROTH: Objection. Same
                          16          A. Well, there are occasions even with           16   objection. Foundation.
                          17      that that you ~azould not. The calculus is always    17   BY 77-iE WITNESS:
                          18      with sanctity of life in mind. Only in the direst    18       A.   1 think I was -- the best way to
                          19     of circumstances and only absent obvious              19   answer it is I was not -- I did not address the
                          20      reasonable alternatives, then if you are in          20   issue of whether Lowy had the gun a• not or
                          21      great -- if you are in tear of great bodily harm     21   whether he was pointing the gun or not. That's
                          22     or death and iPs objectively reasonable, you are      22   not in any of the five specific opinions and the
                          23     entitled to use lethal force or you would use         23   20 -- I mean, five categories of opinions and the
                          24      lethal force.                                        29   28 specific opinions. So -- but I'm happy to



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                                                                        Page 37                                                    Page 39
                           1      answer that kind of question if you can repeat it.    1   correct?
                           2      1 just want to make that aspect clear. My report      2       A. Correct.
                           3      doesn't talk about that.                              3       Q. And these are all the opiniais that
                           4      BY MR. GREEN:                                         9   you are providing in this matter.. these 29
                           5           Q. Would you agree that any Morrell              5   opinions?
                           6      claim would -- would be based upon -- or the          6       A. Yes.
                           7      validity of any such Morrell claim would be based     7       Q. All right. On pages five to seven,
                           8      on the validity of whether there was an underlying    $   you also state °The CPD and IPRA investigation did
                           9      constitutional violation in this case or not?         9   not reconcile obvious discrepancies." Citing
                          10           A. No. As I understand your question,           10   "One, failure to look for the second bullet; two,
                          11      the answer is no. It's not -- that issue is not      11   a 5'7" person straddling a six foot fence; three,
                          12      specific to my report.                               12   the handcuffing ofLoury; four, the 1PRA's
                          13           Q. Now, you mentioned 28 opinions in            13   inappropriate questioning techniques and; five,
                          19      this case. I just want to see the structure of       19   [he post-incident location of Hitz and Ria•dan.
                          15      your opinions here. I actually count 29.             15               Now,these are not your
                          16           A. You do?                                      16   opinions, Mr. Clark, are they not?
                          17           Q. I wanted to have you look at 28 --           17       A. These are not the expressed
                          18      or I'm sorry -- 23. It appears you have two 23's.    18   opinions. These are citations ofthe event and
                          19      One under failure to train and one under code of     19   examples of problems.
                          20      silence.                                             20       Q. So this is what you Uelieve to Ue
                          21           A. My bad. So there are 29.                     21   the facts in the record of this case, correct?
                          22          Q. So I will call them for the purposes          22       A. As relating to what I said in the
                          23      ofthis deposition 23A is the failure to train        23   paragraphs, yes, I consider them to be die facts.
                          24      one, the first one, and 23B would be the code of     Z4       Q. And yott use tUese facts as further


                                                                        Page 38                                                    Page 40
                             1    silence one, is that fair enough?                     1   bases for your 29 opinions you cited, correct?
                             2        A. Yes. Thank you. I don't know how               2             MR. STROTH: Objection. Foundation.
                             3    that happened, but it happens.                        3   BY THE WITNESS:
                             9        Q. And now these five topic areas as              9        A. As typical examples of -- that would
                             5    you mentioned are -- as you have in yow• report is    5   fit into the opinions, correct.
                             6    one policy of impending investigations -- of          6   BY MR. GREEN:
                             7    impeding investigations of misconduct, thaYs your     7        Q. And how would these five facts
                             8    opinions one through six, correct?                    8   concerning the post-shooting investigation change
                             9        A. Yes.                                           9   the underlying issue of whether die underlying
                          10          Q. The next one is failure to                    10   shooting was justified or not?
                          11      investigate, your opinion seven through ll?          11             MR. STROTH: Objection. Foundation.
                          12          A. Correct.                                      12   BY THE WITNESS:
                          13          Q. And yom~ third area is failure to             13        A. Well, I think we discussed where
                          19      discipline, yow• opinions 12 d~rough 17.             19   that tit -- the underlyingjustitication ofthe
                          15               MR. STROTH: You mean 19?                    15   shooting fits into my opinions, but, having said
                          i. ~_            MR. GREEN: I'm sorry. Nineteen.             16   that, they are put in the report to exemplify
                          17      You're correct.                                      17   these f'ailm•es as, f'or example; in particular the
                          18      BY MR. GREEN:                                        18   investigative procedures, the training procedures.
                          19          Q. And your fourth is failw•e to train,          19   the code of silence. Those things.
                          20      opinions 20 through now 23A?                         20   BY MR. GREEN:
                          21          A. Failw•e to train goes from ZO to              21        Q. So they would not go to whether the
                          22      23A.                                                 22   underlying shooting was justified or not. per se?
                          23          Q. Okay. And your code of silence                23   it was only on the procedural aspects of Morrell'?
                          24      opinions then ~~ould be opinions 23B through 28,     24             MR. STROTI I: Objection. Samc


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                           1      objection. Foundation.                                1   in particular.
                           2      BY THG WITNESS:                                       2        Q. 1 noticed you cited a large section
                           3          A. I think they can't be -- those two             3   here, paragraph, about tasers, what does that have
                           4      issues can't be separated Uecause clearly -- but i    4   to do ~~~ith this case?
                           5      took them to -- as examples of the five               5        A. Well, it's boilerplate, i put it in
                           6      categories -- five main categories of how they fit    6   my report and it doesn't change. It is -- I
                           7      in, but you're correct in that if the proper --       7   don't -- in other words, I don't adjust it to the
                           8      for example,just as an example, the proper            8   specifics of a case. It's all my qualifications
                           9      investigative procedw~e at the scene, i.e. let's      9   and it goes with the resume.
                          10      take the second -- the bullet hole in the window     10        Q. Also just while ~~+e're at it here,
                          11      as commented on in Scott's repot, then it            11   I'll go through your CV as ~~ell, but I noticed you
                          12      certainly may -- would have yielded I think more     12   mentioned you did a thesis in your POST Command
                          13      intensive inquiry and likely a different account     13   College graduation, I take it. It required a
                          19      of the shooting.                                     19   thesis. Did you, indeed, complete a thesis for
                          15      BY MR. GREEN:                                        15   that?
                          16          Q. Well, why can't the post-shooting             16        A. I did.
                          17      investigation be separated from what actually        17        Q. And what was the subject matter of
                          18      happened out there?                                  18   that thesis?
                          19               MR. STROTH: Foundation. Objection.          19        A. Community expectations for police
                          20      BY THE WI"ITIESS:                                    20   services.
                          21          A. Well, the teen is hand in glove.              Z1        Q. So it was on general administration
                          22      They're part of -- they're different. There is       22   of police services across the board?
                          23      the glove in the hand, but they're not separable     23        A. No, it was aUout the community
                          24      in that regard because they fit together. I think    29   expectations f'or police services and it focused on


                                                                        Page 92                                                    Page 44
                           1     that's a good metaphor. If-- I'll say quite            1   changing values, attitudes and beliefs in a police
                           2     bluntly, the City investigator says to Hitz "Okay.     2   agency to meet the community expectations, hence
                           3     What happened?" Hitz gives his account. °1 shot        3   better serve the community.
                           4     him while I was down." "So both your bullets went      9        Q. And I see you went to -- associate,
                           5     while he was down, correct?" "Correct." "You           5   you got your associate degree f'or two years?
                           6     were three feet a~~ay, right?" "Right." Something      6        A. Yes.
                           7     like three feet. "Well, we got a bullet hole in        7        Q. And then you went to this two-year
                           8     tUe window up there. How does that happen?" "Not       8   college, con•ect?
                           9     nilne." "Okay. Nothing further. Must not have          9        A. No, the associate -- the AS degree
                          10     Veen his bullet," not even looking at it, not         10   is a two-year degree in police science from
                          11     examining it, doesn't work. I'm just putting it       11   Chat7ey College. That was the end ofthe
                          12     bluntly. So it is wnnected.                           12   institutional college degree and then the Command
                          13         Q. Now,on pages 12 to 17; you have a              13   College is a di}~loma given by the state -- the
                          19     rather lengthy section up through page 17 of--        19   California State Deparhnent of Justice. They
                          15     you state "My qualifications to review this case."    15   keep -- they don't -- they keep that to
                          16                 Now, is this still a fair and             16   themselves. They don't want to have any other
                          17     accurate description of what you believe your         17   adjustments in the curriculum.
                          18     qualifications to review this case are or his         18        Q. So iYs essentially not an
                          19     anything changed?                                     19   accredited university program --
                          20         A. Not in regard to this case. There              20            MR. STROTH: Objection.
                          21     have Veen acouple of-- I think there is one more      21   BY MR. GREEN:
                          22     9th Circuit opinion that i don't think relates to     22        Q. -- iPs a separate form?
                          23     the Morrell issue and there his been an acceptance    23            MR. STROTH: Objection. Foundation.
                          29     of my expe~Kise I~st monUi as on the Laser weapon     29



                                                                                                       11 (Pages 41 to 44)
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                                                                             Page 95                                                        Page 47

                           1      BY MR. GREEN:                                          1   duq+, 1 would respond to assist with those.
                           2          Q.      I'm just asking.                           2      Q.     All right. I'm a IiiUe unclear
                           3          A.      Yes, you're con'ect. It's not a            3   here. So essentially your citation on this page
                           9      University degree.                                     9   13 to that ~~~ark you had one person under your
                           5          Q.      And you are not a lawyer, correct?         5   watch who hid an on-duty shooting Ind the rest you
                           6          A.      I am not a lawyer.                         6   said up to three were through this deparUnental
                           7          Q.      And you are not a judge?                   7   review committee you were participating in?
                           8          A.      No,I'm not a judge.                        8      A.     Right, and then I need to add there
                           9          Q.      And on page 13, you talk aUout your'       9   were three more when I was a commander in NORSAT.
                          10      station detective work. That regarded juvenile        10   For the first three monde,I had three shooting
                          11      work, right, in the 1970's, I believe?                11   events and then from then on no further shooting
                          12          A.      I was a station -- in the'70's, I         1z   events.
                          13      was a station detective. That would be like a         13      Q.     You didn't actually do the
                          19      precinct detective. I understand Chicago also has     14   investigations of the shootings, you were on the
                          15      headquarter units for detectives. But it would be     15   review committee, correct?
                          16      like a precinct detective and back in those days I    16      A.     Correct.
                          17      handled juveniles as well as felony cases that        17      Q.     So you didn't direct the
                          18      came on that would be assigned to the station.        1s   investigation in any way?
                          19          Q.      So you were assigned to juveniles         19      A.     Only in the one -- I could be more
                          20      for that?                                             20   precise about it. When I was a watch commander at
                          21          A.      Yes, when I had a little guy who was      21   Crescenta Valley Station, I did quite a bit of
                          22      arrested that night, I took care of him, him or       22   direction, Uut I was not the lead investigator.
                          23      her.                                                  zs      Q.     So you gave suggestions when it was
                          24          Q.      You mentioned that you responded,         24   the person under your command of what should be


                                                                             Page 46                                                       Page 48

                           1      investigative report on use offorce in officer         1   looked into?
                           2      involved shootings as a watch commander and            2       A.    The investigator was never under my
                           3      lieutenant, how many times did you actually do         3   conunand, the lead investigator that would be the
                           4      that?                                                  4   homicide detective, but I was the -- probably the
                           5         A.       As a watch comma~~der, there were          s   second on scene and I took command and secured the
                           6      two -- I had two on-duty shootings.                    6   scene until that iirvestigator arrived.
                           7         Q. T~vo off-duq~ shootings?                         7       Q.    So there was a separate person doing
                           8         A.       On-duty.                                   8   the investigation there?
                           9         Q.       On-duty. And could you -- that was         9       A.      Correct.
                          10      when you were as a sergeant and lieutenant? I'm       l0       Q.      You state on page 13 you lectm~ed at
                          11      sorry. As a watch commander and as a lieutenant,      11   the Reserve Academy on the POST syllabus.
                          12      what were the -- you did those two on-duty            1Z                 No v, again, the POST for
                          13      shootings you reviewed, what was that?                13   purposes of the deposition is die Peace Officers
                          14          A. Well, that references -- that                  19   Standards and Training, correct?
                          15      paragrapU references -- that statement references     15       A.      Correct.
                          16     two times --not -- two ways i was involved. One        16       Q.      Okay. And you said you lectured the
                          17     is a watch commander. I had one of my deputies         1~   Reserve Academy on POST syllabus, the legal and
                          18     involved in a fatal shooting and then as a             18   moral use of force and firearms.
                          19     lieutenant the process back in those days was          19                What else did you actually teach
                          20     there would be a shooting review and that would be     20   yourself?
                          21      an ad hoc assignment fa• the purpose of looking at    21       A.    I taught -- there are 42 learning
                          22     that particular event and I ~~~as on three of those.   22   domains for POST and i think as I say in the
                          23     The -- of course if there was an officer involved      23   statement I taught every one of the 42 one way or
                          29     shooting where I ~~~as not in command, but yet on      29   another during my career; but that refers to the



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                                                                        Page 49                                                   Page 51
                           7      time I waked for on a t4iree-year project with        1   You also make reference on page 14 about you were
                           2      California POST to recontigum the curriculum I'or     2   frcyuentlV deployed at the request of
                           3      reserves. We had a thousand in our department.        3   investigative units such as narcotics, which
                           4      There are quite a few in Ca}ifornia and the           9   provided the initial investigative leads for your
                           5      legislature had changed the requirements for their    5   operations. That was when you were at NORSAT,
                           6      training and that incidentally is still in place,     6   correct?
                           7      that curriculum and that method. So I'm pretty        7       A. Yes.
                           8      proud of tl~e work. What they -- I also lectured      $       Q. And so essentially they did the
                           9      at the regular academy and, in particular, at the     9   investigations already prior to forwarding diem to
                          10      regular academy four topics; use offorce,            l0   you, correct?
                          11      tactics, ethics and demographics.                    11       A. No, thaPs not correct.
                          12          Q. And The Legal and Moral Use of Force          12       Q. But they had the initial
                          13      and Firearms, what exactly was lectured in that --   13   investigative leads for you?
                          14      was it a one-time lecture?                           19       A. They would have an investigative
                          15          A. No, every time we had a class, I              15   lead that based on their preliminary work required
                          16      would keep myself reserved for that class in         16   some resources tUey didn't have or extent of
                          17      particular. It was an important issue for me and     17   investigative power they did not have and so they
                          18      for them. That syllabus now is called Use of         18   would -- they would handle -- they would give us a
                          19      Force. It's learning domain number 20 in our         19   case in one of t~~o ways.
                          20      curriculum.                                          Z0               One, they would temporarily
                          21                THE WITNESS: And I think we're             21   attach to NORSAT and Uecome the lead investigator.
                          22      close to an lour --                                  22   We called them the case ace, A-C-E, or they would
                          23                MR. STROTH: Take a break?                  23   give us the information and ~~e would take it from
                          24                T'HE WITNESS: -- if it would be            z9   there and then report back to them. So it was


                                                                        Page 50                                                   Page 52
                           1      possible.                                             1   done those two ways.
                           2              MR. MOWATT: Sure.                             2        Q. Did you personally handle any of
                           3              MR. GREEN: We can take -- how long            3   those investigations?
                           4      of Ureaks do you want to take?                        9        A. No, 1 was the commander. So I would
                           5              MR. STROTH: Just a few minutes.               S   review and make sure that everything was on track
                           6      Five minutes.                                         6   and done correctly.
                           7              MR. GREEN: Few minutes. Okay.                 7       Q. No~~~, you mentioned here about the
                           8              THE WITNESS: Just to stretch my               8   dn•ee months of your command. You had tln•ee
                           9      legs.                                                 9   justifiable shooting incidents and then over the
                          10              MR. GREEN: In a f'ew minutes, we'll          10   next five years your command established as you
                          11      be back.                                             11   call it a remarkable record that there was not a
                          12              THE WITNESS: Check my heart rate.            12   single shot fired by your officers or the
                          13              THE VIDEOGRAPHER: We're going otf            13   suspects.
                          19      the video record at 11:16 a.m. and this is the end   19                What about other officers
                          15      of media unit one.                                   15   involved in those arrests, were there any other
                          16                 (Whereupon, a break was taken             16   shootings?
                          17                  aver which the following                 17       A. No. None.
                          18                  proceedings were had.)                   18       Q. And do you know why other than what
                          19              THE VIDEOGRAPHER: We are back on             19   you stated here that could have been tl~e case?
                          20      video record at 11:31 a.m. and this is the           20       A. It is because of the -- our method
                          21      beginning of video media two.                        21   of operation and, in particular, the cultural
                          22      BY MR. GREEN:                                        22   aspects of the units itself.
                          23          Q. Just reviewing fw•ther yom• section           23       Q. Could it have been perhaps that
                          29      on your qualifications for reviewing this case.      24   during that three-year period no one was actually


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                                                                        Page 53                                                   Page 55
                           1      put in fear of their life or great bodily harm of     1   dit~erendy. ThaYs [he only change [hat was
                           2      themselves or others?                                 2   made.
                           3               MR.STROTH: Objection. Foundation.            3       Q. No~~, on page 15, you list a number
                           4               MR. GREEN: I'm getting the                   4   of lectures or visiting comments you made in
                           5      foundation.                                           5   various locations. Were any of these peer
                           6      BY THE WITNESS:                                       6   reviewed presentations?
                           7          A. Let me explain it to you this way              7       A. Well,[he -- they were attended by
                           8      because there was a comparable unit to NORSAT         8   different agencies and so ford.
                           9      which was an LAPD unit called SIS and I followed      9       Q. But they were not reviewed by
                          10      their track record during the time I had command     10   anybody?
                          11      in NORSAT. The only dif~'erence between the two      11       A. No.
                          12      units were SIS was entirely LAPD personnel.          12       Q. And you mentioned your work with
                          13      NORSAT was sheriffs depaztment, five federal         13   several projects in the Paso Del Norte Civil
                          14      officers, plus up to five participating              14   Rights and Texas Civil Rights, that one involved
                          15      departments in the county police officers. Their     15   immigration issues?
                          16      arrest rate SIS would be 300 a year. My arrest       16       A. Yes.
                          17      rate was 500 a year. SIS would shoot and kill six    17       Q. And you mentioned two commendations
                          18      a year, shoot and wound a couple dozen a year.       18   here. Something about possession of child
                          19      BY MR. GREEN:                                        19   pornography. That has nothing to do with this
                          20          Q. Now,did SIS operate in the city?              20   particular Monell case, does it?
                          21          A. Let -- may I finish?                          21       A. No, that was an award by the
                          22          Q. Mm-hmm.                                       22   Attorney General of the United States.
                          23          A. NORSAT never fired a slot, lead a 97          23       Q. And that in no way affected your
                          24      percent conviction rate at the time of arrest, not   24   decision-making in this case, correct?


                                                                        Page 54                                                   Page 56

                           1      time of filing. So I would simply lay that at         1        A. No.
                           2      your feet that there was absolutely no difference     2        Q. Or your opinions?
                           3      between the type of operation or the suspect          3        A. Correct.
                           9      apprehended or -- in fact, I think NORSAT had tar     9        Q. Now, you make reference to that you
                           5      more daz~gerous clients than SIS because at least     5   were requested by the Cleveland District Attorney
                           6      85 percent of our wrests were homicide suspects.      6   to present yow• opinions to the Cleveland Grand
                           7          Q. Geographically did you ~~+ork in               7   .Tiny in the Tamir Rice case in Cleveland?
                           e      different areas?                                      8        A. Yes.
                           9          A. No, we had fiil1 range of the county.          9        Q. Who actually retained you in that
                          10      In fact, the state because we were federal           10   case?
                          11      officers. SIS was typically embedded in the city,    11        A. The mother -- the family -- Tamir's
                          12      but also had full range because their                12   mother, in particular, with the law firm. 1 wrote
                          13      investigations would take them out. And, in tact;    13   a report and the disU•ict attorney contacted me
                          14      on one occasion, we worked together as a combined    19   and had me continent to the Grand Jury.
                          15      unit which was the one and only time I attempted     15        Q. So, in fact, you first were
                          16      to do anything like that.                            16   initiated through the plaintiff, correct?
                          17          Q. Now, you mentioned that you were              17        A. Correct.
                          18      involved in authoring the Field Operations           18       Q. Or hired?
                          19      Directive 89-3 Tactical Operations Involving         19        A. Yes.
                          20      Detective Personnel and you said that remained in    20       Q. And you continued to be retained by
                          21      force for 20 years until 2009, why did it change?    21   them?
                          22          A. It changed because the department             22        A. I did until it concluded.
                          23      was reorganized and it changed because the orders    23       Q. Going back to the section entitled
                          24      or the compilation of the orders was formatted       29   the Department of Justice I~rves[igation. ire you


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                                                                        Page 57                                                   Page 59
                           1      aware of the standard of proof that they used in     1   did you -- is that correct?
                           2      coming to any conclusions?                           2        A. "I~here ~a-erc live broad categories and
                           3                 MR.STROTH: Objection. Fowidation.         3   they -- I listed them out in that paragraph.
                           9      BY THE WITNESS:                                      4        Q. All right. But you didn't look at
                           5            A. Page --                                     5   amp data yotu•self that the DOJ looked at in coming
                           6      BY MR. GREEN:                                        6   to these conclusions, did you?
                           7            Q. I'm getting the foundation.                 7             MR.STROTH: Objection. Form.
                           8           A. What page were you on? I think it's          8   BY THE WITNESS:
                           9      page eight.                                          9        A. I did not review any independent
                          10            Q. Page eight of 17.                          10   data other thai~ what they cited and what was cited
                          11           A. I'm aware generally because I've --         11   in tl~e other reports I listed in the footnote.
                          12      I've reviewed a number ofthese with other           12   BY MR. GREEN:
                          13      agencies.                                           13        Q. So you didn't look in any specific
                          14            Q. And what is it?                            19   facts cited or any specific instances that they
                          15           A. IYs extremely vigorous and precise          15   were discussing, yourself independently?
                          16      in my estimation.                                   16       A. I did not. I was not an independent
                          17           Q. So is it more than a preponderance          17   investigator of the -- of the cases cited.
                          18      ofthe evidence?                                     18        Q. Did you talk to anyone at the DOJ of
                          19           A. That's a lawyers type term, but I           19   how they came about with their conclusions?
                          20      would -- based on what I understand is the teen,    20        A. No.
                          21      it's -- it's a very high-degree of certainty        21        Q. Would you acknowledge that the
                          22      because, first and foremost, it carries the name    22   Department ofJustice, also the report, did
                          23      ofthe Department ofJustice and when you read the    23   recognize that the Chicago Police Department were
                          24      report you see it's well-cited, well-documented     24   making attempts at reform historically?


                                                                        Page 58                                                   Page 60
                           1      and iYs supported as I stated it the footnote by     1       A. I noted that.
                           -      a number of other companion studies that resonate    2       Q. Including body cameras by 2016, is
                           3      with their findings.                                 3   that correct?
                           4          Q. Other than --                                 4       A. i noted that thaPs already occurred
                           5          A. And it -- it involved a very deep             5   last time I was here for the other deposition that
                           6      review statistically in the very -- in various       6   was announced.
                           7      cases and -- and a number of those are commented     7       Q. Is there any basis to question that
                           8      on in the report.                                    8   the DOJ's findings that there were indeed reform
                           9          Q. What is the actual name of the                9   attempts underway by the Chicago Police
                          10      standard that they use?                             10   Department?
                          11               MR. STROTH: Objection. Foundation.         11       A. Well, 1 saw that they cited -- that
                          12      BY THE WITNESS:                                     12   the City has stated their desire, but that stated
                          13          A. I don't remember.                            13   desire is there and also I took it as an
                          14      BY MR. GREEN:                                       19   acknowledgement by the City of this exact thing,
                          15          Q. So you don't know?                           15   this Monell issue, that it did exist and does --
                          16          A. I did know and I do not know the             16   and does exist and 1 took it as -- you know, I did
                          17      term they used as l sit here today.                 17   not take the statement that it was being
                          18          Q. But right aiow other than it's               18   eliminated. I certainly based on the two cases
                          19      entitled by the Department of Justice, you don't    19   that 1've had here with the McIntosh and this that
                          20      know what the standard is that they used?           20   span a year and the problems are there.
                          21          A. I do not recall I think is the Uest          21       Q. Now, if you were to do an
                          22      way to answer it and I do not contest it.           22   independent investigation into what you cite here
                          23          Q. Now, you also relied on the seven            23   through the Department of Justice investigation.
                          29      conclusions you've listed here ofthe DO.I report.   24   which -- what data would you look at?


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                                                                        Page 61                                                        Page 63
                            1               MR. STROTH: Objection. Foundation.          1   assigned to this project I would probably do it
                                  i3Y TI I~ WITNESS:                                    2   much die same ~~-ay as the DOJ described their
                           3           A. I think I would -- first, you're              3   approach because for two reasons.
                           4      talking about my approach?                            9                 One is they have done this many
                           5      BY MR. GREEN:                                         5   times throughout the country and it works. In
                           6           Q. If --                                         6   particular, I was very close to the LAPD
                           7           A. If I were going to do a statistical           7   Department of Justice review and the Ingle~~~ood
                           8      review? l think that's been done to the -- to         8   Department of Justice review. So I think it's --
                           9      the -- I mean, that's been looked at over and over    9   I'll use the teen bulletproof in terms offairness
                          10      and over again, at least five times as I've cited    10   and completeness. So I would follow those --
                          11      in different reports, all with the same              11   those protocols. Now -- and it would have to
                          12      conclusion. That's why the report is written as      12   be -- it would have to occur with the deficiencies
                          13      it is. It's there. The City has been on notice.      13   acknowledged in the system itself because the
                          19      The problem has existed. It continues to exist.      19   data -- I'll wait for -- are you ready?
                          15      It certainly continued to exist to this issue and    15   BY MR. GREEN:
                          16      that's why the report is formatted this way.         16        Q. Mm-hmm.
                          17           Q. So it's fair to say you wholly rely          17        A. The data is --source is the
                          18      on these seven conclusions of the Department of      18   department itself. One of the problems as stated
                          19      Justice report?                                      19   in this report is if I do not want the question --
                          20                MR. STROTH: Objection. That                20   if I do not want the answer, I will not ask the
                          21      mischaracterizes the expert's testimony thus far.    21   question and if I do not want to memorialize the
                          22      BY THE WITNESS:                                      22   problem, I will not keep the data and those are --
                          23           A. I do not rely wholly, but I                  23   that's -- those are two hurtles that have to occw~
                          24      certainly can find no problem with those seven at    29   which I saw signiY7cantly occurred with these


                                                                        Page 62                                                        Page 64
                           1      all in any way. There is no outreach a~ any of        1   reports. So I'll wait for the question, neat
                           2      those seven.                                          2   question.
                           3      BY MR. GREEN:                                         3       Q. Well, what specifically would you do
                           ~           Q. Now, on page seven I'll ask -- I'll           4   to come to these conclusions in the way of
                           S      ask it again.                                         5   investigating the data that the Department of
                           6                  if you were to do an independent          6   Justice had?
                           7      investigation and notjust rely on these               7       A. I --
                           8      conclusions of the Department of Justice, what        8       Q. What protocols are there that you
                           9      would you do?                                         9   are referring to?
                          10               MR. STROTH: Objection. It's a               10      A.     Well, I would be -- first; you
                          11      hypothetical.                                        11   identify who your sources are, how much of them
                          12               MR. SCHOOP: Yes, it is a                    12   exist, if at all, what you would need. Yott would
                          13      hypothetical. You're tendering this man as an        13   get experts on statistics. You would have workers
                          19      expert. Experts can and should be expected to        19   that would develop a database. Hopehilly~rou
                          15      answer hypotheticals, counsel. Please answer the     15   ~~ould use computers. You would tap into what
                          16      question, if you can, sir.                           16   exists if it exists at all what's called an EWS,
                          17               MR. STROTH: Same objection.                 17   early warning system.
                          18      Foundation. Yott can answer the question if you      18              I would reference you to the
                          19      can, if you ttnderst~nd it.                          19   Kolts Co~mnission and the Clu~istopher Commission
                          20     BY THE WITNESS:                                       20   study, which is extensive. Rodney King riot; my
                          21          A.  Sure. Chicago is a big department.           21   last riot, I had a platoon under my command in
                          22     It would require most likely and which has been       22   that riot and the Christopher Commission Report is
                          23      done as I understand it by a number of researchers   23   ver~~ good because it -- what he did was able to
                          24      including a stat7'ofthe Department of,lustice        24   delve into the pe~~sonnel files. So it would be --



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                                                                         Page 65                                                   Page 67
                           1      there ~~ere 7,000 personnel files by the way in the    1         A. It's not accurate in terms oPthe
                           2      LAPD.                                                  2    billing rate for this case. 1 capped the billine
                           3                  They sorted through every one of           3   for the case up to today at $3,500.
                           9      them and all of the complaints that existed in the     4        Q. is that a flat fee?
                           5      record and identified a certain group of officers      5        A. Well, it certainly has exceeded at
                           6      drat were responsible for the majority of the          6   the rate of$250 an hour, the $3,500, but i capped
                           7      complaints and they statistically weighed them and     7   it at that pending if there is a trial and then
                           8      then lie identified recommendations that this is a     8   I'll charge the $350 and, of course, the travel
                           9      springboard for EWS. So I think that approach was      9   expenses and so forth will be charged and will be
                          10      good. I think that's typically what --how the         10   charged during trial time as well.
                          11      DOJ report starts out, but it's very significant      11        Q. So how many hours and how much have
                          12      min- -- delving into everything available that can    12   you charged in this case so far to date?
                          13      be reviewed and placed in a database.                 13        A. Well, I've charged $3,500 and
                          14          Q. Have you developed your own                    14   nothing further up to today, plus the airfa~•e,
                          15      methodology for reviewing Monell claims?              15   which is right at something like $1,100 and hotel
                          16               MR. STROTH: Ob- -- that's fine.              16   has been provided, meals have been provided. So
                          17      BY THE WITNESS:                                       17   just travel back to the airport. That will be it
                          18          A. My own methodology? No,I don't                 18   until and ifthere is a trial, then there will be
                          19      have any particular one other than I don't try to     19   travel again and $350 for the time on the stand
                          20      re-plow the ground that's been plowed when it         20   and, of course, the deposition time here typically
                          21      appears valid and as you know you have a rather       21   under the Federal Rules would fall on tl~e City,
                          22      renown professor that's been involved in this for     22   but I understand they're taking care of it. So it
                          23      years, you have the DOJ, you've got other reports.    23   would be the $350 for the hours here.
                          29      They have all come to the same conclusion. When       24        Q. Now,if there is a result in favor


                                                                         Page 66                                                   Page 68
                           1      you see that, then you have a very substantial         1   of plaintiff at the trial, do you expect to charge
                           2      support of the conclusions and that's what I ti•ied    2   for all those extra horns that you were not paid
                           3      to express in my report.                               3   for yet?
                           4      BY MR. GREEN:                                          4       A. No, it's -- I would be -- regardless
                           5          Q. Now,the details you've described                5   ofthe outcome, my time on the stand 1 will charge
                           6      earlier like the Christopher Report methodology,       6   for. Other than that, no.
                           7      what you believe the DOJ did, you personally did       7       Q. So have you been paid the $3,500?
                           8      none of that in this particular case, did you?         8       A. Yes.
                           9               MR. STROTH: Objection. Foundation.            9       Q. And just curious, what percentage of
                          10      BY THE WITNESS:                                       10   your income presently is derived ti•om your expert
                          11          A. I did not do that.                             11   witness work?
                          12      BY MR. GREEN:                                         12       A. It ~~ould be right at two-thirds of
                          13          Q. Now,on page 17, you also talk about            13   my income and the other third is my retirement.
                          19      your fees?                                            19       Q. That's your pension from the
                          15          A. Page 17?                                       15   sheriffs office?
                          16          Q. Yes, 17 at the end. You have U~avel            16       A. Yes.
                          17      time at the rate of$50 an hour; travel via            17       Q. And, Mr. Clark, did you actually
                          18      automobile to/from San Diego to Los Angeles eight     18   write each pa-tion of'this report that has been
                          19      holu-s $400; all case review consulting and writing   19   marked Exhibit 4 or were there certain portions
                          20      of expeil opinions, such as Rule 26 reports, at       20   that were prewritten that you reviewed and
                          21      $250 per hour; all testimony, either G•ial or         21   approved?
                          22      deposition, $350 an hour with a h~vo-hour minimum     22       A. There were some that were prewritten
                          23      required, is that a fair and accurate description     23   that 1 approved.
                          29      of'your billing rates in this case'?                  29       Q. And; if so, which -- ~~-hick portions


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                                                                            Page 69                                                      Page 71
                            i-    were prewritten and by whom?                          1        A. Well, that's at -- and so when 1 put
                            2         A. Oh. my goodness. WeIL they -- I                2   it into the report, 1 forgot the little one, buy
                            3     think the best way to say this, collaborative witU    3   it's meant to be after -- it's a comment on the
                            4     Mr. Odim. Nothing from Mr. Stroth.                    4   Department of Justice investigation.
                            5         Q. Mr. Odim, you're talking about yow•            5       Q,     So this is just a connnent on the
                            6     counsel with you today?                               6   paragraph concerning the Department of'Justice --
                            7         A.    Yeali. Well, he's my client. He is          7       A.     Right.
                            8     not representing me, but he is representing the       8       Q.     -- investigation?
                            9     plaintiff. Plaintiffs counsel. So let me see.         9       A.     Right, and the formatting is my
                          10      I vetted with l~im tl~e listing of material          10   fault. That's -- thaYs tl~e sow•ce of tl~e
                          11      reviewed, the overview ofevents. Actually, I         11   information.
                          12      took out of statements you see there is heavy in     12       Q.     And just for the record the Lane
                          13      quotes. Mr. Odim pointed me to IPRA statements,      13   case or McIntosh case that we've Veen referring to
                          19      which I plugged in. And then it was -- you see       19   that's 15 C 1920, the deposition you provided a
                          15      some similarities with McIntosh on opinions and      15   couple of weeks ago on December 11th, 2017?
                          16      then -- and then my qualifications, as I said,       16       A.     Yes. Yes.
                          17      always appears in my reports.                        17       Q.     All right. Let's just go back to
                          18          Q.    Now, when you say similarities,            18   your CV itself Exhibit 2. If we can take a quick
                          19      they're, in fact, virtually identical to the Lane    19   look. It states that you were a police procedures
                          20      opinions, the last list of opinions in that case,    20   consultant self-employed since April lst of 1993,
                          21      is that correct?                                     21   correct?
                          22               MR.ODIM: Objection.                         22       A.     Correct.
                          23      BY THE WITNESS:                                      23      Q. And you made that change that you've
                          24         A. They're -- they're not exact and               24   had 1,700 cases thus far in your retirement that


                                                                            Page 70                                                      Page 72
                           1      they're not -- but I think the paragraph, the         1   you've worked on, correct?
                           2      Department of Justice investigation is I think        2        A. Yes.
                           3      almost word for word because it's accw•ate.           3        Q. All right. And you've had no law
                           9      BY MR. GREEN:                                         4   enforcement work since 1993, isn't that correct?
                           5          Q. And they -- they were drafted by               5        A. Not as a sworn officer, con~ect.
                           6      Mr. Odim for you?                                     6        Q, in fact, the only thing here you
                           7          A. No.                                            7   have listed as your work at the Juvenile
                           8               MR.STROTH: Objection.                        8   Corrections Center for one year, seven months,
                           9      BY TFIE WITNL-SS:                                     9   correct?
                          10          A. No, it was collaborative. And we --           10       A. Right. 1 was appointed b~~ the
                          11      we worked together on it. He made suggestions and    11   governor to be one oftwelve to establish the
                          12      then the opinions was closely collaborative. The     12   agency.
                          13      footnote is his that he provided to me.              13       Q. Okay. Going to your history in la~v
                          19      BY MR. GREEN:                                        19   enforcement from 1993 and going back ti•om there
                          15          Q. Now,is this -- that's -- one last             15   you mentioned your command of a special unit, the
                          16      note on this -- on the bottom here.                  16   NORSAT unit. Where vas that located? What vas
                          17               MR. STROTH: Ofti~hat page?                  17   the jurisdiction?
                          18               MR. GREEN: Of'page eight of 17.             18       A. Well, it was --
                          19               MR. STROTH: Mm-hmm.                         19       Q. It says northern region of Los
                          20      BY MR. GREEN:                                        20   Angeles County, is that the north suburbs?
                          21          Q. "I~his is the ultimate report about           21       A. Well, the location that was -- the
                          22      failures of the Chicago Police Department's          22   physical headquarters ~~as the Cite of Duarte
                          23      pattern and practice, what -- what footnote --       23   provided the building tier us. It vas an
                          24      where is that referring to?                          24   undercover location with an undercover fleet. So



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                                                                        Page 73                                                   Page 75
                           1      with that in mind, but we -- and we were              1       Q. So you didn't do any sworn peace
                           2      assigned -- in the sheriffs department there are      ~   officer operations individually?
                           3      three regions acid the unit had to be attached to     3       A. Only -- only on when there was
                           4      one of those regions and it was Region North and      9   callouts for the unit to deploy such ~s plane
                           5      that's the way we were assigned under -- because      5   crashes and fires and earthquakes and civil
                           6      we had to fall under an area commander and a          6   disorders, et cetera.
                           7      division chief. So ~~~e were in Region North.         7       Q. On a day-to-day basis, how many
                           8          Q. And that's the northern suUurbs of             8   people were actually in that unit?
                           9      Los Angeles City, county?                             9       A. There were only -- there ~~ere four
                          10          A. Right, the northern region is, but            10   sergeants and staff and }~roUably around a dozen.
                          11      we're not restricted to that. You know, we           11       Q. A dozen?
                          12      went -- there were a member oftimes we went quite    12       A. Yeah, plus the equipment.
                          13      a bit out of-- out of the county itself depending    13       Q. And you have 400 -- excuse me -- 450
                          14      on the investigation.                                19   law enforcement explorer scouts, can you explain
                          15          Q. And the size ofthat unit that you             15   what those are that you had contact with?
                          16      were in fiou~ '87 to '93, you have 25 officers, 25   16       A. What are we looking at here?
                          17      reserves and three civilians. So at one time         17       Q. On the top of page three of your CV.
                          18      there were 50 or less in that unit?                  18       A. You know,I was talking about as a
                          19          A. Yes.                                          19   sergeant the Reserve Forces Bureau -- forgive me.
                          20          Q. In fact, at 25 reserves, did they             20   Item number two, Reserves Forces Bureau for the 42
                          21      work part-time? You mentioned that in a couple of    21   months. That was a project, special assignment to
                          22      places here. How does that work?                     22   work with POST for the POST curriculum and I had
                          23          A. Reserves in our department were --            23   collateral assignments for the chaplaincy, the
                          29      had full-time jobs. They were not paid hourly        24   reserves on our departme~~t, about a thousand of


                                                                        Page 74                                                   Page 76
                           1      rate. They were highly trained, I71 use the           1   them. The civilian volunteers, the posse, so
                           2      term, individuals male and female that were given     2   fortU. 5o that's a reference. The department had
                           3      police powers after they received their POST          3   explorers through the Boy Scouts of America. They
                           4      certification and worked with us.                     4   had personnel assigned to each station, a sergeant
                           5          Q. And --                                         5   typically that took care ofthem. They were like
                           6          A. And they were specific. I mean,                6   intern wa~mabe hopeful to -- once they graduated,
                           7      they were vetted and specific to the unit.            7   to become police officers eventually and they
                           8          Q. So you have your 42 months before              8   ~~ere -- there were 450 of them and that was an
                           9      that Executive Offices Reserve Forces Bureau, in      9   adventw•e because it's like 450 cats that you're
                          10      fact. that ~~as an adminish•ative position, was it   10   watching.
                          11      not?                                                 11       Q. All right. So when you were
                          12          A. Weli, that's -- it's actually split           12   referring before about being called out for
                          13      into two parts, but it belonged to the Emergency     13   emergencies and things, is that at the Executive
                          14      Operations Bureau and that was a unit that I         19   Offices Reserve Forces Bureau or was --
                          15      helped -- I ~~~as assigned to estaUlish -- in        15       A. No.
                          16      California the sheriff is the assigned director      16       Q. -- that something else you're
                          17      of operations for emergency -- for natural           17   referring to?
                          18      disasters and civil disa•ders. So that unit          18       A. No, that --that is going to be in
                          19      tended to that. And while I was there, I             19   item -- I jumped ahead. That's going to be item
                          20      connected with the -- did a lot of work with the     20   number five and six.
                          21      Department of Justice, discovered that we could      21       Q. Okay. So essentially item number
                          22      tap into their excess property legally and that      22   t~vo, the Executive Oftices Reserve Forces Bureau,
                          23      program is still ongoing. It's about a milliai       23   was an adminisU•ative position. crn~rect?
                          29      dollars a month in property that the agency gets.    z9       A. Right, it was adminisU~ative. (t


                                                                                                       ly (Pages 73 to 76)
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                                                                       Page 77                                                    Page 79
                           1-     was the POST project and got me connected to the     1       Q. And then going back before that in
                           2      Deparunent of.lustice and I became one of die        2   '76 through '78 for 27 months you ~~rorked in the
                           3      departme~it experts on POST.                         3   administrative division federal surplus, that's
                           9           Q. Your FieEd Operations Region One             9   the one you talked about earlier taking care of
                           5      Crescenta Valley Station, numUer three, for 49       5   the surplus property?
                           6      months back in 1980 to'84 it said a police           6       A. Right, that's actually a fow•-year
                           7      facility of a hundred personnel, was that at any     7   assignment, same desk I was sitting at and -- but
                           8      one time there were a I~undred people there?         8   I was -- because ofthe program they divided me
                           9           A. Yeah, that was like a precinct or a          9   out. So put me from patrol division into
                          10      division in tl~e department. That's in the          10   adnvnish•alive division. So five and six are
                          11      sherit~'s department. In the sherit~'s              11   essentially the same.
                          12      department, I was a lieutenant.                     12       Q. So six was also administrative in
                          13          Q. And, in fact --                              13   nature when you were assigned as the personnel and
                          14          A. Okay.                                        19   logistics sergeant?
                          15          Q. is that -- again, is that in that            15       A. Correct.
                          16      northern area ofLA County?                          16       Q. And, going back, the patrol division
                          17          A. Correct.                                     17   when -- you were a sworn officer at that point in
                          18          Q. Have you ever worked in south LA?            18   1973,'74?
                          19          A. Not at a station, so I did a station         19       A. Yes.
                          20      only on certain projects.                           20       Q. And in '72,'73 at San Dimas
                          21          Q. Or east LA?                                  21   Station?
                          22          A. Only on special projects.                    22       A. I was a patrol sergeant there.
                          23          Q. So yow• main area was the northern           23       Q. And how big is the San Dimas
                          24      suburbs ofLos Angeles?                              24   Station?


                                                                       Page 78                                                    Page 80

                           1         A. Con~ect.                                       1        A. Well, geographically, it was tl~e
                           2         Q. I see in that field operations                 2   largest of tl~e stations, but there's 18 stations.
                           3     section ~~hen you ~~~ere there you talked about a     3   Population-wise it included -- it was m~ban a~~d
                           9     high school undercover narcotics operation, what      4   rural, the Angeles National Forest, but it had
                           5     did that involve?                                     5   pieces of'Yomona, San Dimas, Arcadia, West Covina,
                           6         A. That was -- the City of La                     6   Covina.
                           7     Canada-Plinu•idge had a high school and we had an     7        Q. How many officers were in San Dimas
                           8     undercover narcotics sting operation there. We        8   Station?
                           9     put in some youth~ial looking otlicers. They          9        A. There were -- it was about the size
                          10     pretended to be high school students.                10   of Crescenta Valley, so i[ was about ~ hundred
                          11         Q. And took care ofthe annual station            11   total in that station.
                          12     picnic, too?                                         12        Q. Aud you worked ]971 [0'72 as a
                          13         A. Well, those are some of the things            13   watch commander in the sheriffs department old
                          19     that 1 was involved in.                              19   radio room, is that, again, administrative in
                          15         Q. Going back further into'78 through            15   nature working in the radio room?
                          16     '80, you had custody division of die Central Jail.   16        A. Right. That was a special project
                          17     That essentially was a corrections position,         17   as a sergeant, first year as a sergeant and I
                          18     correct?                                             18   helped with the department from analog to digital
                          19         A. Right, that was my fist tvvo years            19   in that project.
                          20     as a lieutenant.                                     20        Q. And going back again '70 -- 1970,
                          21         Q. And you worked on new fire safety             21   1971 you were a station detective assigned to the
                          22     specifications f'orjail bedding and mattresses?      22   evening watch. I believe you referred to that
                          23         A. Yes. that's one of the                        23   earlier when you had some juvenile maters come
                          29     contributions.                                       29   in, crimi~~al complaints, _juvenile petitions. That



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                                                                              Page 81                                                      Page 83
                           1      was actual detective work you did at that point?       1   specific credentials in regard to administrative
                           2          A.    Yeah, it vas my last t~~~o years as a        2   investigations of offcer misconduct?
                           3      deputy rank.                                           3       A.     Sure. It would Ue the POST Command
                           9         Q.     And that was the last time you               4   College in particular and my work at NORSAT T had
                           5      actually were assigned detective work, per se,         5   a number of police corruption cases that we worked
                           6     correct?                                                6   and was called on to work, assigned to work by the
                           7         A.     As a detective. I was a detective            7   administration.
                           8     Uureau commander and -- after that.                     8       Q.     Did you ever work in Internal
                           9         Q.     That's die last time you were                9   Affairs?
                          10     whole-lieartedly assigned yourself as a detective,     10       A      I'm not quite finished with tl~e
                          11     correct?                                               11   first -- do you want me to stop?
                          12         A.     Right, I was a deputy.                      12        Q, No, go ahead.
                          13         Q.     Okay. And, again, we have, again,           13       A.     And then, of course, I've had -- I
                          14     San Dunas you mentioned tUere was maybe a hundred      19   think this is not unique to any officer. I had
                          15     officers over there and that was in '68 to'70          15   right from the very beginning of my career, in
                          16     and, again, your first work back in'65 to'66 was       16   fact, the first day of my assignment I bumped into
                          17     in the Central Jail again, correct?                    17   the code ofsilence and the cultural aspects of an
                          18         A.     Correct.                                    18   investigation, in particular, the units that would
                          19         Q.     Okay. You have degrees and                  19   become infested with -- with misconduct and the
                          20     certifications ou the bottom. If you can just          20   departments response or lack of response to it
                          21     explain tUem.                                          21   from my own experience. So that's the answer to
                          22                 The POST Command College, you              22   the next question, sir.
                          23     mentioned that was a nonaccredited program,            23   ~ Q. Well, did you ever work in L~ternal
                          24     correct?                                               29   Affairs?


                                                                              Page 82                                                      Page 84
                           1          A. Well, it's accredited by the State              1       A. Not in the Internal Affairs Unit.
                           2      of California, but you're right about it not being     2       Q. Well, what other ways did you work
                           3      part of the university system.                         3   in Internal Affairs? Were you an informant for
                           4          Q. Right, as an academic degree.                   4   them?
                           5          A. Correct, the diploma is given by --             5       A. No,I was never an informer, as in
                           6      there is a diploma and it's given by the               6   undercover. I certaiiily wrote a number of-- of
                           7      Department of Justice. So that's in '88.1              7   in-house memoranda that got a lot of attention
                           8      didn't bother with -- I have pages ofPOST              8   regarding corruption, in particular a group called
                           9      certification, but 1 had the management                9   the Vikings for which incidentally the sheriff of
                          10      certification in '80. POST in California              10   Los nngeles County is now awaiting sentencing and
                          11      certit7es at basic, intermediate and advanced. I      11   the undersherif~~is in prison. So I was never an
                          12      just cited the advanced certification when 1          1Z   informer, but would be assigned for -- because of
                          13      received it in '75 and then the academic degree       13   our surveillance abilities to surveil subjects in
                          14      with Chaffey College in '71.                          19   that regard.
                          15          Q. And that ~~~as a two-}'ear associates          15       Q. Is this with NORSAT?
                          16      degree?                                               16       A. That ~~~ould be NORSAT and the last
                          17          A. Correct.                                       17   piece of that answer is that at the time that I
                          18          Q. And what was your area of study back           18   was in the department the misconduct could be
                          19      then?                                                 19   handled at two levels depending on if there were
                          20          A. It was police science.                         20   certain qualifiers. At the station level, it
                          21          Q. Police science, ~~~as that like                21   would be referred to Internal Affairs. More often
                          22      similar to criminal justice?                          22   than not, the station took care of its own
                          23          n. That ~~ould be equivalent.                     z3   problems and did its own stations and I ~~~as
                          24          Q. Could you point out in your CV your            29   im~ah-ed in a number of'those as a lieutenant. one


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                                                                        Page 85                                                   Page 8~
                           1      of which would resulted in discharge, a theft         L   I111SCOt7dUCY IS tOUlld~

                           2      of -- thievery thing out of our evidence locker.      2        A. Only as a police administrator. 1
                           3           Q. So those were your normal duties as           3   think what needs to be said here is the root word
                           9      a commanding officer --                               4   of discipline is disciple and now we're talking
                           5           A. Yes.                                          5   about values, attitudes acid beliefs.
                           6           Q. -- to take care of those types of             6        Q. I'm talking about procedural aspects
                           7      matters?                                              7   ofthe disciplinary process, what have you done in
                           8           A. As the corrvnanding officer, correct.         8   that regard other than the work you did at your
                           9           Q. And the -- that was your experience           9   district?
                          10      with what you would call the code of sile~~ce in     10        A. Let me put in the record I have not
                          11      Los Angeles County was what you assisted using       11   completed, but I'll just take what you asked.
                          12      your NORSAT group --                                 12        Q. Please do.
                          13           A. Yes, sir.                                    13        A. In addition to what I just commented
                          19           Q. -- in an investigation in that               19   on, I've had a number of cases regarding --
                          15      regard?                                              15   federal cases regarding the lack of discipline,
                          16         , A. Yes, code of silence would be an             16   inadequate discipline, I've studied this issue
                          17      issue. It's always an issue in misconduct.           17   after any retirement from the department
                          18           Q. How would you define code of silence         18   continually for the next -- from 1993 on and have
                          19      or how do you define it for purposes of this         19   testified regarding it and as quoted by the 9th
                          20      report?                                              20   Circuit "Inadequate discipline is tantamount to no
                          21           A. Well, I think I define it the same           21   discipline." ThaYs a direct quote by me from the
                          22      way in the statement by Superintendent Williams.     22   9t1~ Circuit.
                          23      I think he did a good job, but it's the propensity   23        Q. Have you written auy peer reviewed
                          24      and the cultural influence of officers to support    24   articles on this subject or anything else?


                                                                        Page 86                                                   Page 88
                           1      and/or deny misconduct for another officer.           1        A. No.
                           2           Q. And that's --                                 2        Q. Have you written any articles on
                           3           A. With results -- I think the                   3   this subject or anything else?
                           4      definition you asked me -- and the result of          4        A. No.
                           5      poison that leaches into the a•ganization because     5        Q. Aud what in your CV do you point to
                           6      of it.                                                6   as your experience with statistical analyses?
                           7           Q. You're referring, by the way, to              7        A. There is nothing referencing
                           8      Mr. Williams. Is that page 70 of the Police           8   statistical analysis in my CV except the thesis
                           9      Accountability Report?                                9   required a statistical analysis and my faculty
                          1U           A. Right.                                       10   advisor Dr. W1rd .lenssen, who incidentally
                          11           Q. Now, what credentials are -- would           11   graduated from Chicago a professor assisted me in
                          12      yott point to in your CV to support your expertise   12   that work. I commented on in my last deposition
                          13      in disciplinary procedures for officer misconduct    13   in McIntosh, but, other than that, it's just
                          19      once it's found?                                     19   direct from him and as you may know I've done some
                          15           A. From my training and experience as a         15   statistical work regarding Chicago and other
                          16      sergeant and as a lieutenant, the 9th Circuit case   16   incident reports.
                          17      called Blakenhorn cites me Vy name regarding         17       Q. So you wouldn't consider yourself a
                          18      discipline. I'll leave it at that, but I think 1     18   statistical expert, would you?
                          19      have consideraUle experience on discipline and the   19        A. I'm not degreed in statistics. I
                          20      influence of discipline.                             20   certainly 1 think and can understand statistical
                          21          Q. Other than yow• work as -- your               21   conclusions.
                          22      normal duties as a commander that you _just talked   22       Q. And other than what you have
                          23      about, have you had any other experience in          23   testified to so f~~r, what about any other
                          29      disciplinary procedures once it's found. once        29   credentials in regard to training of law


                                                                                                        22 (Pages 85 to 88)
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                                                                         Page 89                                                   Page 91
                           1      enforcement and use of force?                         1   to crunch trends and analysis.
                           2          A. Yes. In my fitness reports, I'm                2        Q. Any u•aining in public policy in
                           3      cited specifically as renown expert on fow• topics    3   general?
                           9      in an academe lecture and one of them is use of       9        A. Oh, my goodness. That Command
                           5      force. This is a topic that I've testified            5   College for lwo years was intensive nn policy.
                           6      throughout the country on use offorce and been        6        Q. Any education or training directly
                           7      accepted by the com•ts.                               7   on point on how to discipline officers for misuse
                           8          Q. Yet you lave written no peer                   8   offirea~7ns?
                           9      reviewed articles on the matter?                      9        A. I'm taking that as the application
                          10          A. No, other than the case reports I             10   of lethal force a~~d I taught extensively up until
                          11      write. Other than that, no.                          11   '93.
                          12          Q. Have you done any education or                12       Q. But since '93 you haven't?
                          13      training directly on point as to how to train        13       A. No,other than my testimony and
                          19      officers in the use offirearms?                      19   trials and explaining it to a jury.
                          15          A. Yes, and that's -- you'll notice my           15       Q. Now,going over your own career,
                          16      years at the Emergency Operations Bureau. That's     16   have you ever been involved in an officer involved
                          17      four years. As a collateral assignment, as a         17   shooting as an officer?
                          18      sergeant, I was part of patrol school faculty and    18       A. Yes.
                          19      that was a scenario role play on how to use --       19       Q. And what were the circumstances of
                          20      when it would Ue appropriate to use firearms. It     20   that case or how many times?
                          21      included that.                                       21       A. One time.
                          22          Q. What faculty was that again?                  22       Q. Okay. And what were the
                          23          A. That would be in '74 to '78.                  23   circumstances ofthat case and when did it happen?
                          24          Q. Since then have you done anything?            24       A. I was a detective. It was in


                                                                        Page 90                                                    Page 92
                           1           A. Training? I've done no training               1   December of'72 as I rememUer. It was a case
                           2      since I retired out ofthe department in '93.          2   involving bw•glary and identified the subject
                           3           Q. And since you left that position in           3   whose came was Lamont Wells and he was a heroin
                           9      the'70's you just mentioned?                          9   addict and had -- and was a fugitive in addition
                           5           A. Well, I talked about use of~ lethal           5   to a suspect in our case and had informatio~~
                           6      force up to'93 and lectured on and was accepted a     6   regarding ~~~here he was. As my partner and I we
                           7      POST -- it covered the requirements by POST for       ~   ~verc in an unmarked unit; I ~~as not in uniform,l
                           8      use of lethal force, but [he hands-on u•aining        8    vas in detective civilian clothing, along with
                           9      last time ~~as fbw~ years during the paU~ol school    9   him, and as we pulled up to a bar which we knew he
                          10      times when T'd be assigned ended in '94.             10   ~v~s; he happened to be walking out, spotted us and
                          11          Q. Do you have any --                            11   took off running.
                          12           A. Excuse me. '78.                              12               Now, in those days, there was no
                          13          Q. In the late'70's, right?                      13   such thing as handheld radios or -- the only radio
                          19           A. Right.                                       19   was in the car and the tactic at that point was if
                          15          Q. Any training in law, do you have any          15   you have a fleeing subject, your target subject,
                          16      training in law?                                     16   one person would keep him in view while the other
                          17          A. I have no degrees. Just personal              17   used the radio in the car, the only means of
                          18      study and training in the department.                18   communication to announce direction, what was
                          19          Q. And other than what you've testified          19   going on and get the area saturated with police
                          20      to already, any training in statistics?              20   officers. This was in the City ofPomona by the
                          21          A. As I understand yom• question; no.            21   ~vay.
                          22      I did not -- I took some statistical classes as      22               So I ~+as shotgun,jumped out,
                          23      part ofthe police science and the rest of it with    23   started tbllowing him, kept him at a distance and
                          29      Dr. Jensen. He taught me a lot in terms of ho~~      z9   waiting fin' the Pomona officers to come in to


                                                                                                       23 (Pages 89 to 92)
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                                                                        Page 93                                                     Page 95
                           1     establish a perimeter. 1 made a couple ofturns         1   BY THE WITNESS:
                           2     when he made a couple of turns and [n my surprise      _       A. 1 never said it was a violation of
                           3     I had turned and left myself in the open ~~+here he    3   policy on his case. The set offacts that he
                           9     was standing waiting for me with a gun.                9   recounted, he and his partner, match being in fear
                           5          Q. Was he pointing the gun at you?                5   for his life.
                           6          A. Yeah, I was looking down the barrel            6   BY MR. GREEN:
                           7     of the gun.                                            7       Q. So, in fact, no constitutional
                           8          Q. And did you have a fear for your               8   violation would have occurred?
                           9     life or the life of others at the time?                9            MR.STROTH: Objection. Foundation.
                          10          A. I had a fear for my life.                     10   BY THE WITNESS:
                          11          Q. And did you discharge your weapon?            11       A. Are you asking me about the veracity
                          12          A. After some things, yes, I did.                12   of the statement? Because I clearly said in the
                          13          Q. What do you mean after some things?           13   second paragraph of my report I did not make
                          19          A. Well, he pulled the trigger Uefore            14   crediUility statements. There is considerable
                          15     anytUing. Immediately ~~hen I came into view, lie     15   physical evidence that belies tUe presentation of
                          16     pulled the trigger. The gun misfired. It was a        16   the facts.
                          17     semiautomatic. We both realized what had happened     17   BY MR. GREEN:
                          18     and I had my gun out. I told him "Drop it. Drop       18       Q. So how many times were you involved
                          19     it. Drop it." This was all heard by -- it was an      19   in investigating an officer involved shooting, not
                          20     apartment complex. People heard it. His reply to      20   your own shooting, but I think you mentioned two
                          21     me was "Fuck you" and he Drought the gun up to        21   or three, right?
                          22     work tl~e slide to eject the bad round at which       22       A. Well, I was involved in the one I
                          23     point I shot]um.                                      23   mentioned at Crescenta Valley where I was a watch
                          24          Q. So, at that point, again, you had             29   commander and got up there in short order.


                                                                        Page 94                                                     Page 96

                           1     the barrel of a gun at you?                            1        Q. That was one of your own people,
                           2         A. Actually, he was working the slide              2    right?
                           3     to re-chamber and I couldn't get to him in time        3        A. Yes, one of my o~~n deputies. I was
                           '1    and so I shot him.                                     4    with NORSAT physically during one ofthe -- two of
                           5         Q. So he wasn't even pointing a gun at             5    the shootings that NORSAT had one close at hand
                           6     you at that point?                                     6    and because 1 was the ranking officer I stabilized
                           7         A. Not precisely, no. We both knz~v                7    the location. The others would be as part of the
                           8     exactly what was going on.                             8    review.
                           9         Q. And you felt you were in fear• of               9        Q. So had any of those officers you
                          10     yom' life and the life of others or your --           10   .just mentioned been found to act
                          11         A. I felt I was in fear of my life.               11    unconstitutionally or unjustifiably?
                          12         Q. And you discharged your weapon and             12        A. No.
                          13     you feel you didn't violate any policies at that      13        Q. So they were all found within
                          19     point?                                                19    policy?
                          15         A. I did not violate any policies.                15        A. No. See, there is a difference
                          16         Q. And in this particular case when               16    beta-een constitutionally and policy.
                          17     Officer Hitz tu•ed his gun, if he had that,           1~        Q. Were they found within policy?
                          18     indeed, gun pointed in his direction or, in yow•      18        A. No.
                          19     case, knew ~~~hat was going to happen, why would      19        Q. And which one was that?
                          20     that be a violation of policy --                      zo        A. Well, 1 consider --
                          21              MR. STROTH: Objection.                       21        Q. All?
                          22     BY MR. GREEN:                                         22        A. There were two that come to mind
                          23         Q. -- and not yours?                              23    right now. The one ~~~hen I was a watch commander
                          24              MR. STROTH: Objection. Foundation.           Z9   at Crescents Valley I think was both within policy



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                           1      and constitutional                                       1   shirt and after he backed out of the ]fight and
                           2          Q. 'that was the one involving your --               2   could sce no Further he pulled out his gun and
                           3      yow• officer?                                            3   shot him once in the chest and he expired at the
                           9          A. Yes.                                              9   scene.
                           5          Q. But the other two you don't think                 5       Q. So you believe what your officer
                           6      were in policy?                                          6   told you?
                           7          A. There were two that were problematic              7       A. I did.
                           8      that I would have considered out of policy.              8       Q. And did you do any investigation in
                           9          Q. And what -- what was your role in                 9   regard to anything that occurred there?
                          10      those two?                                              10       A. Yes, I -- when -- I took command
                          11          A. Reviewer.                                        11   because I was the ranking officer. I separated
                          12          Q. So after everything was done                     12   the two. The cadet told exactly the same story
                          13      investigation-wise, you just were a member of a         13   having no opportunity to consult with Fieg. Fieg
                          14      committee reviewing it?                                 14   told me the story. He had the physical defects on
                          15          A. Right.                                           15   his uniform.
                          16          Q. And you made a collective decision?              16       Q. What -- I'm sorry. Were you there
                          17          A. There was a collective decision.                 17   at the car when this happened?
                          18          Q. And who decided your own officer's               18       A. No,I an•ived on the scene.
                          19      situation when they were found within policy?           19       Q. So the two were still on scene
                          20          A. That would be the independent                    20   together, right?
                          21      reviewer ofthe review team and, of course, I            21       A. Con•ect.
                          22      plugged in my opinion as part of the commentary.        22       Q. So they could have talked before
                          23          Q. What was your opinion?                           23   they talked to you?
                          24          A. Oh, we're talking about --                       29       A. They could have talked before.


                                                                       Page 98                                                     Page 100

                          1          Q. Your own officer.                                  1       Q. And you didn't consider that in your
                          2          A. My own officer absolutely was in                   2   investigation?
                          3      policy and constitutional. I said that already.           3       A. Of course 1 did.
                          4          Q. Did he have a gun pointed at him?                  9       Q. But you just believe they told you
                          5          A. No, he didn't. He was -- I can give                5   the truth?
                          6      you the details.                                          6       A. No, I did more than th1t. Tt
                          7          Q. .Tust briefly.                                ~    7   matched the physical evidence, knife, single shot,
                          8          A. The officer's name was Pieg,                       8   injwy to Fieg, torn uniform, terrified cadet, all
                          9      r-1-E-G. He had a cadet with him. 7'he Angeles            9   of the particulars as sorted out by the
                         10      National Forest is dark at night. It's remote.           10   investigating officers once they were -- were
                         11      He came across an abandoned -- what appeared to be       11   settled. All the details matched, timing and Fieg
                         12      an abandoned vehicle. They investigated. There           12   himself and it had -- it all spoke to the truth.
                         13      was an individual inside, tapped on the window,          13       Q, And you provided that opinion to the
                         19      the person -- and he saw a large butcher knife on        19   review authorities?
                         15      the dashUoard. The only light was the light from         15       A. 1 provided the complete account of
                         16      the radio car and his flashlight. The minute he          16   everything 1 did and the timing to the time they
                         17      tapped on the door to check on the individual, the       17   arrived.
                         18      person leaped out and attacked Fieg.                     18       Q. I-lave you ever been sued as a deputy
                         19                  The cadet was on the other side              19   sherit~~--
                         20      ofthe vehicle. Stood there frozen in fear and            20       A. No.
                         21      Fieg backed up and literally had his shirt being         21       Q. -- or disciplined?
                         22      torn off his chest. He was under the impression          22       A. No.
                         23      that he was being stabbed, which was reasonable,         23       Q. Have you ever been involved in
                         29      and he had significant scratch injuries and a torn       29   Internal Affairs generally other than what you've


                                                                                                       25 (Pages 97 to 100)
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                                                                       Page 101                                                   Page 103
                           1      talked about?                                          1       Q. You never took a class in Internal
                           2          n. As a subject'?                                  2   Af7airs, did ~rou?
                           3          Q. Yes.                                            3       A. I never took a formal POST class
                           4          A. As a target, no.                                4   devoted sh•icdy to internal Atfairs. Only
                           5          Q. Was there a policy that involved                5   administration -- administrative procedm~es.
                           6      inadequate investigation of officer involved           6       Q. All right. Let's take a look at
                           7      shootings at the Los Angeles Sheriffs Department       7   Exhibit 3.
                           8      while you worked there?                                8            MR.STROTH: Counsel, can we take 1
                           9          A. I believe that there were a number              9   break?
                          10      of deficient examples of -- tl~e methods and -- and   10            MR. GREEN: I have one more exhibit
                          11      techniques of a good investigation lave not           11   to go through and then --
                          12      changed for decades a~~d the issue is if'I do         12            MR. STROTH: Just five minutes.
                          13      ❑ot -- if you have an investigator• that              13            THE VIDEOGRAPHER: We're going off
                          14      approaches ifI do not want an answer,I will not       19   the video record at 12:41 p.m. and this is the end
                          15      ask the question, then thaYs where it falls           15   of video media two.
                          16      apart. An experienced detective knows what to ask     16               (Whereupon, a break was taken
                          17      for and what to seek and leaves no stone unturned.    17                after which the following
                          18          Q. And you never went to detective                18                proceedings were had.)
                          19      school, did you?                                      19            THE VIDEOGRAPHER: We are back on
                          20          A. No.                                            20   video record at 1:32 p.m, and this is the
                          21          Q. Was tUere a policy of inadequate               21   beginning of media unit three.
                          22      discipline of officers while you were at the          22   BY MR. GREEN:
                          23      sheriffs department?                                  23       Q. Okay. Mr. Clark, could I turn your
                          24          A. There are a number oftimes I've saw            29   attention to Clark Exhibit 3, your prior testimony


                                                                       Page 102                                                   Page 104
                           1      that and commented on it whenever I saw it.            1   that we discussed previously.
                           2           Q. But you never had a rank higher than           2                How many times have you given
                           3      lieutenant when you were a police officer,             3   testimony at trial as a Morrell expert?
                           4      coi7~ect?                                              4        A. I think no more than a couple of
                           5           A. Correct.                                       5   dozen times.
                           6           Q. And is it fair to say that your work           6        Q. About 24 or so?
                           7      as a staff.jail deputy or a.jail watch commander       7        A. Something like that,l think.
                           8      and administrator did not factor into how you          8   Estimate.
                           9      evaluated [his particular case?                        9        Q. And ~~~hat is your wide~standing of
                          10           A. Other than the general uniform                10   what a Morrell claim is?
                          11      practices of police administration.                   11        A. Well, iYs -- comes out of New York.
                          12           Q. That was within correctional                  12   it's a Supreme Court case. It relates to the
                          13      facilities, correct?                                  13   custom and practice, either written custom and
                          19           A. Well, the sheriffs department ran a           19   practice or an established custom and practice on
                          15      very largejail system. I think probably the           15   an issue and the responsibility of the agency
                          16      largest in the nation. But there are a lot of         16   which would be a municipality, police department
                          17      similarities in how to run an organization that       17   et cetera, to that custom and practice whether
                          18      has police authority.                                 18   it's constitutional or not.
                          19           Q, Is it fair to say your work as a              19        Q. So you had just said about -- it
                          20      commanding officer in investigative units did not     20   involves a custom and practice on a particular
                          21      figure into this particular case either?              21   issue, co»•ect?
                          22           A. Of course it does. My experience in           22        A. Yes.
                          23      all these areas lends its weight to my opinions I     23        Q. And, therefore, in your o~~n opinions
                          29      think and my experience is a big issue here.          29   ~~ou divided it up into 1 believe four categories.


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                                                                       Page 105                                                     Page 107
                           1      correct?                                               1   of the training versus a code of silence w4iere
                           2          A. KighL                                           2   there would be trainine. there is I<no~~-ledge of the
                           3          Q. So don't they require a separate                3   training, but they're not following it?
                           4      analysis of these various areas in regard to           9       A. Not exactly.
                           5      custom and practice?                                   5       Q. Aren't those different?
                           6          A. I don't see why they would. I think             6       A. Yeah, they are -- they're
                           7      the --1 envisioned it and i intended it to be the      7   distinctions, but you're right about is there a
                           8      global issue ofthe Morrell, the custom and             8   time when there is no training, therefore, there
                           9      practice, and the aspects or the foundation of         9   would Ue no accountability because there had been
                          10      that would be -- could be discussed I think that's    10   no training in that specific aspect. I agree,
                          11      the best word or maybe illustrated to make the        11   but --
                          12      point in -- for the purpose ofthe repot five          12       Q. So there would be a different
                          13      specific areas. As you know,the DOJ report            13   analysis depending --
                          14      specifies seven.                                      19       A. Right.
                          15          Q. I'm sorry. Five areas. I                       15       Q. -- on the issue involved?
                          16      previously said fow~. But five areas.                 16       A. Yes, so we talk about tl~e -- there
                          17          A. There's five. And -- and then --               17   are some aspects in relation to tl~e Pierre
                          18      but I sequentially kept numbering one through,        18   shooting as well as the general findings by the
                          19      well, I thought it was 28, now it's 29.               19   DOJ to the department as a whole.
                          20          Q. So --                                          20       Q. Well, going back before we go
                          21          A. But the DOJ report has seven                   21   through a bit ofthese testimonies you said
                          22      specific categories.                                  22   earlier tUere was -- you had mentioned Morrell
                          23          Q. So in yow• own report, how are you             23   commentary in some cases versus some Morrell
                          29      analyzing a failure to train claim compared to a      24   opinions you gave in testimony, what is the


                                                                       Page 106                                                    Page 108
                           1      code of silence claim in your opinions?                1   difference?
                           2            A. Well, it's clear in my -- in my               2       A. Well, the difference is there were
                           3      analysis, but the training -- all these are, as I      3   specific cases where the at-issue was the Morrell.
                           ~      said, are -- they're related. I don't think they       4   I had -- for example, I had a Fresno case where
                           5      can totally be separated, but failure to train         5   the judge specifically ordered at the request of
                           6      covered -- would cover the conditioned response.       6   the plaintiff certain data f'or one of their
                           7      I'll give you an example. Hitz running off solo        7   experts to review, which turned out to be me.
                           8      leaving his partner behind just taking off, not        8       Q. Which case was that?
                           9      getting on the air, not -- you know,just --            9       A. It's the -- it was a case called --
                          10      that's totally against the professional ~~isdom       10   that case was called Enrique, the one I'm talkin~~
                          11      and, of course, ifthat hadn't occurred, there         11   about.
                          12      would have been no shooting, et cetera, et cetera.    12       Q. Can you put --
                          13      That's just an example.                               13       A. As an example.
                          19                   The -- how that relates to code          19       Q. Can }you put it out and point it out
                          15      of silence is the -- I think connected with the       15   here just as an example?
                          16      propensity to ignore training or the professional     16       A. I've got to do it this way. The
                          17      wisdan with -- with the confidence that there         17   other aspect -- in answer to your question, is --
                          18      would be no accountabi]ity either ti•om the brother   18   the question was about the dift'erences when it
                          19      officer or sister officer that is with you at the     19   occurred, that in my revie~~~ of the facts I could
                          20      time of the occurrence or those who will come in      20   see that there was a ratification by the agency or
                          21      and scrutinize the incident.                          21   a patteiro and practice that 1 considered connected
                          22           Q. But within those two examples,                22   [o the incident that I reviewed and so 1 would
                          23      though, ~~rould you not agree that the failw•e to     23   render an opinion in that regard.
                          29      U~ain involves a lack of training or no knowledge     29       Q. So are you saying that in cases even


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                                                                        Page 109                                                   Page 111
                           1      where there was nn Monell claim filed and you were      1       A.    I won't be able to do it right now.
                           2      gig ing opinions on other areas of la~v enlurcement,    2            MR. GRG~N: Can counsel foi~vard that
                           3      you would still give opinions of Morrell?               3   to us?
                           9           A. Yes. I did that I would give                    4            MR. ODIM: Yes.
                           5      opinions.                                               5   BY MR. GREEN:
                           6           Q. Despite being asked for it or ~~ot?             6       Q. And have you ever been barred as an
                           7          A. Yes.                                             7   expert in any area where you were ever disclosed
                           8          Q. And that's a regular practice of                 8   as an expert?
                           9      yours?                                                  9       A. There are typically motions in
                          10          A. It's typical.                  ~                10   limine on certain issues and I'm insG~ucted not to
                          11          Q. And you're always critical ofthe                11   testify.
                          12      municipality?                                          12       Q. Right. So that's happened to you
                          13          A. When I render it, }+es.                         13   before?
                          19          Q. You said Enrique case, was that in              19       A. Yes.
                          15      the last four years?                                   15       Q. And how many times and where?
                          16          A. Actually, it goes back to 2011.                 16       A. Well, it's common because the issues
                          17          Q. So it's not on this list?                       17   of --medical issues or engineering issues where
                          18          A. That case occwred in 2011. Both                 18   I've been instructed not to comment.
                          19      deposition and trial.                                  19       Q. So, essentially, you provided expert
                          20          Q. And do you remember what com•t that             20   opinions in areas that you were not recognized as
                          21      was in?                                                21   an expert, is that what happened?
                          22          A. Fresno. US Dish•ict Court in                    22       A. Sufficient for the case, yes.
                          23      Fresno, Califo~mia.                                    23       Q. So how many tithes has that happened
                          29          Q. And would you have the cite on your             24   in the Morrell context?


                                                                        Page 110                                                  Page 112
                           1      other --                                                1        A. I don't think it's ever happened --
                           2           A. I can give you the citation, I                  2   well, there -- the only way I can answer it is in
                           3      think. 10-cv-00581 AWI.                                 3   my experience the motions by the defense or other
                           4           Q. Thank you. And in the last four                 9   motions exclude out ofthe case in chief Morrell
                           5      years on this list, how many times would you give       5   issues and so I'm insU~ucted not to -- to comment.
                           6      trial testimony as a Morrell expert?                    6        Q. Were any of those based on your
                           7           A. 1 would have to carefully go over               7   methodology or you ~~ere providing an opinion that
                           8      the list. I'm sure there is about fow• to six in        8   you were not qualified to give in the Morrell
                           9      here.                                                   9   context?
                          10           Q. Four to six times in the last four             10        A. No, not that 1 am aware of.
                          11      years?                                                 11        Q. So not in the last four years
                          12           A. I would think so. That would be an             12   anyway?
                          13      estimate.                                              13        A. Nothing I can remember, no. But
                          19           Q. And can you --                                 19   often there ~a+ill Ue agreements between parties
                          15           A. I notice --                                    15   that Morrell will not be pursued in the trial.
                          16           Q. Can you pull those out?                        16        Q. And in the four to six times you
                          17           A. I notice this exhibit has some                 17   stated that you had given Morrell testimony in the
                          18      format issues. I'll provide abetter --                 18   last four years, what areas of Morrell were the
                          19           Q. I think everything is on there,                19   issues involved were there or what were die
                          20      though.                                                20   issues?
                          21           A. Yeah. Okay. The question?                      21        A. They ~~~ould involve use offorce.
                          22           Q. Can you provide us the list ofthose            22   The case itself would be use offorce. I think
                          23      Morrell cases on here? This is a rather extensive      23   all the cases involved shootings and the
                          29      list if you can't do it right now.                     29   department response to those.


                                                                                                    28 (Pages 109 to 112)
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                                                                       Page 113                                                  Page 115
                           1          Q. So there ~~~ere shootings, use of              1       Q. Right.
                           2      lorce and did an}+ of them involve the impending      2        A. n number of them have commented on
                           3      investigations or imUeding investigations of          3   the code of silence.
                           9      misconduct other than this case and perhaps the       9       Q. Now, when you say commented. this
                           5      Lane case that we just discussed?                     5   was something you had mentioned that it's in a
                           6          A. Well, if you -- I've commented on              6   case there wasn't necessarily a Morrell claim
                           7      the failure to implement or utilize the EWS           7   because you just voluntarily put that into yow•
                           8      properly.                                             8   report?
                           9          Q. EWS being?                                     9       A. In both -- I've done that Uoth ways.
                          10          A. Early warning system.                         10   One ofthe key cases I had early on was Darren
                          11          Q. And how about failure to                      11   Thomas versus the County ofLos Angeles and that
                          12      investigate, were any ofthose Morrell cases          12   had a lot to do with the code ofsilence.
                          13      involving a failure to investigate?                  13       Q. is that within the last four years?
                          19          A. Yes, that would include the                   14       A. No, that goes back to '93.
                          15      department response and the investigation thereof.   15       Q. How many times have you in your
                          16          Q. And how about a failure to                    16   history with this being an expect have you
                          17      discipline?                                          17   represented --have you been hired in a criminal
                          18          A. Well, I gave you the Blakenhorn.              18   case versus a civil case?
                          19      That's one that pops all the time.                   19       A. Criminal cases are fairly rare.
                          20          Q. Blakenhorn?                                   20   I've had probably IS percent of my cases involve
                          21          A. Blakenhorn versus City of Orange.             21   some -- criminal -- criminal case, per se?
                          22          Q. Was that in the last fow~ years?              22       Q. Right.
                          23          A. No,I think iPs older now, but                 23       A. I've only had a handful of criminal
                          24      failure to discipline is commentary often.           29   cases that I've dealt with.


                                                                      Page 114                                                   Page 116
                           1         Q. And low about failure to train?                 1        Q. And in the civil cases, how many
                           2         A. Pailw•e to implement the training as            2   times have you represented plaintiff versus how
                           3     required by POST. So that would be the -- most of      3   many times have you represented defendants or
                           4     the time that I -- I comment or write about the        4   meaning you gave opinions for plaintiffs or
                           5     POST requirements, the POST standards and that         5   retained by piaintiit's versus being retained by
                           6     failure to either be -- to adhere to diem or to be     6   defendants?
                           7     supervised to the extent that they're implemented      7        A. Only one time in Houston for the
                           8     by the department.                                     8   plaintiff. That would be for the County -- Texas,
                           9         Q. And are you familiar with the POST              9   in Texas, against a police officer. Other than
                          10     requirements in Illinois?                             10   that, all the others were defendants. One of them
                          11         A. Yes, I am.                                     11   was a police officer defendant, criminal case.
                          12         Q. And would you say that the written             12        Q. So you've always given reports on
                          13     general orders and training of the Chicago Police     13   behalf of the defendant?
                          19     Department satisfy [hose requirements?                19        A. We're talking about criminal
                          15         A. In teens ofthe training and                    1S   matters.
                          16     certification for POST basic, yes.                    16        Q. Ali right. Well, I was talking
                          17         Q. And they would be reasonably                   17   about civil matters.
                          18     sufficient f'or those purposes?                       18        A. Oh. So for civil matters, there is
                          19         A. Yes, and that certainly would keep             19   still very fey-v defendant cases. I have two active
                          20     Hines from -- Hitz from running solo after Pierre.    20   right now.
                          21         Q. And how about any of your Morrell              21        Q. Out of how many?
                          22     cases involve the code ofsilence other than Lane      22        A. Out of the 1,700 cases consulted on.
                          23     and this case?                                        23        Q. So out of 1,700, you only did two
                          29         A. Any of my other cases?                         29   for the defendant's side?


                                                                                                  29 (Pages 113 to 116)
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                                                                      Page 117                                                   Page 119
                           1          A. No, I have two active. I have                  1   BY MR. GREEN:
                           2      probable somewhere close to a dozen, maybe less,      2        Q. Okay. Let's move to your opinions
                           3      for defendants.                                       3   i~~ Ex1~iUit 4. Your first opinion states "Chicago
                           4          Q. So out of 1,700 cases. you I~ad 12             9   has consciously and deliberately created
                           5      that you represented defendants in in civil           5   impediments to the process made available for
                           6      matters or you have rendered opinions and been        6   citizens to complain about misconduct. These
                           7      retained for defendants?                              7   impediments include requiring sworn affidavits for
                           8          A. Yes, cases that I have accepted.               8   complaints, not investigating allegations that
                           9      You are correct.                                      9   have happened more than five years Uefore tl~e
                          10          Q. And how many of your cases involve            10   misconduct at issue and not investigating
                          11      the Chicago Police Department?                       11   allegations of misconduct for more than five years
                          12          A. 1 can go through and tell you how             12   after a CR number is issued.
                          13      many there are. I didn't bother -- I think           13                The maintenance in place of
                          19      there's around a dozen, maybe a little less than a   19   these impediments constitutes a de facto policy,
                          15      dozen involving Chicago.                             15   widespread practice of failing to properly
                          16          Q. And low many in the last four years?          16   investigate civilian allegations of police
                          17          A. Well, it would be listed in tl~e              17   misconduct including the use ofexcessive force in
                          18      repot. I have tlu•ee that come to mind right now.    18   the shooting of civilians."
                          19      Maybe there might be a couple more.                  19                Mr. Clark, what is the factual
                          20          Q. All right. Can your defense counsel           20   basis for saying tUat the City has consciously and
                          21      give us a list of those just to make sure we got     21   deliberately created such impediments?
                          22      them all along with --                               22        A. The factual basis comes from the DOJ
                          23          A. i can cull them up now if you want.           23   report and the other repals as listed and they --
                          24      All ofthem? All the --                               29   v~d what I did in this opinion was to be ma-e


                                                                      Page 118                                                   Page 120
                           1           Q. In the last four years anyway and             1   specific after the first sentence to give these
                           2      are any ofthem, do you know, on behalf oftUe          2   examples, the five-year limit, et cetera.
                           3      plaintiff?                                            3       Q. So --
                           4           A. I know that they're all on behalf of          9       A. The requirement for an affidavit to
                           5      the plaintif't:                                       5   be signed, et cetera.
                           6                MR. ODIM: Can we take a quick break         6       Q. So the -- you had the seven
                           7      on this?                                              7   conclusions of the DOJ repoiK you cited, correct?
                           8                MR. GREEN: Do you want to take a            8       A. Tha['s right.
                           9      break?                                                9       Q. What specific beyond that are you
                          10                MR. ODIM: Yeah, I want to figure           10   citing in support of this opinion?
                          11      out how we do this. Two minutes.                     11       A. Tl~e other five citations that are in
                          12                THE VIDEOGRAPHER: We are going off         12   footnote number one, the only footnote, they're
                          13      die video record at I :52 p.m.                       13   a]so included there that these are clearly
                          19                   (Whereupon, a break ~uas taken          19   impediments to the --
                          15                    after which the following              15       Q. Other than --
                          16                    proceedings were had.)                 16       A. -- to the ease of citizens to report
                          17                THE VIDEOGRAPHER: We are back on           17   misconduct.
                          18      video record at 1:56 p.m.                            18       Q. So other than the general materials
                          19                MR. GREEN: Okay. 1just -- we had           19   found in these reports, you have no other
                          20      talked aUout this and we're also going to get a      20   independent factual basis for coming to this
                          21      list of the City of Chicago cases, correct --        21   conclusion?
                          22                MR. ODiM: That is correct.                 22       A. Well, I have no other -- I have no
                          23                MR. GRL-,EN: -- that Mr. Clark eras        23   other resources that I've cited other than tlic
                          24      involved in?                                         29   material listed in my report and as you know a


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                                                                      Page 121                                                  Page 123
                           1      number of the articles and so forth reference this    1       Q. So --
                           2      cwnberson,e, my word. impediment that exists and      2       A. In terms of opinions.
                           3      impai~•s the ability of citizens to file              3       Q. So other than what's in this one to
                           4      complaints.                                           9   six; are there any other impediments?
                           5          Q. Now, when you're talking about                 5       A. Yes, and these are specific to that
                           6      reports, are you talking about those newspaper        6   issue that 1 felt were -- were necessary to best
                           7      reports, those articles from 29 through 34?           7   make that point, but, as I said earlier, and I
                           8          A. Yes, that includes that.                       8   want to -- I cannot overstate these five
                           9          Q. And what is tl~e factual basis for             9   categories are related to one another and
                          1o      saying the City even created those impediments?      10   reflective of one another and influence one
                          11          A. Because they're part ofthe City               11   another. They are not Solos.
                          12      process. The City -- I consider the City             12       Q. You know the sworn affidavit
                          13      responsible for that process and they can fix it,    13   requirement is based on state law, right?
                          14      my term again, if they really wanted to.             14       A. Yes, I've been offered that --
                          15          Q. What is your factual basis for tl~e           15       Q. So --
                          16      City allegedly not investigating misconduct that     16       A. -- information and I'm aware of it.
                          17      happened more than five years after a CR is          17       Q. So are you suggesting Chicago should
                          18      issued?                                              18   ignore the law?
                          19          A. Because they have afive-year limit            19       A. No,I'm suggesting and I'm more than
                          20      and that's contrary to the process of monitoring     20   suggesting, I'm recommending, that the City of
                          21      officers and their conduct.                          21   Chicago get it changed.
                          22          Q. And when you say --                           22       Q. Well, you agree that Chicago needs
                          23          A. It sets in place an impairment to             23   to follow  the state law, right?
                          24      really understanding and knowing what -- where       24       A. Chicago needs to follow the state


                                                                      Page 122                                                  Page 124
                           1     your malignant officers are and what they're           1   law. You are con~ect.
                           2     doing.                                                 2        Q. And Chicago didn't create that law.
                           3          Q. So how often does that actually                3   it's a state law, right?
                           4     happen?                                                4        A. I'm sure -- I don't know how much
                           5          A. How would 1 know? Because you have             5   stuff' was done to get that law passed and make
                           6     the five-year limit and, Uy the way, I do not -- I     6   that requirement -- put that requirement into
                           7     did not do that study. I'm referencing the fact        7   Illinois -- into the Illinois code. I'm not --
                           8     that they consider it an impairment and I agree it     8   but I'm confident having been involved in the
                           9     would be an impairment.                                9   legislative process, ergo, 31 1.l 1 of the Penal
                          1n          Q. So you don't know exactly ho~~~ many          10   Code how these things can be changed with the
                          11     times that's even affected the investigations of      11   right effort.
                          12     misconduct in the City of Chicago, you personally     12        Q. Well, this is a shooting case,
                          13     right now do not know, correct?                       13   right?
                          19          A. I -- in terms of the raw numbers, I           19        A. Pietre Lowy is a shooting case.
                          15     personally did not research that or -- or             15        Q. And do you agree that officer
                          16     accumulate those facts.                               16   involved shootings in Chicago they're automatic
                          17         Q. Were there any other impediments               17   investigations regardless of an affidavit,
                          18     beyond the sworn affidavits and not investigating     18   correct?
                          19     the five-year old complaints that you're citing?      19        A. There are.
                          20         A. Any other?                                     20        Q. So why would that even matter here?
                          21         Q. Yeah.                                          21        A. It's -- it matters in terms of the
                          22         A. Yeah, there is the opinions in this            22   influence, A, of the requirement for the affidavit
                          23     category of-- of impeding misconduct go ti~om one     23   and how it impairs the identification of malignant
                          29     to six.                                               29   officers. 1'n~ going to use the terns malignant


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                                                                      Page 125                                                 Paqe 127
                           1     officers or officers that are U•oublesome or have     1       Q. And, in fact, they have done?
                           2     a propensity to be out of policy and it is the        2       A. /\ccording to the DOJ report, they
                           3     first level incidentally as stated by Kolts and as    3   have.
                           4     stated by the Christopher Commission Report of an     9       Q. So any evidence -- do you have any
                           5     indicator of how you can manage the department and    5   evidence that a single officer involved shooting
                           6     keep more serious problems erupting by monitoring     6   has not been investigated because of the affidavit
                           7     their behaviors that are reflective of their          7   requirement?
                           8     propensity to not follow policy.                      8       A. No.
                           9          Q. Now, do you know of any example of a          9       Q. Or not investigated properly?
                          10     shooting case in Chicago where there was not au      10       A. I would say that my review of this
                          11     investigation done immediately?                      11   case is it was not investigated properly and it's
                          12               MR. ODIM: Objection. Form ofthe            12   reflective of the lack of due diligence as cited
                          13     question.                                            13   by the DOJ report.
                          14     BY MR.GREEN:                                         19       Q. Do you have any evidence that a
                          15         Q. A police shooting case.                       15   single officer involved shooting has not been
                          16              MR. ODIM: Still oUjection to the            16   investigated because of the supposed five-year
                          17     question.                                            17   limitation?
                          18     BY THE WITNESS:                                      18       A. No.
                          19         A. You're saying immediately. I don't            19       Q. Now, you recently gave an identical
                          20     consider the response in Chicago to the police       20   Monell opinion regarding the Chicago Police
                          21     shootings as anything close to immediate. There      21   Department in your December 11th, 2017, Lane
                          22     are people that come on scene right away, but        22   deposition in that case 15 C 1920 for the Monell
                          23     whether the investigation can be put in tl~e         23   period 2009 to 2015, correct?
                          24     category of immediate, which incidentally is an      24       A. Yes.


                                                                      Page 126                                                 Page 128
                           1     aspect of competence and clarity and dete~7nining     1       Q. And,in fact, why don't we just mark
                           2     exactly what happened. Lnmediately --                 2   this as Exhibit 5. Can you take a look at that,
                           3     BY MR. GREEN:                                         3   please?
                           4         Q. Do you have an example --                      4            MR. ODIM: While he is looking, I'm
                           5         A. Sorry. I just want to say this to              5   going to object to, one, relevance, object to,
                           6     answer yom• question.                                 6   two, foundation. 1'll object to form on the word
                           7                  So I would be -- I would argue           7   identical and an objection based upon the
                           e     the point of the term immediate response.             8   privileged natw•e of part of this report, meaning
                           9         Q. Do you have an example of a                    9   subject to the protective order.
                          10     shooting -- police shooting in Chicago where there   10   BY MR. GREEN:
                          11     was not an investigation done?                       11       Q. Can you take a look at that.
                          12         A. I know of'no shooting where there             12       A. Okay.
                          13     was not an investigation.                            13       Q. Is that a fair and accurate copy of
                          14         Q. Now, do you know that the police              19   the November 3rd, 2017, opinion you wrote
                          15     department and IPRA, no~~~ known as COPA,            15   regarding Monell in the Lane case?
                          16     investigate such -- they -- not only do they         16       A. I don't know if I can answer that.
                          17     investigate such shootings, but the Cook County      17   This is a protected document as far as I
                          18     State's Atto~7~ey investigates every police          18   understand it.
                          19     involved shooting here?                              19       Q, in what way is it protected, are you
                          20         A. That's ~~hat I've been informed.              20   aware?
                          21         Q. And do you kno~a~ that the federal            21            MR. ODIM: 1t uses material subject
                          22     authorities also potentially can investigate a       22   to the protective order. Should we talk about
                          23     shooting here?                                       23   this off the record?
                          29         A. Yes.                                          29            MR. GR~F.N: Yeah, let's go otf the


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                                                                      Page 129                                                    Page 131
                           1      record.                                               1       Q. And ~e~hether the City wanted to or
                           2                THE VID~OGRAPI-1LR: We're going o1T         2   not. it ~e+as up to the 111inois General Assembly to
                           3      the video record at 2:09 p.m.                         3   decide that?
                           9                  (Whereupon, a break was taken             9       A. if they ~e~anted to change [he law. I
                           5                    after which the following               5   don't know if somed~ing could be implemented that
                           6                    proceedings were had.)                  6   would satisfy bot4i the law and the need of die
                           7               THE VIDEOGRAPHER: We are back on             7   deparGnent to track its officers properly. I
                           8      tl~e video recot•d at 2:12 p.m.                       8   don't know aUout that. But I would agree it would
                           9      BY MR. GREEN:                                         9   need -- the best fix would be a correction in
                          10           Q. All right. By agreement of the               10   the -- tcom my viewpoint, a correction in the
                          11      panties, I'm going to withdraw this as an exhibit,   11   code.
                          12      but you're familiar with the report you gave in      12       Q. Now, what -- what steps, again,
                          13      Lane as well, right?                                 13   would you say that Chicago should have taken
                          19           A. Yes.                                         19   during this time period of 2010 through 2016 --
                          15           Q. Okay. And you had a similar Monell           15             MR. ODIM: Objection.
                          16      listing of opinions in that case, correct?           16   BY MR. GREEN:
                          17           A. Yes.                                         17       Q. -- in regard to this?
                          18           Q. Okay. That's fine.                           18             MR. ODIM: Objection. Foundation.
                          19               MR. GREEN: I'll take back 5 just to         19   Improper hypothetical.
                          20      be cautious.                                         20   BY THE WITNESS:
                          21               MR. ODIM: Okay.                             21       A. Well, it's -- as noted by the DOJ
                          22      BY MR. GREEN:                                        22   report and other reports, there has been no
                          23           Q. In tl~e Laue case, in your analysis          23   vigorous, my term, effort to get the law passed
                          24      ofthe Chicago Police Department and the City and     29   that would eliminate this impediment.


                                                                      Page 130                                                    Page 132
                           1      Monell purposes, you looked at the 2009 to 2015       1   BY MR. GREEN:
                           2      time period, correct?                                 2        Q. So you're talking about lobbying
                           3           A. Correct.                                      3   efforts?
                           4           Q. Is there anything in this first               4        A. Well, I -- if you want to discuss
                           5      opinion, number one, that leas changed in any way,    5   how it's done, I'm very familiar with it and, yes,
                           6      this being the 2010 to 2016 time period in regard     6   it includes lobbying, it includes the -- there is
                           7      to your opinion regarding the City of Chicago in      7   a legislative process obtaining the sponsor for
                           8      your opinion one?                                     8   the bill, the support for it, the public outcry
                           9           A. No.                                           9   1'll use [hat [enn, et cetera.
                          10          Q. Okay. Let's go to opinion two. You            10        Q. And ~~~hat is the basis for saying
                          11      say "Chicago has failed to take affirmative steps    11   that the City of Chicago -- Strike that.
                          12      to end or remove these impediments."                 12                 And what is the basis for saying
                          13                    Again, what is the factual basis       13   that the City hasn'hinvestigated police involved
                          19      in this report to support the claim that the City    14   shootings within five years when it automatically
                          15      hasn't taken affirmative steps to end or remove      15   is investigated?
                          16      these impediments?                                   16        A. Well, if you want to use --
                          17          A. That I saw nothing in any of the              17   investigation and response I think can be two
                          18      material that I reviewed that there have been        18   different terms, but I would agree that the City
                          19      efforts to do that and that was a criticism in the   19   police department responds to every shooting event
                          20      DOJ report.                                          20   by an officer of a civilian.
                          21          Q. And, again, the atTdavit                      21        Q. And, again, you have in opinion two
                          22      requirement that you're citing, again, is a state    22   in the Lane case as ~~~ell, that was for the period
                          23      law', is it not?                                     23   2009 through 2015, correct?
                          29          A. It is. As I understand it.                    29        A. WeIL the Lane -- there is a bit of


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                           I.     a shit[ in time period. You're correct with Lane.     1   says "One of'yow• officersjust Ueat my son near
                           2           Q. That's ~a~hat I'm trying --                   2   to death and I ~a~ant to report it.•• "Sure. Sign
                           3           A. There was no -- as far as that --             3   here." "What is this?" "This is an affidavit and
                           9      the restriction for the Lane case and the time        4   if we find anything wrong ~~~ith ~~~hat you're saying..
                           5      period was not a factor in the difference in time     5   you're culpable."
                           6      period for this case.                                 6       Q. Mr. Clark, isn't this a shooting
                           7           Q. Sa you're saying there has been no            7   case where there is an automatic investigation?
                           8      changes shifting to the 2010 to 2016 time period?     8       A. You asked me a question about the
                           9           A. Right, nothing that would change my           9   impaii7nent against misconduct and there is a
                          10      opinion. So, ergo, I think if you're allowed to      10   linkage between misconduct and officer involved
                          11      see the two and compare them, they would be the      11   shootings. Clearly, this is well-known ever since
                          12      same.                                                12   Christopher did his work. So I'll wait for the
                          13          Q. Now, opinion three, you state "The            13   next -- but I gave you the example. I can
                          14      creation ofthese impediments and the failure to      14   continue on with it.
                          15      remove them are the result of deliberate and         15               Therefore, mother walks out of
                          16      conscious actions of Chicago and its policymakers    16   the precinct having not signed anything. They
                          17      despite the clear consequences of allowing police    17   take any allegation of misconduct from an officer
                          18      misconduct to go, I assume, go uninvestigated and    18   they know is malignant, tear it up,throw it away
                          19      officer wrongdoers to go without supervision,        19   and he goes on his way for something -- for the
                          20      intervention or discipline."                         20   next episode. That's what happens and everybody
                          21                   What is the factual basis in            21   knows it.
                          22      this report to support your statement that they      22       Q. What is the factual basis to support
                          23      create -- that tUey are failing to remove the        23   that officer wrongdoers go without supervision,
                          24      creation ofthese impediments -- Strike that.         24   intervention or discipline?


                                                                      Page 134                                                      Page 136

                           1                  What is the factual basis to              1        A. That's well-written about in the
                           2      support your contention that it was a deliberate      2   literature that T cited in the 48 items of
                           3      and conscious action of Chicago and its               3   material review.
                           4      policymakers?                                         4        Q. Soother than the DOJ report
                           5           A. Because it's such an obvious                  5   conclusions, are you also including in there those
                           6      impediment.                                           6   newspaper articles?
                           7           Q. And, again, you're just talking               7        A. And the other five reports as
                           8      about the affidavits and the five-year                8   listed, yes. There is a substantial foundation
                           9      requirement, correct?                                 9   for this conclusion and the observation and the
                          10           A. Yes, the heartbeat of that opinion           10   conclusion and the antidotal stories that support
                          11      are those two main issues. They clearly impair,      11   it as well.
                          12      and I can be more precise, the administration of a   12        Q. Now, what are your qualifications to
                          13      well-ordered department.                             13   opine nn the state of mind of the City or its
                          14           Q. You say that -- what is the factual          19   policymakers?
                          15      basis for yow• contention that there are clear       15        A. Only what they do. Only what's
                          16      consequences in allowing misconduct to go            16   occureed and only the history of the City.
                          17      uninvestigated, is that not assuming that iPs        17        Q. So you don't know the actual state
                          18      going uninvestigated?                                18   of mind of the City or its policymakers, do you?
                          19           A. Yes, it's -- it's not an assumption.         19        A. I do not know their mentality or
                          20      It's an obvious consequence that any reasonably      20   their heart, correct.
                          21      trained police administrator would know. As an       21        Q. If all shootings are investigated as
                          22      example, citizen comes in, typically fi•om one of    22   in this underlying case, why did these supposed
                          23      the more dynamic parts of the city where police      23   impediments even matter?
                          29      misconduct can -- often occurs and walks in and      29        A. Because they're reflective o1'the


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                                                                          Page 137                                                   Page 139
                           ].     investigation itself and ~~~hether the officers kno~~~    1   has there been anything to change ~~our opinion in
                           2      or would expect pursuant to their shootings by            2   this case in regard to the time period here li~om
                           3      their experience in the -- and what's occurred in         3   2010 to 2Q16?
                           4      the past in terms of their other brother officers         4        A. Nn.
                           5      or sister officers that have beeu involved in             5        Q. Opinion four. You say "These
                           6      shootings.                                                6   failures impede the conduct of complete, fair and
                           7           Q. In fact, the shooting case involving              7   unbiased investigations of police misconduct and
                           8      Laquan McDonald occurred before this particular           8   lead to foreseeable risk of harm to others and are
                           9      case, did it not?                                         9   things that a reasonable Chicago policymaker would
                          10           A. One year before and that's, I think,             10   Ue aware of."
                          11      very impo~4ant to note that -- no, McDonald,I            11                What is the factual basis to
                          12      think, was even before. What's important to note         12   support that it impedes die conduct of complete,
                          13      is there is the history over the years -- I              13   fair and unbiased investigations, these failures?
                          14      thought you were talking about another case -- but       19       A. What occurred here in this case, and
                          15      that I am aware ofthat this spans over a number          15   I cited them, and I could give you a better
                          16      of years and with no changes.                            16   example I think in particular to tUis case and --
                          17          Q. But wouldn't the officers in this                 17       Q. I'm sorry. Is that referring to
                          18      particular case be well-aware ofshooting                 18   those first four elements you -- you cited
                          19      investigations?                                          19   regarding the investigation?
                          20          A. Of course they're aware that someone              20       A. No, the entirety ofthe repot. I
                          21      is going to come out and take a look, right.             21   know we're going through it step-by-step, but the
                          22      That's it.                                               22   entirety ofthe report is reflective to that and
                          23          Q. And how do you reconcile supposed                 23   so it was never intended for these to be totally
                          24      deliberate and conscious impediments with general        24   standalone statements and the -- there was another


                                                                          Page 138                                                   Page 140
                           1      orders or even state law?                                 1   part -- answer to your question.
                           2          A. Because the general orders require                 2                And the impairments as I aU•eady
                           3      an investigation and the investigation doesn't            3   stated and I started to give you an example of the
                           4      meet the requirement.                                     4   mother who comes in to complain about the beating
                           5          Q. And the City of Chicago also has an                5   of her son and they require the affidavit are --
                           6      independent citizen review authority. They're no~~~       6   are known to be clear impairments to any police
                           7      called the independence Civilian Office of Police         7   administrator and how they ever crept their way
                           8      Accountability, correct?                                  8   into Illinois's law I think is -- is interesting,
                           9          A. Yes.                                               9   would be an interesting historical review.
                          10          Q. What about other large cities like                10       Q. That is the law nonetheless?
                          11      New York or Los Angeles, they don't have full-time       11       A. It is the law and I think as stated
                          12      civilian investigative bodies, do they'?                 12   by tl~e Deparhnent of Justice commentary in their
                          13          A. They have policies and procedures,                13   report that there are a number of things that
                          19      some of which are wanting, and others that are           19   somehow become pa~~t of the agreement between the
                          15      good. I can give you some examples.                      15   police league and the City, et cetera, that now
                          16          Q. But they don't have an independent                16   stand in die way of a -- of a good investigative
                          17      review authority like Chicago, do they?                  17   process in police involved shootings.
                          18          A. The City of Los Angeles his a police              18       Q. And you're -- you're referring to
                          19      commission that serves as an independent authority       19   the Collective Bargaining Agreement?
                          20      and New York has a very fine policy established by       20       A. Yes, I think that probablJ+-- as
                          21      Bratton when he was the conunissioner and it's           21   stated by the Department of Justice that[here are
                          22      generally well done.                                     22   some real problems with that and that that
                          23          Q. Again, this opinion three in the                  23   authority or that ability to make a policy needs
                          29      Lane case; that covered the period 2009 to 2015,         29   to be restrn•ed back into the Cite.


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                                                                      Page 141                                                    Page 193
                           1         Q. So your opinions in this regard are             1   and with a wink and a nod and say "]t's okay" or
                           2     totally based upon ~~~hat you read in the DOJ          2   you can really look at it to Iind out what the
                           3     report?                                                3   t~t~th is and that's entirely different. So I'm
                           4         A. The D0.1 report and the other -- can            9   not a[ all critical of going to [he sce»e of a
                           5     ~~e agree that when I say DOJ all ofthe                5   sUooting, Uut that does not excuse the department
                           6     foundational articles and reports that -- tUat         6   for its response and its investigative competence.
                           7     agree one way or another with the findings that I      7        Q. You're assuming that's ho~v they
                           8     cited in my report?                                    8   approach all these investigations?
                           9         Q. Your --                                         9        A. Well, certainly in this case and in
                          10         A. The collective --                              10   the other cases I've had, I saw it as very
                          11         Q. The 48 items and the DOJ report                11   problematic and not only that I see it as with the
                          12     conclusions?                                          12   reports that we're consistently going back to and
                          13         A. Right, which I think are a very                13   very simply stated ifI were the
                          l9     excellent recount of what the problems are.           19   detective/commander looking over the photographs
                          15         Q. What is your factual basis as they             15   ofthe scene of this shooting, I'd say "Wait a
                          16     lead to foreseeable risk of Dann to others?           16   second. There is a bullet hole up here. How the
                          17         A. Because when a person gets the                 17   hell did that happen and what lave you guys done
                          18     notion that they can act with impunity, then harm     18   to recover that slug and how -- and match it to
                          19     follows. Ergo, the differences between the NORSAT     19   Hitz gun?" And ifI hear "Well, we haven't done
                          20     and the SIS unit, the LAPD SIS unit is a good         20   that yet, sir," "Well, get your hips over there
                          21     example.                                              21   and get that slug." ThaYs what you do.
                          22         Q. Do you have any training in                    22        Q. So that's your understanding of what
                          23     psychology?                                           23   occurred iv this case?
                          29         A. I'm the father often children.                 24        A. That did not occur in this case and


                                                                      Page 142                                                    Page 194
                           1     So --                                                  1   that's what I'm talking aUout.
                           2          Q. Other than that.                               2       Q. What you explained occurred in this
                           3          A. Nine of them daughters, but, no, I             3   case?
                           n     am no[ a certified psychiatrist.                       9       A. As an example. There is far more
                           5          Q. And what is your tactual basis that            5   than that, but this is really one of the obvious
                           6     a reasonable Chicago policymaker would be aware of     6   ones as discussed by Scott in his report.
                           7     the risk?                                              ~       Q. So you're basing it on Scott's
                           8          A. Because in die profession there                8   report basically?
                           9     is -- there is ao acceptance ofsome basic              9       A. No,I saw tl~e photograph myself. 1
                          10     SC811C~8f(IS, administrative standards, I'll say it   10   know where that window vas. 1 sa~~~ the bullet hole
                          11     that way, and there -- theyYe private                 11   in the window. I saw where the little guy fell.
                          12     organizations as well; the International              12   IYs -- okay. I'm sorry. I get a little excited
                          13     Association Chiefs ofPolice, CALEA,the                13   here.
                          19     Department of Justice, COPS,PERF,P-E-R-F, all         19       Q. Again, in Lane, tliere was a 2009 to
                          15     caps. So none of these are in contrast with one       15   2015 timefi•ame for this opinion.
                          16     another in terms of their agreement in how a          16               Has anything changed in this
                          17     well-ordered department is run and thaYs the          17   opinion for this pa~Kicular case in the 2010 to
                          18     foundation for this report and I think the DOJ        18   2016 time period?
                          19     report.                                               19       A. No.
                          20          Q. How does it mean anything if all              20       Q. Okay. Opinion five. "These
                          21     officer involved shootings, such as this              21   failures and impediments ~~~ere moving force -- were
                          22     underlying case, are investigated?                    22   the moving force behind die death of Louiy, in
                          23          A. Because what we're putting our                23   that they created an environment ~-vhich gave
                          29     finger on is you can go to the scene of a shooting    29   defendant officers had license to operate w-ith


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                                                                       Page 195                                                  Page 197
                           1      impunity and without fear of punishment."             1   brew ha ha about McDonald.
                           2                   What is the factual basis for            2                 In other ~,vords. here's the
                           3      the assertion that the failures here were the         3   thing. Has McDonald did a -- done a change in the
                           9      moving force?                                         4   department to influence its culhn•al values, ~~hat
                           5           A. Again, the reports, the DQJ report            5   officers do and how they deport themselves, how
                           6      has this is a consequence ofincompetence or           6   they tactically deploy, et cetera, which I talk
                           7      looking the other way, another good term, when you    7   about here, and I think the answer is no and
                           8      go out to the scene of a shooting.                    8   that's what brings the here for this.
                           9           Q. Now,what is your understanding of             9        Q. They knew they could Ue investigated
                          10      ~a>hat dre te~7n moving force means?                 10   by entities outside tl~e City, did they not?
                          11           A. That it is the heutbeat ofthe                11        A. I think they -- I don't know what
                          12      issue, that it is the -- that it is the central      12   they know and, as I said, I don't know what their
                          13      issue ofthe issue -- of the discussion at hand       13   thinking process is. I only know what they did
                          14      and that is -- that's the way I meant it to be.      14   and it's a very logical conclusion that this
                          15           Q. What's the factual basis for the             15   attitude ofimpunity is still a driving force and
                          16      notion that defendant officers lead license to       16   still at this time was a -- was a part ofthe
                          17      operate without impunity and without fear of         17   cultural values ofthe department.
                          18      punishment?                                          18        Q. So, essentially, they also knew they
                          19           A. Because that is in the -- in the             19   could be charged with a crime and be sued civilly,
                          20      profession, it's known as an opportunity -- it's     20   no?
                          21      known to provide the opportunity for officers to     21        A. I'm assuming they would know that.
                          22      do what they do with a feeling ofimpunity. That      22        Q. And also you're presmning within
                          23      attitude is cultural. That's the Monell. Values,     23   this whole review tUat this shooting was
                          29      attitudes and beliefs. I know someone is going to    29   unjustified in the first place, are you not?


                                                                       Page 146                                                 Page 19.3
                           1     come out and look at my shooting, but I la~ow I can    1        A. I'm not assuming anything, no.
                           2     say anything I want. They're not going to              2   Remember, I said earlier in the deposition very
                           3     question it, they're going to accept it and we71       3   early on my issue is the Monel I, not whether or
                           9     go on and if I recount a story justifying fear for     9   not there was even a gun there.
                           5     myself; great bodily harm or death, I71 be             5        Q. Well, if Loury pointed a gun at
                           6     justified and no one will question it.                 6   Officer Hitz, he would be justified in shooting
                           7           Q. As we mentioned, the Laquan McDonald          7   Lowy, correct?
                           8     event happened before this shooting, correct?          8        A. I think you've already asked me that
                           9           A. As 1 remember it, yes.                        9   question at least twice, and now this will be the
                          10           Q. So --                                        10   third time, and I said, yes, if Loury -- if I-litz
                          11           A. But 1 ti~as not involved in that             11   under the circumstance had a reasonable belief
                          12     investigation.                                        12   that he was in danger now of being shot by Lorry,
                          13           Q. Wouldn't the officers had to know --         13   of course he could defend himself.
                          14     well, you're familiar with that generally, are you    19       Q. And if that's the case, would you
                          15     not?                                                  15   agree the City policies would not have been the
                          16           A. Yes, 1 am.                                   16   moving force behind Officer Hitz shooting Loury?
                          17           Q. And wouldn't the ot7icers had to             17       A. Well, the City's written policy is
                          18     know [hat diet' would be investigated or could be     18   if'you are reasonably -- and 1 talk about sanctity
                          19     investigated by the City?                             19   of life, obvious reasonable alternatives, dire
                          20           A. You kno~~~, that's an interesting -- I       20   circumstances and if Hitz is -- per the policy and
                          21     would -- that would be a logical conclusion for       21   the training, if you are in reasonable fear of
                          22     someone ~vho is not so steeply involved in -- that    22   great bodily harm or death, you can defend
                          23     one -- 1 can still do ~~~hat 1 can do because         23   yourself.
                          ?9     it's -- nod~ing has changed even though there is a    29       Q. So is that a yes?


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                                                                       Page 199                                                  Page 151
                           1          A. That would be yes.                             1   ma~~be they cou4d all be written in one big
                           2          Q. nnd. again. in Lane for this                   2   paragraph, but they are dillerent to some degree
                           3      opinion, this was 2000- -- in that case was 2009      3   and they're -- therefore, are broken into tMe six
                           9      through 2015. is there anything that would change     9   sections, but they are in many ~~~ays duplicate one
                           5      yow• opinion for this case tUat was 2010 to 2016      5   another.
                           ~,     in regard to your opinion five?                       6        Q. What is your fach~al basis for the
                           7               MR. ODIM: I'm just going to again            7   opinion that no such investigation would find them
                           8      object on the same Uasis I objected before. I         8   culpable of any actions that tUey might take?
                           9      tUought it was widedrawn, but --                      9        A. I saw in the -- in this
                          10               MR. GREEN: You can lave a standing          10   investigation that that is apparent because ofthe
                          11      objection.                                           il   obvious differences in what the physical evidence
                          12               MR. ODIM: Yeah,so the standing              12   says occurred and what the officers say occurred.
                          13      objection of, you know,foundation, foam, let's       13   Very significant and obvious and the other is that
                          19      see, the privilege issue. Okay.                      19   this also appears in the DOJ, et al opinions.
                          15      BY THE WITNESS:                                      15        Q. Regarding this particular case?
                          16          A. Nothing has changed.                          16        A. Not regarding this pa~~ticular case.
                          17      BY MR. GREEN:                                        17   Regarding the conduct, the policies and procedures
                          18          Q. Nothing has changed. Okay. Opinion            18   and the cultural issues involving the department
                          19      six. "It was reasonable on August 24th, 2014,for     19   itself. But regarding this case in particular,
                          20      defendant officers to believe that no proper         20   I've already mentioned that they're very
                          21      investigation of their actions would be instituted   21   significant and obvious physical indicators about
                          22      and no such investigation would find them culpable   22   the way the shooting really occurred.
                          23      of any actions that they might take against Lomy     23        Q. All right. So your opinion is based
                          29      including, but not limited to, the use of            29   on the notion that Defendant Hitz used excessive


                                                                      Page 150                                                   Page 152
                           1     excessive force by shooting and killing him, tl~e      1   force?
                           2     failure to intervene to stop the shooting officer      2       A. It's based on the fact that the
                           3     from shooting Loury and the subsequent concealment     3   physical evidence belies the statement made by
                           9     of that misconduct."                                   4   UoU~ officers.
                           5                   What is your factual basis f'or          5       Q. So perhaps he didn't use excessive
                           6     the opinion that it was reasonable on August -- in     6   force, is that what you're saying?
                           7     this particular case for the officers to believe       7       A. Well, that's curious. Because if --
                           e     no proper investigation of their actions would be      8   if he didn't -- the question then becomes if he
                           9     instituted? This vas a shooting case, was it not?      9   didn't use excessive face, then why would he [ell
                          10           ~. Okay. So you asked me two things.            10   such a different story? So that's a problem. But
                          11     The last answer is, yes, it was a shooting case       11   what I was addressing was we have this stogy about
                          12     and 1 think I've already answered this in a number    12   what happened only from the surviving officer.
                          13     of ways that if you have the attitude that you can    13   Loury is dead. So -- but his body speaks
                          19     do anything without being held culpable for it,       19   certainly and the trajectory of those slugs
                          15     then you do anything and I said it's reasonable       15   speaks.
                          16     for them to believe that there would be no proper     16       Q. L~ your opinion, it's based on the
                          17     investigation and drat is -- that sparks or is the    17   notion that Defendant Riordan f'liled to intervene
                          18     driving force to be willing a~ doing things that      18   in this case?
                          19     are contrary to the law and policy knowing you        19       A. He was not present when the shots
                          20     ~~~ill not be held accountable.                       20   were fired and that's not what the parag~•aph says.
                          21           Q. So, in essence, these are                    21       Q. It says "Tlie failure to intervene to
                          22     duplicative opinions here, are they not?              22   stop the shooting officer from shooting Louiy."
                          23           A. Well, I ~~~as waiting for that one.          23       A. Well, that's related to Riordan
                          29     They+ are slight -- as you kno~~~, 1 drought that     24   saying "Get the hell back here. Don't go atter


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                                                                       Page 153                                                  Page 155
                           1      him. Stay with me."                                   1       Q. -- that they would be somehow
                           2           Q. Oh, so that's what you're saying              2   duplicative in nature?
                           3      upfront?                                              3       A. Not somehow. That they're directly
                           4           A. Yes.                                          4   duplicative of one another.
                           5           Q. What do you mean by the subsequent            5       Q. So would it be fair to say you
                           6      concealment of the misconduct? What is the            6   essentially have five opinions here, but there are
                           7      factual basis for that comment?                       7   subsections ofthose opinions?
                           8          A. There is no continent about the                8       A. Yes. Yeah, I think thaYs fair.
                           9      obvious misconduct.                                   9       Q. Okay.
                          10          Q. Your last phrase is the subsequent            10       A. That was the intent and I realize
                          11      concealment of misconduct.                           11   you got to be very precise. So we worked on this.
                          12          A. Right.                                        12       Q. Okay.
                          13          Q. That's refen•ing I believe to                 13       A. Okay. I71 wait.
                          19      Defendant Riordan.                                   14       Q. Let's go to that opinion seven. So
                          15               MR. ODIM: Objection. Foundation             15   what is the factual basis for your opinion that
                          16      and form.                                            16   there is a de facto policy in this regard for
                          17      BY MR. GREEN:                                        17   failure to investigate?
                          18          Q. I'm just asking about your own                18       A. Well, again, that was a finding of~
                          19      opinions here.                                       19   the DOJ,et al, and also apparent in the facts of
                          20          A. Right. Yeah, the example kited --             20   the shooting of Loury.
                          21      that's why I put in the policy tell the tivth,       21       Q. Now, can you name every case that
                          22      make truthful statements.                            22   you're fa~nilia~• with since 2010 in this time
                          23          Q. All right. So, again, in the Lane             23   period that Chicago failed to investigate officer
                          29      case was from 2009 to 2015. Is there anything to     29   involved shootings?


                                                                      Page 154                                                   Page 156
                           1      change your opinion in this rega~•d for this          1             MR. ODIM: Objection. Form.
                           2      particular case from 2010 to 2016?                    2   BY THE WITNESS:
                           3           A. No.                                           3        A. Well, I think you asked me the
                           4           Q. Okay. Tl~e second category you have           9   question. The issue is how they -- if you use the
                           5      is'7~ailure to investigate." Opinions seven           5   term investigate in terms of responding to and
                           6      through 11. Opinion seven "Chicago had a de facto     6   showing up and taking over and assuming the
                           7      policy or widespread custom or practice of failing    7   responsibility for it, that's part of an
                           8      to investigate allegations of police misconduct       8   investigation and they do that.
                           9      including die use of excessive force by               9   BY MR. GREEN:
                          10      discharging guns at tleeing civilians."              10        Q. So, essentially, ~~ou admit that they
                          11                   Mr. Clark, what is the factual          11   are investigating the shootings, you,just have
                          12      basis for the opinion that Chicago had a de facto    12   some conunents on how they investigate the
                          13      policy, a ~~~idespread custom or Uractice in this    13   shootings?
                          19      regard?                                              14        A. Well --
                          15           A. Okay. So you'll notice there is              15            MR. ODIM: Objection. Fonn.
                          16      a -- there is -- the first piece is impairing or     16   BY TIC WITNESS:
                          17      impeding the investigation of his conduct and now    17        A. Tl~e semantics and you're right. If
                          18      this centers down [n the failm~e to investigate      18   we simply -- I'm clearly acknowledging the reality
                          19      itself and you'll see that the paragraphs mirror     19   that Chicago Police first respond, they take the
                          20      one another because they are linked to one another   20   first handle, then it goes to IPRA for another
                          21      and --                                               21   review, et cetera. The issue is when T say
                          22          Q. Are you saying about opinion seven            22   failing to investigate. I'm talking about the
                          23      through 1 1 --                                       23   process itself the looking the other ~vay issues,
                          29          A. Yes.                                          24   et cetera, as I have given ~~ou examples fiu•.


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                                                                       Page 157                                                   Page 159
                           1      BY MR. GREEN:                                          1        Q. And ~~~hen you say the cases }you've
                           2           Q. So your basis for saying those                 2   had, you're talking about that list ~~~91 ~_et of
                           3      investigations were improper or inadequate, or at      3   the cases -- die Morrell cases that you've
                           9      least in this particular instance is what you          9   reviewed --
                           5      cited in the beginning of yoiu• report, regarding      5        A. Right.
                           6      the inconsistencies that you believe occurred?         6        Q. -- from the Chicago Police
                           7          A. Yes, and there are more, but I                  7   Department in your experience as an expert
                           8      wanted to be succinct in some regard, Uut also be      8   witness?
                           9      illustrative ofthe issue, Uut there are a lot of       9        A. Yes.
                          10      deficiencies in the investigation.                    10        Q. And, again, in Lane,for this
                          11          Q. And other than the ones that you               11   opinion it was 2009 to 2015, anything change yow
                          12      cited in the front and that you've testified to so    12   opinion in this case for the 2010 to 2016 period?
                          13      far, what else was wrong with the investigation?      13        A. No.
                          19          A. Well,IPRA has --well, there are                14        Q. Okay. Opinion eight. "The Chicago
                          15      some things in the 28-page -- I think it's like       15   Police Depa~1ment failed to take any affinnative
                          16      28-page IPRA repo~4, but let me give you a couple     16   steps ending their de facto policy of failing to
                          17      that come to mind. Scott cites some. Let's talk       17   properly investigate allegations of police
                          18      about the gun scene -- found at the scene. The        18   misconduct including the use of excessive force by
                          19      fact that it didn't go through ATF,that the           19   discharging guns at fleeing civilians."
                          20      analysis -- raising the serial number didn't occur    20                  What is the factual basis for
                          21      although it was apparently filed down,there is        21   this opinion? Is it merely redundant of tl~e
                          22      ways to get that up. The DNA sample taken I think     22   previous one?
                          23      it was from the gun or the clip -- clip, no DNA       23        A. Well, it's fairly redundant, but
                          24      sample was taken from the of7icers to see if          24   it's a little bit of a difference.


                                                                       Page 158                                                   Page 160
                             1    they -- if it belonged to some ofthem. I don't         1       Q. What is the difference?
                             2    consider the workup on the car that fled tl~e scene    2       A. This has to do with the actions that
                             3    at all adequate. These are very, very obvious in       3   you would expect Chicago to take which would have
                             ~i   my opinion. The trajectory analysis at the scene       9   been at some level certainly if the quality of
                             5    at the time. The preservation ofthe scene              5   this investigation has been turned over to a
                             6    including locating the slug that missed and where      6   police administrator, then there would he
                             7    it went and recovering it and then bringing it         7   something close to this is really bad, you guys
                             8    back, making it clear it came from -- from the         $   don't ever do -- and don't you ever do this again
                             9    officer's gun 1 can -- 1 can -- if you give me a       9   and that would change considerably the police
                          10      fe~~~ more minutes 1 can think of-- those are         10   response -- or the department's response to this
                          11      examples. 1 didn't talk about them in my report,      11   type of an event.
                          12      but those are things that come up very obviously      1z       Q. Are you saying that the Ciry did not
                          13      to a -- to a detective.                               13   commission various reports Yrom 2010 to 2016
                          19           Q. And you never went to detective               14   seeking to improve how it investigates allegations
                          15      school, did you?                                      15   of police misconduct?
                          16           A. No, I did go to -- I ran a detective          16       A. Clearly there -- there is a -- I
                          17      unit and ~~~e ~~~ere pretty good at it.               17   think there is a City report I cited. The Volice
                          18           Q. And what's your -- what are you               18   Accountability Task Force Report, which is in
                          19      saying that -- your basis for saying the              19   April 2016.
                          20      investigations you have named are part of a           2~       Q. So wouldn't that be reflective of an
                          21      widespread practice?                                  21   effort to improve in this area?
                          22           A. Because that's the finding of the             22       A. Yeali, it's reflective ~vhed~er --
                          23      DOJ based on my look at the cases I've had, I find    z3   here is the issue and (think --
                          `' 9    that also to be true. So 1 embrace that.              29       Q. Woidd you not call it an af'tirmativc


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                                                                         Page 161                                                  Page 163
                           1      steU?                                                 1   clearly part of the problem as identified by the
                                      A. Yeah. 13ut, see, we're talking about           2   DO.1, et al.
                           3      something that's more deeply embedded than just       3       Q. What is the factual basis for you
                           4      punching out another report There is a plethora       9   saying that the policymakers were deliberate --
                           5      of reports. That's why I considered you have a        5   there were conscious actions of Chicago and its
                           6      very well-docmnented Morrell just on the Uasis of     6   policymakers to not act in that way?
                           7      tUe reports and so you punch out a report and         7       A. Because there is no affirmative
                           8      nothing gets done. That's the issue here.             8   document in the entirety ofthe review of this
                           9          Q. Well, are you saying that the                  9   material regarding Loury's shooting death. It
                          10      recommendations contained in these reports don't     10   says "Did this wrong. Failed to investigate
                          11      constitute affirmative steps?                        11   properly. You're fired or you're being
                          12          A. Well, they do constitute an                   12   transferred. I'm going to get somebody who Imows
                          13      acknowledgement. Iguess that's affirmative. You      13   how to do this right," et cetera, and that is the
                          14      have to know what the problems are before you can    19   responsibility of the department, the chain of
                          15      take care ofthem, Uut the}' knew what the problems   15   command.
                          16      were long ago, long Uefore 2016.                     16       Q. So you're assuming, again, that
                          17          Q. Now, again, in t(~e Lane case was             17   there was an unjustified shooting in this case?
                          18      2005 to 2015,I'm sorry, 2009 to 2015. Anything       18       A. I don't know how many times -- I
                          19      to change your opinion eight here in this case       19   think we're probably in a dozen area. I'm here to
                          20      from 2010 through 2016?                              20   talk -- I'm not talking about the justified
                          21          A. No.                                           21   shooting. I'm here to talk about the obvious
                          22          Q. Okay. Opinion nine. "The failw•e              22   deficiencies that I think are linked to -- could
                          23      to properly investigate complaints about officer     23   be linked to an unjustified shooting, but
                          24      misconduct are the result ofthe deliberate and       24   certaiiily express the Morrell aspects of die


                                                                         Page 162                                                  Page 164
                           1      conscious actions of Chicago and its policymakers     1   department, its values, its attitudes and beliefs.
                           2      despite tUe clear consequences of allowing police     2       Q. So you're inferring --you're
                           3      misconduct to go uninvestigated and officer           3   inferring the deliberateness or consciousness of
                           4      wrongdoers to go without supervision, intervention    4   the actions ofthe policymakers?
                           5      or discipline."                                       5       A.    I don't know how else you can
                           6                  Again, whaPs the factual basis            6   identifi~ such a thing, only what happens and what
                           7      f'or failure to properly investigate complaints       7   has happened repeatedly that there would be a
                           8      about officer misconduct? Is it what you              8   responsibility when it happens over and over and
                           9      testified to in die last two previous sub opinions    9   over again.
                          10      here?                                                10       Q.    Well, again, this opinion nine in
                          11          A.   Yes, but this one is directed to the        11   Lane it was from 2009 to 2015, do you have
                          12      policymakers --                                      12   anything to change your opinion f'or this period
                          13          Q.   And how is that different?                  13   2010 through 2016?
                          14          A.   -- and the police administration.           19       A.    No.
                          15          Q.   And what is your factual basis to           15       Q.    Okay. Opinion ten. "The deliberate
                          16     say that they failed to properly investigate?         16   and conscious decision to maintain an
                          17          A.   Because they -- A, what happened            17   ineffectively flawed system by which to
                          18     here in this instance and the report; that had to     18   investigate police misconduct was the driving
                          19     go through the chain of command for some sat of       19   force behind the death of Loury."
                          20      approval and recognition ~~~hich are blatantly       20                 Again, what factual basis do you
                          21      deficient and, therefore, I consider the chain of    21   have for the deliberate and conscious decision to
                          22     command to be culpable for their failure to see       22   maintain this ineffective and flawed s}'stem, is it
                          23     what ~~~as obvious in terms of the report itself      23   the same as to what ~~ou've referred to in opinion
                         ''9     regarding this specific incident and this is          24   nine?



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                                                                      Page 165                                                  Page 167
                            t        A. Yes.                                            1   BY 'THE WITNESS:
                           2         Q. And the same for the ineffective and            2       6~. To that degree, you are correct.
                           3     flawed system?                                         3   BY MR. GREEN:
                           9         A. Right. Because the investigators                9       Q. Opinion 11. While it is outside my
                           5     operate within the system.                             5   purview to assess credibility of panties, it is
                           6         Q. And what, again, is the factual                 6   easy to see why defendant officers may feel it is
                           7     basis for the driving force behind the death of        7   to their benefit to simply deny plaintiff's
                           8     Loury that this would be?                              8   allegations and take their chances with the flawed
                           9         A. Well, one of the things that comes              9   investigative and disciplinary process to sort out
                          10     to mind to a~~swer your question is what you posed    l0   truth." ,4ren't you assessing the credibility of
                          11     to me earlier. You asked me am I saying that --       ll   the parties with this opinion?
                          12     that Hit or -- excuse me -- Hines, H-I-T-Z --         12       A. Well, I think that's exactly
                          13         Q. Hitz.                                          13   contrary to what I said in the first line ofthat.
                          19         A. -- did not shoot Loury in defense of           14       Q. Despite of putting that clause in
                          15     his life? Well,I offer to you if he was doing         15   there, is this not a credibility assessment of
                          16     that, why didn't he just say it in the -- tl~e        16   whether they're telling the truth or not?
                          17     physical evidence belies what lie said -- how Ise     17       A. I'm linking as a last opinion in
                          18     says it occurred. So if you -- if you have a          18   this segment the -- what the consequences would
                          19     system them embraces what tl~e officer says without   19   be. It's easy to see what this consequence would
                          20     question, and in particular when the physical         20   be. And I'm -- I clearly wanted, and I did put in
                          21     evidence is so obvious, then you have a driving       21   there, that I'm not making a credibility
                          22     force for misconduct and the answer is yes.           22   statement, but there are consequences to this type
                          23         Q. And if Loury did point a gun at                23   of a system.
                          24     Of'ticer Hitz, none ofthis would apply, con•ect,      24       Q. So you're not assuming that the


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                          1      and if he was in fear of his life?                    1    officers a~•e lying?
                          2               MR. ODIM: Objection. Foundation,             2         A, l never assumed for the opinions the
                          3      improper hypothetical and argumentative.              3    officers are lying. That's up to the jury to
                          4      BY THE WITNESS:                                       4    determine as I have stated in the second paragraph
                          5          A. You know, the -- the IPRA report               5    of my -- die first page.
                          6      itself says the mere fact that if Lousy had a gun     6         Q. Going to your third main opinion.
                          7      and the mere tact of having a gun does not justif;~   7    Failure to discipline.
                          8      shooting him. It has to be more than that. There       e        A. I'd like to take a break.
                          9      has to be --                                           9        Q. How about we take a break here.
                         10      BY MR. GREEN:                                         10             THE VIDEOGRAPHER: We are going otf
                         11          Q. I said pointing a gun.                         11   the video record at 3:01 p.m. and this is the end
                         12          A. -- a set of facts.                             12   of video media tlu~ee.
                         13          Q. I said pointing a gun.                         13                 (Whereupon, a break was taken
                         19          A. Pardon me?                                     19                  after which the following
                         15          Q. 1 said pointing a gun at him.                  15                  proceedings were had.)
                         16          A. If he was pointing a gun in such a             16             THE VIDEOGRAPHER: We are back on
                         17      manner that it was objectively reasonable that        17   the video record at 3:08 p.m. and this is the
                         18      this was a threat of great bodily injury or death;    18   begimiing of media unit four.
                         19      as i said before, then Hitz could shoot him.          19   BY MR. GREEN:
                         20          Q. Just like it happened in your own              Z0        Q. Al] right. Mr. Clark, you
                         21      personal situation?                                   21   previously talked about the sanctity of life and
                         22               MR. ODIM: Objection. Toundation.             22   how it is to be used in that people are trained in
                         23      relevance and form.                                   23   it ~-vhen deciding when to discharge a firearm or
                         29                                                            24   not.. is that correct?


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                           1         A.    Yes.                                        1   rig}it way to say it. The failm•e to discipline
                           2              MR. ODIM: Object -- objection to             2   generates violations of policy clearly.
                           3     forn~.                                                3   y Q. So this, again,just assumes that
                           9     BY MR. GREEN:                                         4   there was an effective -- ineffective
                           5         Q. Where is this training for sanctity            5   investigations will create -- Strike that.
                           6     of life, in what curriculum is it?                    6        A. I thought we were talking about
                           7         A. Well, it's -- it's embedded in the             7   discipline here, not investigations.
                           8     California POST and most of die POSTS I've seen.      8        Q. Well, you cited it earlier in
                           9     Nevada comes to mind, Arizona, Utah, but I cannot     9   referring back to your previous opinions that
                          10     cite you a -- Texas -- the sections on the use of    10   somehow it's your -- in this -- this is assuming
                          11     lethal force by a police officer, but I can          11   that once there has been a violation that it's not
                          12     cite -- I cannot cite that to you in the Illinois    12   being disciplined, correct?
                          13     POST right now.                                      13        A. Right.
                          19         Q. And would that sanctity of life               14        Q. And what is the basis for that other
                          15     analysis also include the sanctity of life of a      15   than your general referral to the conclusions of
                          16     person who is a law enforcement officer wlio is      16   the DOJ report?
                          17     placed in tear of their own life?                    17            MR. ODIM: Objection. Foundation.
                          18         A. Of'course.                                    18   Misstates his testimony.
                          19         Q. So let's move onto the failw~e to             19   BY THE WITNESS:
                          20     discipline general opinion -- opinions 12 through    20        A. The conclusions for this report wme
                          21     17. Opinion 12 you state "The City of Chicago had    21   from the DOJ and not from the incident because I
                          22     a taped -- de facto policy or widespread custom or   22   don't know how much discipline had ever been
                          23     practice offailing to effectively discipline         23   applied to either officer.
                          24     police misconduct including in the use of            29


                                                                      Page 170                                                  Page 172

                            1    excessive force by discharging guns at fleeing        1   BY MR. GREEN:
                            2    civilians" and what is the factual basis for this     2       Q. And do you have any other exunples
                            3    opinion that it's a widespread custom or practice     3   of where police misconduct was not disciplined?
                            4    offailing to discipline or effectively                4       A. Other examples?
                            5    discipline?                                           5       Q. Individual examples.
                            6         A. Right. It's connected to the first            6       A. Well, the reports cite them and I
                            7    conduct on the impeding of the investigations of      7   agree with them. That's what -- why I put this
                            8    misconduct, the failure to investigate the            8   here.
                            9    misconduct and now this section is -- and these       9       Q. And the reports you're saying are
                         10      opinions 12 through 19 comment on the failure to     10   the ones you listed in your 48 things in tl~e -- 48
                         11      discipline and, as I said earlier, ifyou do          11   references in the beginning of your report?
                         12      not -- you know what a true discipline implies and   12       A. Right, plus my experience as a
                         13      what a -- the results of the failw•e to discipline   13   police administrator.
                         19      adequately a• correctly is tantamount to no          14       Q. And -- Uut for the Chicago Police
                         15      discipline whatsoever. So -- and I considered        15   Department the prior cases you've Veen involved
                         16      that the discipline that as cited in the DOJ, et     16   in?
                         17      al, and in this case was reflective of that.         17       A. Right.
                         18           Q. So --                                        18       Q. Now,again, the Lane case was 2009
                         19           A. Mostly the DOJ report is reflective          19   through 201 ~. Anything to change your opinion in
                         20      of the failure to discipline.                        20   this regard for the 2010 to 2016 period?
                         21           Q. So you're assuming that there were           21       A. No.
                         22      out-of-policy actions in regard to excessive force   22       Q. Okay. Opinion 13. "The low
                         23      that were not disciplined?                           23   percentage of complaints whidi result in a
                         '' 9         A. Well; na; not -- that's not the              24   sustained finding. the aUsence of'any meaningful


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                           1      disciplinary action, the fiequency in which           1   2010 to 2016?
                           2      discipline is lowered or reversed and the absence     2       n. 1 think i[ ~~~as someEhing like three
                           3      of any real consequence for wrongdoing caused the     3   or four percent.
                           9      defendant officers in this case to have every         9       Q. And what should the percentage rate
                           5      reason ro believe before they were involved in the    5   be fa• a sustained rate?
                           6      incident on April 1 lth, 2016, resulting in the       6       A. That's interesting because it would
                           7      death of Loury that they would never be               7   be --you'd have to factor in having the
                           8      effectively investigated or meaningfully              8   complaints, the flow of complaints on impaired.
                           9      disciplined for any misconduct towards Loury,"        9   Having said that, I -- my understanding is
                          10      what is the factual basis in your report for this    10   something around eight -- at least eight to ten
                          11      allegation or opinion?                               11   percent are typical in the nationally.
                          12          A. Well, the low number ofsustained is           12       Q. You're saying that that's a national
                          13      one ofthe items listed and we talked about that      13   standard, eight percent?
                          19      in terms of--                                        19       A. As I remember the literature in that
                          15          Q. And that's in the DOJ conclusion?             15   regard.
                          16          A. T~~enty-eight -- item 28. And then            16       Q. Now, does that include cities over
                          17      the DOJ and this is a well-known consequence of--    17   500,000?
                          18      offailure to discipline or sustain misconduct and    18       A. I don't think it includes -- there
                          19      this paragraph links those two things into could     19   is any dif~'erences in any kinds of complaints
                          20      this or would it be a factored influence, the        20   regardless ofthe size ofthe city, although there
                          21      shooting, and the answer is, yes, that's the way     21   is probably some, but Chicago is a large
                          22      it was intended to Ue written.                       22   department and I think eight percent would be low
                          23          Q. Now, other than the caiclusions in            23   in terms ofsustained.
                          24      the DOJ report that you cite and that other report   29       Q. What agency adheres to that standard


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                           1     that you mentioned on number 28, what other            1   of tlu•ee percent a•, I'm sorry, eight percent?
                           2     records did you review to reach such a conclusion?     2       A. I don't think that any agency sets a
                           3          A. Records?                                       3   bright lime at eight percent, but the issue as
                           4          Q. Yeah, any records.                             4   identified by the studies typically in particular
                           5               MR. ODIM: Well, objection to form            5   starting wide the Christopher Convnission, et
                           6     again.                                                 6   cetera, is that the officers generating the
                           7               MR. GREEN: All right.                        7   complaints have to be attended to, have to be paid
                           8     BY MR. GREEN:                                          8   attention to.
                           9          Q. What materials or records did you              9       Q. Going back to this standard you say
                          10     review other than the conclusions of the DOJ and      10   of eight percent, where is it published, where can
                          11     that one report?                                      11   I find it?
                          12               MR. ODIM: Again, objection. That            12        A. I can't remember where I read it. I
                          13     misstates his testimony.                              13   think it's in -- it's a DOJ study, but fom• out of
                          19     BY THE WITNESS:                                       19   a hundred is very low and I think Futterman
                          15          A. This opinion 13 comes from the items          15   comments on that in his study.
                          16     l listed in the report. T can go out of that, the     16       Q. Futterman or Fuddertnan?
                          17     confines ofthose I think 48 to say this is            17       A. Futterman.
                          18     well-known in the profession and there has been a     18       Q. So are you differentiating at all
                          19     lot written aUout it, Uut I can't -- I use this as    19   between the different systems across the county
                          20     a basis for this paragraph, those items listed in     20   in making that analysis?
                          21     the 48.                                               21       A. I'm not -- as you know, Idon't -- I
                          22     BY MR. GREEN:                                         22   don't cite a number here at aIL I'm talking
                          23          Q. What yeas the percentage rate of              23   about in paragraph 13 that there is a lo~~~
                          24     sustained during this relevant Morrell period of      24   clearance rate or tinding very low and there are a


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                           1      number of impairments even before you get to this     1   decisions in the Chicago Police Department?
                           2      point.                                                2        A. The chain ofcommand and I
                           3          Q. Sojust to say --                               3   understand -- it depends on the level of
                           9          A. Let me --                                      9   punishment. i'll use that term. We can go up to
                           5          Q. -- it's low is based on whet?                  5   the chief of police.
                           6          A. The numbers themselves as in the               6        Q. And do they consider recommendations
                           7      material I've listed.                                 7   made by the superintendent?
                           8          Q. Would you agree it's impossiUle to             8        A. Of course.
                           9      determine with a case by case analysis which          9        Q. And they consider the existence of
                          10      outcomes are acceptable in the way of a percentage   10   an Independent Police Review Authority in tUis
                          11      rate ofsustained cases?                              11   process, too?
                          12              MR. ODIM: Objection. Foundation              12        A. I hope so.
                          13      and objection to forn~.                              13        Q. You put this in the context ofthe
                          14      BY THE WITNESS:                                      19   officers in this case saying "Because ofthe low
                          15          A. I think pegging a number, specific            15   sustained rate and the reversal and the lowering
                          16      number, would require a specific study which I've    16   of it, that this caused them to believe they would
                          17      not seen. TI~aPs the best way I can answer it.       17   never be effectively investigated or meaningfully
                          18      Certainly four out of a hundred is very low.         18   disciplined for any misconduct towards Louiy,"
                          19      BY MR. GREEN:                                        19   what is the factual basis in your report for this
                          20          Q. Do you know what causes the                   20   causatio~~ element?
                          21      discipline to be lowered or reversed?                21        A. Well, we discussed that quite a bit
                          22              MR. ODIM: Objection. Foundation.             22   already in the deposition. The propensity of
                          23      Form.                                                23   persons in every profession without accountability
                          24                                                           24   to act with impunity and it's legendary.


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                           1     BY THE WITNESS:                                        1       Q. And so you can't really say what's
                           2         A. I don't know what you mean. i don't             2   in an officer's head, do you?
                           3     understand your question.                              3       A. Well, I don't attempt to do that
                           4     BY MR. GREEN:                                          9   other than another way of saying it is a jury
                           5         Q. Well, when you're referring in this             5   reviewing the facts would reasonably make this
                           6     "The frequency in which discipline is lowered or       6   conclusion. They would determine the facts, but 1
                           7     reversed," you're saying is not appropriate hire,      7   did not climb into either one of the officer's
                           8     what do you use to determine that?                     8   heads. I didn't by to.
                           9         A. That's a finding specifically out of            9       Q. So saying that it caused it would be
                          10     the DOJ report.                                       10   just speculation on your part?
                          11         Q. And --                                         11       A. No. There's, again, going back to
                          12         A. And that speaks to if the                      12   the intent of this report is the Morrell. This is
                          13     investigator understands going in that if I leave     13   the ocean that these two officers swim in and
                          14     enough room, there can be an appeal and reversal,     14   they're influenced by it, the currents, the tides,
                          15     they can overcome this and I've still on paper        15   everything that is going on, the turbulence and
                          16     done an investigation so that the claim of an         16   this is what i9n tying to say. I'm using this as
                          17     investigation can be done -- 1 mean, can be made.     17   a metaphor. I'm talking about the ocean, not the
                          18     That's what that refers to. And a competent           18   ot~icers in particular.
                          19     investigation nails down all the aspects of what      19       Q. In Lane, this was 2009 to 2015, the
                          20     occurred so that there is little or no room for an    20   timefi~ame for this opinion. For purposes of this
                          21     appeal should -- should that occur• and there would   21   case from 2010 to 2016, have you changed this
                          22     be a just tinding by the chain of command f'or        22   opinion in any way?
                          23     proper discipline.                                    23       A. No.
                          29         Q. And who makes the disciplinary                 29       Q. Okay. Opinion 14. "Fail~n•es in the


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                                                                      Page 181                                                     Page 183
                           1      process of disciplining otiicers ~vho engage in         1   given at the academy complies with the POST
                           2      misconduct are the result of the deliberate and         2   standard and the POST standard in Illinois is the
                           3      conscious actions of Chicago and its policymakers       3   national standard.
                           9      despite the clear consequences of allowing a            9        Q. Opinion 14 -- well, in Lane, for the
                           5      finding of police misconduct to be subject to the       5   opinion it was 2009 to 201 ~. Is there aE~ything in
                           6      fair, consistent and meaningful application of          6   this case from 2010 to 2016 that would change this
                           7      discipline in order that wrongdoers were not left       7   opinion 14?
                           8      with the belief that their bad behavior would           8        A. No.
                           9      effectively go unpunished," is this essentially a       9        Q. Okay. Opinion 15. "At the time of
                          10      redundant opinion from the prior two opinions?         10   this incident, tl~e City had failed to make any --
                          11           A. Yes.                                           11   or to take any meaningful steps to curb or
                          12          Q. And you have the same factual Uasis             12   otherwise correct these failures in the
                          13      for it as you testified to in the prior two            13   disciplinary process," what is tUe Uasis of your
                          19      opinions?                                              19   opinion that they have done nothing to correct or
                          15          A. Yes.                                            15   perceive failures in the disciplinary process?
                          16          Q. And what do you mean by the plvase              16        A. It said at the time of the incident,
                          17      "meaningful application of discipline"?              ~ 17   we can't forget that, and that's clearly
                          18          A. Well, we've talked about it fora                18   documented with the DOJ repot which was the
                          19      number of hours that there would be -- if the          19   beginning of2017. So that's their finding and
                          20      officers or any employee understands they're           20   it's Uased on all the other documents as well.
                          21      responsible for what they do, then it certainly --     21        Q. The Police Accountability Task Force
                          22      and I think it's very logical would influence what     22   Report was underway during --prior to this
                          23      they do if they're responsible for it. If they're      23   incident, was it not?
                          29      not responsible, if they can go out, and in            24        A. It was.


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                           1      particular an officer with a badge and a gun, and     1          Q. And so you do not consider that a
                           2      the opportunity to operate with no accountability,    2     stew in tying to improve the disciplinary
                           3      thaYs a very dangerous situation.                     3     process?
                           4                   The -- the statement I find it           4          A. Well, if it's -- if it was done with
                           5      in most POS7''s, I don't know if'it's in Illinois,    5     die intent to make the change, implement the
                           6      ot~icers are given tiro unique powers. This is the    6     changes, l would agree, but clearly the admission
                           7      police powers statement. They have to -- in           7     then is reflective of what was going on ~~~hen Lowy
                           8      Illinois, like all officers in the world -- in the    8     was shot.
                           9      country, have to be certified. The power of           9          Q. What do you consider a meaningful
                          10      arrest, the power to use lethal force. The           10     step?
                          11      authority does not come from an authoritarian        11          A. Oh, goodness. First, that there
                          12      dictator, but from the will and the consent of the   12     would be a -- acceptable and professionally solid
                          13      people who require them to use these powers with     13     investigative process for officer involved
                          14      the utmost care and resU•aint. That's the            14     shootings, that there would be the implementation
                          15      professional standard.                               15     of-- [his is not difficult by the way. I mean,
                          16                   Now, if there is no requirement         16     this iswell-established in the profession, drat
                          17      for the utmost care and restraint, then you fall     17     there would be a meaningti~l system put in place
                          18      into this dark area of police misconduct,            18     called EWS drat would monitor all misconduct --
                          19      unaccountability and the consequences.               19     all conduct and all uses of force and put in --
                          20          Q. As you stated earlier, the City of            20     and the system would notify supervisors and
                          21      Chicago policies and procedures are sufficiently     21     commanders and the chain of command of any --
                          22      reasonable Uased on Illinois POS7"s, correct?        22     of--flag any bumps in the road and identity
                          23          A. The training and certainly that's             23     individuals that need special attention, ~~~hich
                          29      one of the statements by Williams. The U•aining      29     would include retraining, discipline.


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                                                                      Page 185                                                  Paqe 187
                           1     reassignment, those things, the tixes.                1   other programs they have in regard to the type of
                           2           Q. Where --                                     2   conduct you just mentioned in the L- WS?
                           3           A. There would be a -- there ~~~ould be a       3       A. Only as it's reelected in the
                           9     vigorous system embedded in the department to hirn    9   repo~Ks that I cited in the -- and that's clearly
                           5     die ship into a better direction and that -- that     5   deficient as identified by the DOJ repot.
                           6     was part of my training in the Command College how    6       Q. So, again, you're relying just on
                           7     you move values, attitudes and beliefs. This is       7   the DOJ report conclusions and its backup for it'?
                           8     supposed to be -- and emUed the department with       8       A. Can we agree die DOJ,et al, the
                           9     those values that would be reflective of what is      9   other repa•ts that support it, there is nothing
                          10     going on in the department and then see the          10   contrary in the other reports that are found in
                          11     benefits to the commm~ity that would occur.          11   the DOJ report?
                          12          Q. Where have they been implemented,            12       Q. All right. And, again, the Lane was
                          13     this EWS?                                            13   2009 to 2015. Anything to change your opinion for
                          14          A. Pardon me?                                   19   2010 to 2016 in regard to opinion ]5?
                          15          Q. The procedures, EWS, where else have         15       A. No.
                          16     they been implemented? What other departments?       16       Q. Okay. Opinion 16. °Tl~e failure of
                          17          A. Oh, you can buy them off the shelf           17   Chicago to maintain an effective disciplinary
                          18     You can buy these systems off the shelfnow           18   system which prevented police misconduct and
                          19     they're so common and the literature is              19   protected against a culture that gives officers
                          20     voluminous, but -- and there are some departments    20   the belief that their bad behavior would
                          21     that have certain levels of-- that when,say,         21   effectively go unpunished amounted to a de facto
                          22     I71 use an example a taser, when a taser is used     22   policy of failing to supervise officers, including
                          23     tUat it goes into tUe EWS on that officer and if     23   the proper use offorce when confronted ~~~ith the
                          24     it is reflective to an overuse ofthe trier that      24   decision to discharge a firearm against a


                                                                      Page 186                                                  Page 188
                           1      that automatically comes out of the system and       1   civilian."
                           2      goes to the supervisor.                              2                Again, is this redundant
                           3          Q. Well, you're familiar with --                 3   essentially of the last three opinions in regard
                           4          A. And that the yearly fitness reports           4   to failure to discipline?
                           5      al~~ays has the results of the ~WS and that there    5        A. I would agree and it's also my
                           6      is a yearly fitness report and the yearly fitness    6   commentary such as it was just a minute ago also
                           7      report comments on die various aspects of the        7   reflects on this opinion.
                           e      profession that are expected. Okay. I'll wait        8       Q. Is there any distinctions in this
                           9      for the question.                                    9   particular opinion as opposed to the other three,
                          10          Q. Are you familiar with TPRA's review          10   the last three?
                          11      of other conduct of officers and their              11       A. The distinction is this is specific
                          12      disciplinary review?                                12   to the failure to maintain the system; the
                          13          A. Not -- the only ]PRA report I read           13   effective system. It probably could be ~~ritten iii
                          19      regarding this case cited is the shooting. Are      19   the same paragraph of 15.
                          15      you talking about another IPRA report?              15       Q. Again, Lane was 2009 to 2015, this
                          16          Q. So you're not familiar with what             16   one is 201 1 (sic) to 2016. Anything to change
                          17      iPRA does in revie~a~ing people's past conduct or   17   yow• opinion ]6 between the two time periods?
                          18      officer's past conduct?                             18       A. No.
                          19          A. I'm -- I'm aware that TPRA does              19       Q. Opinion 17. "These de facto
                          20      reviews, but I don't consider it -- I consider it   20   policies of a failure to discipline and supervise
                          21      part of the problem, not part of the solution.      21   were the moving force behind each of Louiy's
                          22          Q. Are you familiar with the Chicago            22   death -- or Loury's death." Pardon me.
                          23      Police Department's performance evaluations or      23               What's the factual basis 1'or
                          29      non-disciplinary intervention ~~rograms or any      24   this conclusion that this was the moving force


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                           1     behind his death?                                     1        Q. In doing their statistical analysis.
                           2         n. Nothing. other than what 1've said             2        A. You mean variables in lams of7
                           3     and I would agree that it is -- it should be -- it    3        Q. Of how it was done.
                           4     could be written better in terms of it appears to     9        A. T slit} don't know ~~hat ~~ou mean
                           5     be one of the moving forces, not the total moving     5   other than this was -- their ethnic status, are we
                           6     force.                                                6   talking about --
                           7         Q. And, again, this is all contingent             7        Q. So you're not --you're not familiar•
                           8     on the use of force in this particular case Uy        8   with what their methodology was in how they came
                           9     Officer Hitz actually being excessive in nature?      9   up with their statistics?
                          l0              MR. ODIM: Objection. Misstates his          10        A. How they sorted it out in order to
                          11     testimony and forn~.                                 11   justify or to explain the ditferences other dean
                          12     BY THE WITNESS:                                      12   by race, no, I'm not. Only that it does exist and
                          13         A. So --                                         13   that if you crunch the numbers by race it clearly
                          14     BY MR. GREEN:                                        19   leans into the African-American population and
                          15         Q. Being a constitutional violation.             15   it's wrong.
                          16         A. Whether or not Louiy was                      16        Q. And you don't know what safeguards
                          17     unconstitutionally shot to death, I would agree,     17   they used in then• analyses to make sure it was
                          18     but the report is based on the circumstances of      18   accurate?
                          19     the department.                                      19        A. Safeguard? You mean --
                          20         Q. Again, 2009 to 2015 was the Lane              20            MR. ODIM: Objection to fo~7n.
                          21     period. For the purposes of opinion 17, is there     21   BY THE WITNESS:
                          22     any changes for opinion 17 in -- for this time       22        A. Looking at how they register their
                          23     period 2010 to 2016?                                 23   race or I don't understand when you say --
                          29         A. No.                                           24


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                           1          Q. Okay. Opinion 18. "Chicago had a              1   BY MR. GREEN:
                           2     de facto policy or widespread custom of sustaining    2        Q. In essence -- in essence, you just
                           3     and disciplining officers less often for              3   don't know the methodology used by the
                           9     misconduct against African-American civilians."       9   Department --
                           5     Now, what is the factual basis in your repoi1 for     5        A. Nn.
                           6     this claim?                                           6        Q. -- of Justice or any of the other
                           7          A. That's in the DOJ report as well as           7   reports?
                           8     there are other reports as well regarding the         8        A. No, but nationally there are far
                           9     racial bias that occurs.                              9   more -- in proportion to the population, there are
                          10          Q. And what are the actual statistics           10   far more Ati•ican-Americans in terms of percentage
                          11     for your opinion on this?                            11   in jail and young men who get an•ested and what
                          12          A. I can't cite them as I sit here              12   that means to the rest of their lives and the
                          13     other -- without going into the repoirt, but there   13   charges placed against them. I did a study one
                          14     is a clear disproportionate number vis-a-vi          14   time for -- in Valencia on the number of resisting
                          15     African-Americans and use offorce and arrests, et    1S   arrests against black youngsters vis-a-vi white
                          16     cetera.                                              16   youngsters. It's Huge. it's the propensity --
                          17          Q. And what did you review to reach             17   the issue is die propensity of the department to
                          18     this conclusion other than the DOJ's report's        18   lean heavily and, therefore, have a p~emendous
                          19     general conclusions and the other materials cited?   19   impact on the lives ofAfrican-Americans versus
                          20          A. Nothing else.                                20   people of other races.
                          21          Q. And are you aware of any variables           21        Q. So what are the reports or analyses
                          22     that were taken into account in their analyses?      22   that you personally did in Chicago?
                          23          A. Such as? 1 don't know ~~~hat you             23        A. None.
                          29     mean.                                                24        Q. Now, again. Lane ~~-as 2009 to 2015.


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                           1     Por opinion 18. do you have anything that would        1        Q. All right. In the -- talking about
                           2     change phis opinion tier the 2010 ~0 2016 time         2    the timing for opinion 1), in Lane 2009 to, excuse
                           3     period in this Hudson case?                            3    me,2015, is there anything to change your opinion
                           9          A.    Na                                          9    in 19 for this time period 2010 to 201 G?
                          5          Q. Opinion 19. "The City of Chicago                 5       A. No.
                          6      failed to take any steps to curb this                   6       Q. Okay. Going on to your fourth,
                          7      disproportionality," what basis do you have for         7   failure to train general opinion, opinions 20 to
                          8      this opinion?                                           8   23A.
                          9          A. The statistics themselves and the                9                Opinion 20. "Chicago had a de
                         10      facts as stated in the studies themselves and that     10   facto policy or widespread custom or practice of
                         11      there has been no change.                              11   failing to train officers in the proper use of
                         12          Q. What about the disciplinary system              12   force generally and with respect to the discharge
                         13      that creates the disproportionality, what is it        13   offirea~7ns against civilians and fleeing suspects
                         19      that you state that causes this                        19   in particular, and in failing to train officers in
                         15      dispropo~tionality?                                    15   the proper use of intervention in another
                         16               MR. ODIM: Objection. Fonn.                    16   officer's use offorce generally and with respect
                         17      BY THE WITNESS:                                        17   to die discharge offirearms against civilians and
                         18          A. Can you read the question? I want               18   fleeing suspects in particular," what are the
                         19      to answer this correctly. Can you read that back?      19   factual bases for this claim offailure to train?
                         20      BY MR. GREEN:                                          20       A. Well, first of all, there is gross
                         21          Q. You're saying they failed to take               21   failures in what the two officers did in their --
                         22      any steps to curb the disproportionality that          22   vis-a-vi their training which was don't separate
                         23      because you say there is a widespread custom of        23   from your partner, don't flee solo, don't --stay
                         29      sustaining and disciplining officers less often        24   in cover, stay in communication, don't put


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                           1     for misconduct against African-American civilians.      1   yourself deliberately in the way of harm's way
                           2     So what is it in the disciplinary system itself         2   where you -- when there is an obvious, reasonable
                           3     that creates the disproportionality?                    3   alternative, all those things, and that this also
                           9         A. Okay. The DOJ --let me make --                   4   is a very signiticant part ofthe DOJ report, et
                           5     stmt with this. The DOJ report 1 think ugly             5   al.
                           6     correctly and ~+ith great clarity identifies the        6       Q.    Did you review the training
                           7     systematic problem in the Chicago Police                7   materials for these h~~o officers?
                           8     Department regarding their racial bias, in              8       A. No, I did not see their U•aining
                           9     particular African-American individuals. And that       9   docmnents as 1 recall.
                          10     this is a Morrell issue as I can identify it as a      10      Q. So what did you review to reach ibis
                          11      Morrell issue, but also the -- the impact ofthe       11   conclusion? Was it what you stated, the DOJ
                          12      police services and the quality of life in the        12   report?
                          13     city including their safety, the -- their              13       A. The DOJ report and the fact [hat
                          14     perception of a confidence in the police               19   they are POST certified police officers in the
                          15     department, their reliability on the police            15   State of Illinois.
                          16     themselves for their own protection and their          16       Q.    So you're going on your general
                          17     safety are all reflective ofthe --this tact of         17   knowledge ofthe POST requirements for the State
                          18     disproportionate bias.                                 18   of Illinois?
                          19         Q. All right.                                      19       A.    Yes, and the od~er things I
                          20         A.   And, in conclusion, should have Veen          20   mentioned.
                          21     addressed long ago, needs to be addressed now and      21      Q. Meaning the DOJ report?
                          22     was not addressed during the time of -- the timing     22       A.    Right. The DOJ clearly sees this --
                          23     that we're talking about and 1 consider it to be       23       Q.     So you don't have an.' actual
                          29      part ofthe MonelL                                     29   statistics for this claim, this is just your --



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                                                                         Page 197                                                   Page 199
                           1        what you just stated your basis ~~~s?                  1   tleeing suspects in particullr."
                           2             A. NoUiing in my report is based on               2               Is this essentially a rediuidant
                           3        statistics.                                            3   opinion as to opinion 20?
                           9             Q. You can't say whether the training             4       A. Yes. except that opinion 20 is the
                           5        materials ofthese paiKicutar officers lddressed        5   training and 21 is the affirmative steps, the
                           6        this issue or not, can you?                            6   continuing reenforcement.
                           7             A. Holy cow. Of course, I can. This               7       Q. And what is the factual basis to say
                           8        is -- this is 1 Ql. This is Police Tactics 101 and     8   that the City was not taking affirmative steps to
                           9        anybody who does tUis gets pulled off tl~e line and    9   ameliorate any perceived custom or practice in
                          10        when I was doing the training in -- as -- in the      10   this regard?
                          11        patrol school I saw somebody that had that kind of    11       A. Because there is no evidence that it
                          12        propensity they went back to the jail. They were      12   was ever done, there was no commentary about it
                          13        not allowed on the street. Not certified for          13   and it is not in any of the reports including the
                          14        patrol.                                               19   DOJ report.
                          15             Q. But you personally can't say whether          15       Q. And what about have you reviewed any
                          16        the City of Chicago actually did train these          16   training materials that were in process of being
                          17        officers in the way they were supposed to act on      17   renovated or -- or redone in the City of Chicago
                          18        the street there?                                     18   during this period?
                          19             A. Let me say with confidence they were          19            MR. ODIM: Object to form.
                          20        trained and this was one ofthe issues clearly in      20   BY THE WITNESS:
                          21        the -- in the DOJ repo~~t because they were --        21       A. Only the recommendations by the DOJ
                          22        they -- and, by the way, Williams, they tossed        22   and the City Cotnmission.
                          23        that training into the toilet and -- when they lit    23   BY MR.GREEN:
                          29        the streets because ofthe customs and practices       29       Q. So you reviewed no other materials?


                                                                         Page 198                                                   Page 20~

                            1      ofthe department.                                       1       A. Correct.
                            2          Q. When you say they, you mean the                  2       Q. So you can't say whether this issue
                            3      individual officers?                                    3   was addressed or not beyond ~~hat you saw in those
                                       A. And that the officers on the line as             9   reports?
                             5     a whole do that because it is the custom and            5       A. Not beyond the timefi•ame as listed
                             6     practice of the Chicago Police Department to            6   in my report.
                             7     ignore it and not to -- not to reenf'orce it.           7       Q. All right Again, Lane ~~~as 2009 to
                             8         Q. And the Lane case was 2009 to 2015.              8   2015. Do you have any changes to this opinion 21
                             9     For this opinion 20, do you have the same opinion       9   in regard to this case, the Hudson case, li•om 2010
                          10      or no changes to it for the purpose of this case        10   to 2016?
                          11       tiom 2010 to 2016?                                     11       A. No.
                          12           A. No -- no changes.                               12       Q. Opinion 22. "The failure of Chicago
                          13     \          MR. ODIM: I just want to inse~K the           13   to maintain an effective U~aining system which
                          19       reiteration of the --                                  19   prevented police misconduct and protected against
                          15                MR. GREEN: You can have a standing            15   the culture that gives officers the belief that
                          16      objection.                                              16   their bad behavior would effectively go unpunished
                          17                MR. ODIM: -- those objections to              17   amounted to a de Yacto policy of'tailing to d•ain
                          18       make sure. Okay.                                       18   officers including in the proper use offorce when
                          19      BY MR. GREEN:                                           19   confronted with the decision to discharge a
                          20           Q. Opinion 21. "Chicago tailed to take             20   firearni against a civilian." Again, is this
                          ?_ 1     affirmative steps to ameliorate this custom or         21   essentially the same opinion as cited in 20 and
                          22       practice of failing ro train its officers in the       22   21?
                             3     proper use ot~ force generally with respect to the     23       A. Yes.
                          29       discharge of firearms against civilians and            29       Q. And you have the same basis for this


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                                                                      Page 201                                                 Page 20:?

                           1     opinion?                                              1   find him. 1'll find out who he is when we take
                           2         A. Yes.                                           2   ~liat driver and give him a little bit oi'a
                           3         Q. And you ~~eviewed the same materials           3   squeeze. So that's the conditioned response,
                           9     or didn't review the same material as you             9   muscle memory, and that's what T'm talking about
                           5     mentioned in 20 and 21?                               5   here.
                           6         A. Con~ect.                                       6        Q. And in addition to that, you're
                           7         Q. Are you aware of any improvements or           7   basically basing the same review of materials for
                           8     changes implemented in the five years prior to the    8   this opinion 23A as the previous three opinions?
                           9     year 2016?                                            9        A. Yes.
                          10         A. Prior to or since?                            10        Q. And in what way was anyone involved
                          11         Q. Prior to the shooting of2016.                 11   in this specific case not sut~iciently [rained in
                          12         A. No,nothing prior to that.                     12   use offorce, Officer Hitz, Riordan?
                          13         Q. Are you aware ofsome after 2016?              13        A. Riordan and Hitz both demonstrate
                          14         A. No,I've not been made aware of, but           19   improper training. Because even though they were
                          15     I'm hopeful there have been or will be.              15   taught -- I'm very confident they were taught how
                          16         Q. Again, for opinion 22, Lane was 2009          16   to do this. They both abandoned that reality and
                          17     to 2015, do you have any change in tUis opinion 22   17   went Headlong into the utmost ofstupidity. I
                          18     for the purposes of this case for the time period    18   don't know how else to say it.
                          19     2010 to 2016?                                        19        Q. So --
                          20         A. No.                                           20        A. Riordan leaves his radio car behind.
                          21         Q. Okay. Opinion 23A as we had talked            21   I mean, what a dilemma. He hears shots fired. I
                          22     about earlier. "City of Chicago and CPD's failure    22   understand he wants to get to his partner, but
                          23     to train officers in the proper use offorce with     23   it's a mess.
                          24     respect to the discharge offirearms against          24        Q, In -- Lane was 2009 to 2010 -- I'm


                                                                      Page 202                                                 Page 204

                           1     civilians and fleeing suspects in particular was      1   sorry -- 2015. In your opinion 23A,is it the
                           2     the moving force behind Lou~y's death."               2   same, any changes in this opinion for this case
                           3                  Now, what factual basis do you           3   from 2010 to 2016?
                           4     have in this report that this was -- the failure      9       A. No.
                           5     to train was actually the moving force behind         5       Q. Now,going to your final code of
                           6     Lowy's death?                                         6   silence opinion, opinions 23B, as we said, to 28.
                           7         A. The training what 1 hid in mind when           7   Chicago -- 23B. "Chicago had a de facto policy or
                           8     that was written far the cases was we have a          8   widespread custom or practice of ignoring, denying
                           9     p~•ocess in the training iCs called muscle memory     9   or covering up the bad actions of a colleague or
                          10     or conditioned response, which is designed to        10   colleagues, or, in other words, a code of
                          11     eliminate the instinctive response ot~icers or       11   silence," what basics do you have in this repoirt
                          12     humans have that get in the way of the proper        12   for this claim?
                          13     tactic. An example is you have an officer intent     13       A. They come from three sources; the
                          19     on making an apprehension that jumps out of the      19   report itself, the incident here and my -- my o~~n
                          15     car and runs headlong into chase after a suspect     15   personal experience as an administrator, law
                          16     leaving his partner behind, not knowing what kind    16   enforcement officer.
                          17     of problems his pairtner is facing or his partner    17       Q. And drat was in Los Angeles County?
                          18     faces, too, et cetera.                               18       A. Right.
                          19                  That is so~K of an instinctive          19       Q. Other than Los Angeles County and
                          20     from a young officer wanting to make the arrest,     20   the reports ~rou read here, was there any other
                          21     go after the guy, but the conditioned response       21   basis?
                          22     trained is I'm not going to do that, I've got a      22       A. No, I'm talking about all the 48
                          23     guy in the car, he is there, 1've eot to stay with   23   items. That's my answer.
                          24     my partner; I'm going to let this guy go. 1'll       29       Q. And ~~-here in die shootings between



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                                                                      Page 205                                                   Page 207
                           1      2009 and the period -- well, sorry -- Strike that.    1   further, no~~~ that is a classic code ofsilence
                                               Is your perceived code of                2   example.
                           3      silence unique to the Chicago Police Department?      3       Q. This is the person from the
                           4                MR. ODiM: Objection. Form.                  9   Independent Police Review Authority, not an acting
                           5      BY THE WI1"NESS:                                      5   officer, con•ect?
                           6           A. No.                                           6       A. No,I'm talking about the first two
                           7      BY MR. GREEN:                                         7   detectives that come out and then there is a
                           8           Q. So other dzpartments you perceived            8   lwo-how'gap as you know I talk about it and then
                           9      as you   define the code of silence today have the    9   they wind up going into the station, getting
                          10      same issues?                                         10   interviewed, no recording,just --
                          11           A. Yes, they -- it is an issue in the           11       Q. Are you aware ofthe frequency of
                          12      profession, not only just in the police              12   shootings in that area at that time?
                          13      profession, but we're talking about police. It's     13       A. I don't know exactly how many, but
                          14      an issue everywhere and it leas to be attended to    19   the -- Chicago gets a lot ofshootings, but --
                          15      constantly by the line -- by the chain of command.   15   okay. I'll wait for the next question. So that's
                          16           Q. In fact, as you stated, it's common          16   an example. That's what I'm talking about here.
                          17      to some extent in all professions, correct?          17       Q. Do you identify each instance of
                          18           A. Yes. Even the lawyers, I think.              18   deliberate indifference that you cite here in
                          19           Q. And even expert witnesses perhaps?           19   failure to ameliorate other than whaPs --you
                          20           A. Correct.                                     20   cited in these reports?
                          21           Q. So in the Lane case from -- you              21       A. Well, clearly, the DOJ says you guys
                          22      know, covered opinion 23 from 2009 to 2015, ~~as     22   are not -- when I say you guys, the Chicago Police
                          23      there anything to change your opinion in this case   23   Department, I'm getting a little tired, sorry, I
                          24      for tl~e time period 2010 to 2016 for this           24   don't want to talk a little bit l~iglier level. The


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                           1     particular case?                                       1   Chicago Police Department is doing -- is not
                           :?         A. No.                                            2   acknowledging the problem of the code ofsilence
                           3          Q. Opinion 24. "The failw~e to                    3   to the degree that it will prevent it from
                           4     ameliorate the code of silence despite being           9   occurring wherever possible, see it f'or what it is
                           5     placed on notice and acknowledging its existence       5   when it occurs and that's -- certainly is
                           6     is the result ofthe deliberlte and conscious           6   demonstrated in the incident.
                           7     actions of Chicago and its policymakers."              7       Q. And what would you say the City
                           8                  What factual basis do you have            8   should Dave done differently over the years?
                           9     in this report for this claim that there was           9            MR. ODIM: Objection. Poundacion.
                          10     deliberate and conscious actions of the Chicago --    10   Objection. Lnproper Hypothetical.
                          11     Chicago and its policymakers not to ameliorate        11   BY THE WITNESS:
                          12     this perceived code of'silence?                       12       A. I've given a lot of thought to that
                          13          A. They come from two sources as I               13   kind of question and I know I said it repeatedly
                          14     understand your question. One is the ~•epo~rts.       19   values, attitudes and beliefs. First and
                          15     You keep referring back to them. The other is --      15   foremost, die line has to embrace the importance
                          16         Q. That's the one you cited in your --            16   of embracing the Uvth of wherever it is and
                          17         A. Right.                                         17   whatever occurs and as painful as it may be in
                          18         Q. -- repo~K'?                                    18   tei7ns of what it does to the brother officer
                          19         A. Right. But the -- and I'tn going to            19   misconduct has to be addressed, has to Ue tended
                          20     use this as an example. The investigator,             20   to and reported because in the end it's not only
                          21     including iPRA later on, the Chicago Police           21   reflective of the officer's safeq~, but the safety
                          22     accident investigator comes to the scene within       22   of those around that officer and die conununity and
                          23     very short order of the shooting, takes a look,       23   that if the attitude oPthe line, ~~+hich is
                           9     sees the bullet hole, ignores it; does nothing        24   fostered and fed as a desire of the entire


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                           1      organization, that the police serve the community     1        A. No.
                           2      to make them safe and protect them li~om the bad      2        Q. ngain, in opinion 25. Lane was 1i•om
                           3      and the evil, I'll use that term, then it fits        3   2009 to 2015, are there any changes in this
                           9      with eliminating to the best extent possible the      9   opinion 25 for the ~m•poses of this case 2010 to
                           5      code ofsilence.                                       5   201(?
                           6      BY MR. GREEN:                                         6        A. No.
                           7           Q. Again, opinion 24, for Lane it was            7        Q. Okay. Opinion 26. "Chicago's
                           8      2004 to 2015. Is your opinion 24 not changed for      8   deliberate and conscious choice to nw~ture a code
                           9      tl~e purposes ofthis period oftime 2010 to 2016?      9   of silence and their failw•e to ameliorate it was
                          10           A. No.                                          10   the moving force behind the death of Louty."
                          11           Q. Okay. Opinion 25. "Chicago created           11               Again, what are the factual
                          12      an environment that mirtured a code ofsilence and    12   bases to say that the code of silence caused the
                          13      that made defendant officers believe they had        13   death of Loury?
                          19      license to operate with impunity without fear of     14        A. This particular sentence falls in
                          15      punishment."                                         15   the category of the other one I wanted to correct
                          16                   What is the factual basis for           16   that I'm not saying this is the singular issue,
                          17      this claim in regard to Officer Hitz and Officer     17   it's cumulative and I think, better said, the jury
                          18      Riordan?                                             18   considering the facts of this case would -- would
                          19           A. The sequence ofthese five                    19   reasonably conclude -- a jury or police
                          20      overarching issues and the 29 specific opinions      20   administrator would reasonably conclude than
                          21      are -- have a beginning and an end. The code of      21   continue on with that statement.
                          22      silence is the end. And so it's the case ofthe       22        Q. So you're saying the code of silence
                          23      code ofsilence builds in tl~e very beginning on      23   wasn't the moving force in and of itself behind
                          29      the department's failure to discipline, et cetera.   29   the death of Louty?


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                           1      All of that cumulative opinion rests on these last    1        A. Correct.
                           2      opinions on the code of silence. They create the      2        Q. And which, if any, of the officers
                           3      soup for the code of silence to operate.              3   were im~olved in past conduct where the code of
                           4          Q. Now, you said earlier you're aware             4   silence was present?
                           5      of Rule 14, you reviewed that?                        5        A. I'm not aware of any other than iu
                           6          A. That's why I put specific to Rule              6   this environment, then an officer can say things
                           7      14.                                                   7   that the physical evidence belies. Here is the
                           8          Q. Are you aware ofthe sustained                  8   thing about physical evidence. Physical evidence
                           9      amount of Rule 14's in the City of Chicago?           9   is neuh•al. It takes no side. Physical evidence
                          10          A. You know, I don't remember if it was          10   doesn't lose its memory and physical evidence
                          11      even addressed in the material given to me, but --   11   tells the truth.
                          12          Q. How about --                                  12       Q. Again, Lane v,~as from 2009 to 2015.
                          13          A. The answer is, no, 1 don't know.              13   For purposes of opinion 26, have you made any
                          19          Q. And Rule's 21 to 22 regarding                 19   changes to this opinion 26 in this case for 2010
                          15      criminal conduct or observance of misconduct?        15   to 2016?
                          16          A. I'm aware that there are rules                16        A. No.
                          17      regarding that.                                      17       Q. Opinion 27. "In this case, the
                          18          Q. And spars, summary punislunent for            18   inadequate CPD and IPRA investigations, the lack
                          19      violations of administrative activities?             19   of a finding of misconduct including for false and
                          20          A. The issue is how is it enforced and           20   misleading statements and the failure of defendant
                          21      when is it enforced?                                 21   officers to intervene and report die misconduct of
                          22          Q. And how about resignations under              22   others and the failure to discipline the officers
                          23      investigation, aee you aware of any of dose          23   involved are hallmarks of a code of silence."
                          24      statistics?                                          24                What is the basis in this report


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                           1      to say it's a hallmark of a code of silence?          1   what I'm commenting on. 1 don't consider -- I
                           2           A. Well, a hallmark is the identifier.           2   do~a't hold the Ci(~~ as -- as expected to be
                           3      That's why I used the word, not in this but[he        3   perfect "that's -- that's not part of the human
                           4      other, and without it I think the true facts of       9   condition, but certainly anybody drat has reviewed
                           5      this shooting would have come to the surface.         5   Chicago and its problems, including its death rate
                           6          Q. And could you state which action               6   by gunfire, would have to say something is
                           7      evidences code ofsilence in this particular case?     7   seriously going on here.
                           8          A. Do you want me to give you some                8        Q. All right. The Lane case ~~as from
                           9      particulars because I've given a number of them?      9   2009[0 2015, the same opinion 28, do you lave auy
                          10          Q. Other than what you've aL•eady                10   changes in regard [o tUis case of 2010 to 2016
                          11      testified to.                                        11   time period?
                          12          A. Well, I'm content. I would                    12        A. No.
                          13      reference Scott's report I think is very excellent   13        Q. Would you agree that all 29 opinions
                          14      in terming -- in documenting time, trajectory, et    19   are based upon your belief that an underlying
                          15      cetera.                                              15   constitutional violation occurred here?
                          16          Q. All right. Lane was from 2009 to              16        A. Well, that's the purpose of tl~e
                          17      2015. For opinion 27, tl~e same thing, 27 -- for     17   report that the Monell condition is a
                          18      the purposes ofthis timefi•ame 2010 to 2016, is      18   constitutional violation. Yes.
                          19      there anything that would change your opinion for    19        Q. So you're saying that the underlying
                          20      this case?                                           20   constitutional violation of the shooting ofPierre
                          21          A. No.                                           21   Louiy is what this Novell is based on?
                          22          Q. Finally, opinion 28. "Any                     22            MR. ODIM: Objection. That
                          23      reasonable officer in the CPD during 2010 to 2016    23   misstates his evidence.
                          24      would have Veen aware ofthe systemic flaws in        24


                                                                      Page 214                                                   Page 216

                           1     Chicago's investigative process in the                 1   BY THE WITNESS:
                           2     disciplinary -- discipline system. Those               2       A. No, that's not what I'm saying. I'm
                           3     officers, who like the defendants, chose to engage     3   saying that what I took your question is the
                           4     in misconduct did so with the reasonable belief        9   underlying Monell -- I think I might have to have
                           5     that their actia~s would no[ suUject them to any       5   the question read to me.
                           6     thorough and meaningful investigation and ~nrould      6               The underlying existence ofthe
                           7     not be subject to meaningful application of            7   Morrell is the -- the existence of the Morrell is
                           8     discipline so that their bad behavior would            8   the underlying violation of the Constitution.
                           9     effectively go unpunished."                            9   That's what I'm saying.
                          10                  is [his a redundant opinion              10   BY MR. GREEN:
                          11     basically ofthe prior three or four opinions          11       Q. So essentially the conduct --
                          12     under code of'silence?                                12   perceived conduct of the City in and of itself
                          13         A. Yes.                                           13   separate from what actually occm•red that night
                          14         Q. And what is the basis in your                  14   regarding Pierre Loury is the constitutional
                          15     opinion for a systemic t7aw regarding the code of     15   violation that you're talking about?
                          16     silence?                                              16            MR. ODIM: Objection to form.
                          17         A. Okay. So systemic meaning pervasive            17   Misstates his evidence.
                          18     throughout the organization and without that you      18   BY THE WITNESS:
                          19     don't have this condition of-- tlu-oughout the        19       A. I think I said it precisely,
                          20     agency officers operating ~~ith impunity and thaPs    20   correctly, what I was intending, that the
                          21     what I see in this particular case.                   21   Morrell -- the existing Morrell as reflected in
                          22         Q. Is the City required to have a                 22   my -- as i have documented in my report, stated in
                          23     perfect system in this regard?                        23   my report, better said, stated in my report based
                          29         A. No. it's not and that's not at all             24   on the items thlt f listed and is -- and the


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                                                                       Page 217                                                   Page 219
                           1      incident, the underlying incident which brings us      1             THE VIDEOGRAPHER: We are back nn
                           2      to that Morrell conunentaiy, is the -- let me back     2   the video record at 4:22 p.m. This is the
                           3      up.                                                    3   begi~tning of video media five. Go ahead.
                           9                   And the Morrell is the                    9             MR. GREEN: This is Jonathan Green.
                           5      constitutional violation that I sought to address      5   I have no further questions. The attorney for the
                           6      and testify to here at this deposition, the            6   individual defendants --
                           7      Morrell. Of course, if thejury finds the facts of      7       CROSS            EX A MIN A TI ON
                           8      the shooting are unconstitutional, that adds to        8               BY MR. BARNETT
                           9      the opinion.                                           9       Q. Sir, this is -- my name is Shawn
                          10          Q. But if they find it was                        10   Barnett and i represent Defendant Sean Hitz and
                          11      constitutional and this, in fact, was a justified ~   11   Jeffery Riordan in this case and I Dave just a
                          12      shooting, then your opinions on Morrell are           12   couple of questions.
                          13      irrelevant, correct?                                  13                Now, you are not offering auy
                          14               MR. MOWATT: Objection. Objection.            14   opinions regarding whether or not the shooting
                          15      Foundation. Objection. Improper hypothetical          15   itself wasjustified or unjustified, correct?
                          16      BY THE WITNESS:                                       16       A. Correct.
                          17          A. So, thank you for that and the                 17       Q. And on tl~e second or third paragraph
                          18      answer is no. As I said previously for a number       18   ofyour repo~~t, you wrote that you are not going
                          19      of hours, regardless of how this shooting actually    19   to opine on the credibility ofthe witnesses
                          20      did occur is not -- does not hinge on whether the     20   involved in the shooting incident itself, correct?
                          21      Morrell exists or not. The Morrell exists.            21       A. Correct.
                          22      BY MR. GREEN:                                         22       Q. But you do say that the opinions you
                          23          Q. I'm saying the constitutional                  23   offer are premised on the truthfulness ofthe
                          24      violation that's being alleged under the Morrell      29   plaintiff's allegations and why do you do that?


                                                                       Page 218                                                   Page 220
                           1      rubric.                                                1        A. Because there has to be a starting
                           2          A. Well, ifyou put it that way, the                2   point and so l -- there are allegations in the
                           3      shooting death of Loury is a constitutional            3   complaint offered and I considered those. That's
                           4      violation, but I never considered my repot as          4   why I put that sentence in there.
                           5      hinging solely on Louiy's -- the circumstances of      5        Q. So your report is based on the
                           6      how Loury was shot to death.                           6   premise that the plaintiffs allegations are true'?
                           7          Q. So it's more commentary on general              7        A. Well, the plaintiffs allegations
                           8      activities in Chicago?                                 8   regarding the Morrell are true. I'm taking -- they
                           9               MR. ODIM: Objection. Foundation.              9   have alleged that. They -- they have alleged that
                          10      That misstates his evidence.                          10   the shooting did not occur as proffered by the
                          11      BY THE WITNESS:                                       11   defendant officers certainly.
                          12          A. No, I hope in 29 separate attempts             12        Q. And you're taking that as true as
                          13      for me to be precise in -- first, as I said the       13   well?
                          19      ocean, which is the Chicago Police Department, and    19        A. No,I'm taking it in consideration
                          15      the two officers that swim in that ocean, and what    15   not as h~ae -- it needs to be said this way. I'm
                          16      they did because of that is the best way I can say    16   not taking it as completely t~ve. I'm taking
                          17      it.                                                   17   it -- I'm accepting that -- I'm accepting it for
                          18               MR. GREEN: LeCs take a break.                18   certain purposes as true and as supported by chi
                          19               THE VIDEOGRAPHER: VVe are going off          19   physical evidence. That's the best way to say it.
                          20      the video record at 4:12 p.m. and this is the end     20   There is significant physical evidence in that
                          21      of video media four.                                  21   regard.
                          22                  (Whereupon, a break was taken             22        Q. And that was based on the report of
                          23                   after which the follo~~~ing              23   plaintiffs retained expert Ronald Scott?
                          29                   proceedings were had.)                   24        A. Partly; and i listed his report, but


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                                                                      Page 221                                                  Paqe 223
                           1      I could see it for myself as well. He was far         1       Q. 3:00 p.m. and this shooting
                           2      more precise in his evaluation.                       2   occurred in April of 201(, correct?
                           3          Q. Have you received any training in              3       A. Yes.
                           4      crime scene reconstivction?                           9       Q. You didn't go to the scene any other
                           5          A. Oh, as a detective and detective               5   time than the one you did yesterday?
                           6      bureau commander,I did often. We sorted -- as a       6       A. That's correct.
                           7      generalist detective. That would be the best way      7       Q. And yesterday was December 26th,
                           8      to say it.                                            8   2017?
                           9          Q. Did you receive any specialized                9       A. Correct.
                          10      training in that?                                    10       Q. Now,I'm looking at your report and
                          11          A. Just the generalist detective                 11   you wrote that you accepted as true that the
                          12      training. That's all I received.                     12   bullet struck the window, the second bullet fired
                          13          Q. So no classes or college or like FBI          13   by Officer Hitz sU•uck tl~e window, correct?
                          14      run or anything like that?                           14       A. Yes.
                          15          A. Correct.                                      15       Q. And that's based on Ronald ScotPs
                          16          Q. All right. And you've reviewed the            16   report?
                          17      deposition of the plaintiffaud the deposition of     17       A. Yes.
                          18      Officer Hitz and then the IPRA statements ofHitz,    18       Q. And it's based solely on Ronald
                          19      Riordan and then a bunch of individuals identified   19   Scott's report, right, you did no independent
                          20      as Rule 30(b)(6) witnesses, correct?                 20   investigation into whether or not that was
                          21          A. Correct.                                      21   actually Officer Hitz's second bullet?
                          22          Q. Did you review the deposition of any          22       A. Only what was occurred during that
                          23      ofthe independent witnesses?                         23   investigation and the photographs that were taken.
                          24          A. Only the depositions as listed. No            29   Other than that, nothing else other than Scott.


                                                                      Page 222                                                  Page 224

                           1      others.                                               1        Q. And you wrote that -- you comment in
                           2          Q. So no independent witnesses, medical           2   yom• report that it was problematic that you --
                           3      examiners or Illinois State Police forensic           3   that Officer Hitz said that Pierre Lowy was
                           4      personnel?                                            4   quickly able to climb over the fence because you
                           5          A. You are correct.                               5   reference Officer Riordan's statement that he
                           6          Q. Did you review the deposition of               6   needed assistance to get over the fence, correct?
                           7      Ronald Scott?                                         7        A. Correct.
                           8          A. No,I understand he was deposed, but            8        Q. And you said that the fence was sia
                           9      1 have not seen it.                                   9   foot high?
                          10          Q. Did you review the report of the              10        A. You know, it's not six fee[ high.
                          11      other expert witness in this case, Lucien Hague?     11   It's substantially lower than that. I took --
                          12          A. Yes, 1've seen it.                            12   when 1 wrote this report, 1 accepted the
                          13          Q. That's not listed on your documents           13   statements in the investigative file as six feet
                          14      that you reviewed, right?                            19   and it's not and Riordan as you know says he
                          15          A. You know, you're correct. It just             15   thought it was six feet.
                          16      recently was shown to me and I should have           16        Q. Does the fact that it was
                          17      indicated that 1've seen it.                         17   considerably lower than six toot affect your
                          18          Q. Okay. And I understand that you               18   opinion [hat it may have taken Loury additional
                          19      recently went to visit the site ofthe shooting       19   time to climb over the fence?
                          20      incident?                                            20        A. Not in pairticular.
                          21          A. Yes.                                          21        Q. Okay. So, Lousy --did you review
                          22          Q. When did you go do that?                      22   the medical examiner's file?
                          23          A. Right around 3:00 yesterday. 3:00             23        A. The autopsy and the photos, yes.
                           9      p.m.                                                 24        Q. You were able to see that Mr. Lousy


                                                                                                  56 (Pages 221 to 224)
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                                                                       Page 225                                                   Page 227
                           1      was a slight individual with a trim or athletic        1   BY THE WITNESS:
                           2      build?                                                 2       A. In that regard, it does certainly.
                           3          A. Yes.                                            3   And I explained the importance of physical
                           9          Q. You know that Officer Riordan was               9   evidence.
                           5      6'S" and I believe he gave a description that he       5   BY MR.BARNETT:
                           6      was significantly larger, more heavyset?               6       Q. So, in a way, you are commenting in
                           7          A. Yes.                                            7   that you believe the officer's testimony is not
                           8          Q. Does the fact that he is more                   8   credible?
                           9      heavyset than Mr. Loury, does that affect your --      9            MR. ODIM: Object. Misstates his
                          10      did you take that -- tl~e body type of the two        10   evidence and form.
                          11      individuals into consideration when you were          11   BY THE WITNESS:
                          12      stating that it was imp►•obable that Louty was able   12       A. Well, to that extent, I am in that
                          13      to climb the fence without assistance in such a       13   what the officer -- what the two officers said
                          14      quick time?                                           19   occurred in teems of their account as they gave it
                          15          A. I don't think I said it was                    15   and what the physical evidence indicates there is
                          16      improbable lie could climb the fence. The quick       16   a clear discrepancy and so that is, I guess, in
                          17      time -- I accepted Scott's timing. He says the        17   that regard, a credibility issue and I do comment
                          18      whole thing start to finish was 17 seconds. I         18   in favor of the physical evidence.
                          19      think that's physically accurate and I noted that     19   BY MR.BARNETT:
                          20      Riordan had to be helped, I'll use that term, to      20       Q. And what exact physical evidence are
                          21      go over the fence and he was the first one over       21   you referring to in that -- what specific physical
                          22      the fence after Loury.                                22   evidence do you -- are you relying upon to opine
                          23          Q. So -- so the time you just accepted            23   that you do not find the officers trustworthy?
                          24      Mr. Scott's analysis on that point?                   29            MR. ODIM: Objection. Misstates his


                                                                       Page 226                                                   Page 228
                           1          A. Oh, no. There is -- there is a                  1   evidence and foi7n.
                           2      clock. There is a recording. It's 17 seconds.          2   BY THE WITNESS:
                           3          Q. But the timing that -- NIr. Scott's             3       A. I comment in my report, but i'll
                           ~1     analysis of how quickly it took Mr. Lowry to ~vn       9   give you one example I think is a key example.
                           5      you accepted Mr. Scotts analysis on that point?        5   Hitz says that he shot Lowry while he was down and
                           6          A. Only -- only generally. You know,               6   only then. Two shots, quick succession, we have
                           7      Scott talks about how fast he could run and how        7   them recorded and that would not lineup wide the
                           8      much time there was. Clearly this occurs very,         8   shot in the window. That was obvious -- would be
                           9      very quickly and the confi•ontation time 1 noted       9   obvious to any detective at the scene, any
                          10      that Scott puts it at I forget -- within seconds,     10   investigator at the scene and would require
                          11      like less than three seconds. I have it in the        11   workup on that issue, which didn't occur and
                          12      record. I think I might have it written down          12   speaks, I think, volumes.
                          13      here. I don't. But that was enough for me to          13                So knowing that one ofthe shots
                          19      know that it happened very, very quickly and at       19   did not go into Lowy and we have Loury's body in
                          15      close range. That was sufficient for my               15   position we know and the allegation or the
                          16      evaluation.                                           16   statement "I slot both while he was down,° then
                          17          Q. All right. Now, you started out                17   somewhere in chat general range is going to be the
                          18      with the premise that you weren't making any          18   slug from -- from Hitz's gun and there was no
                          19      credibility assessments, but isn't it true that       19   effort to locate it or document it.
                          20      numerous times throughout your deposition today       20   BY MR. BARNETT:
                          21      you have made the comment that the physical           21       Q. And so it is only Mr. Scott who
                          22      evidence belies the officer's testimony, isn't        22   opined that Officer Hitz's second shot went into
                          23      that opining on the credibility of officers?          23   the window?
                          24               MR. ODIM: Objection. Form.                   29       A. You Itnow; you put ~~our tinger on it.


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                                                                       Page 229                                                   Page 231
                           1      You're right. it took Scott to document that and      1   because we have t~~~o points, eve have the blind and
                           2      to put it in good context. 1 saw it obviously and     2   we hive the ~vindo~v itself and alone that line is
                           3      i saw it as a gross deficiency and deliUerate. I      3   going to be the nmzzle of the gun that fired [hat
                           4      took it as deliberate. 1 don't know how it could      4   slug, the failure to worla~p the forensics on the
                           5      be seen any other way, looking the other way that     5   gun itself as 1've discussed. Those issues come
                           6      they ignored it deliberately because there is         6   to mind.
                           7      commentary that in the IPRA statement that the        7       Q. What do you mean by tUe forensics of
                           8      investigator officer at the scene simply took         8   the gun?
                           9      Hitz's statement knowing that that would not line     9            MR. ODIM: Objection. Asked and
                          10      up with the shot through the window, that would      10   answered.
                          11      not explain how that shot -- if the shot was firom   11   BY THE WITNESS:
                          12      Hitz's gun, that that was clearly belied Hitz        12       A. There is three DNA profiles and
                          13      statement on how the shooting occurred and,          13   they're different races. Now,isn't it a simple
                          19      therefore, concluded on that basis it must be from   14   thing of"Hey, Hitz, hey Riordan, let's have your
                          15      another gunshot from some other time.                15   DNA. Let's take a look."
                          16           Q. So you have the shot in tl~e window,         16   BY MR. BARNETT:
                          17      is there any other physical evidence that you        17       Q. Have you reviewed any of the achtal
                          18      relied upon in your opinion that the ot~icer's       18   DNA testing that was conducted on the firearm?
                          19      testimony was untruthful?                            19       A. Only what is in the reports done by
                          20           A. Yes, there is the time that Hitz and         20   Illinois's crime lab. They did a profile.
                          21      Riordan say the sequence of what occurred            21   They're three specific contributors, none of which
                          22      physically, how things could be done in the 16 or    22   matched Loury precisely except for race.
                          23      17 seconds doesn't appear in my opinion to line up   23       Q. You didn't see the most recent DNA
                          24      and then it falls into the category of what is not   24   report that was released witUin the past several


                                                                      Page 230                                                    Page 232

                           1     documented. As I said before, it appears               1   months?
                           2     deliberate. There are a number of those -- a           2       f1. t don't know what you're talking
                           3     number offacts that fall into that category.           3   about.
                           4         Q. So the shot in the window, the                  4       Q. Okay. I'll take that as a no.
                           5     timing of everything that happened, any other          5             MR. ODIM: Misstates his evi~encc.
                           6     physical evidence?                                     6   BY MR. BARNETT:
                           7         A. Well, it's the absence -- I said the            7       Q. You never -- you didn't do any
                           8     absence of things such as locating if there were       8   analysis into the trajectory of the bullet that
                           9     two shots tu•ed and it's uncontested there were.       9   went through the ~~~indow itself, correct?
                          10     There are two shell casings. There are two            10       A. I did not.
                          11     recorded gunshots. The timing of those h~vo           11       Q. You relied on Mr. Scott's analysis
                          12     Gunshots is uncontested. We have a bullet in          12   of that'?
                          13     Loury, it's not through and tlu•ough and we have a    13       A. Correct.
                          19     missing slug. The answer to that tune is bring        14       Q. And there was snow on the ground
                          15     out the tent, bring out the trailer and we're not     15   when you went out thet•e yesterday?
                          16     leaving until we find that slug or account for it.    16       A. There was. About t~~o inches.
                          17         Q, All right. So the shot in the                  17       Q. A lot different than California.
                          18     window, the timing and the absence of continued       18   right?
                          19     searching for that second shell?                      19       A. Yeah, barely. I left 80 degrees.
                          20         A. Well, and there is more. There is              20             MR. BARNETT: All right. I have n~~
                          21     [he failure to walk through it, the failure to --     21   further questions nn behalf of the individual
                          22     even accepting Hitz's statement about that cannot     22   defendants. 191 give it back --
                          23     be one of my shots, failw•e to recover where that     23             MR. ODIM: Plaintiff has no
                          24     slug went, to run the trajectory through --           24   questions.


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                                                                      Page 233                                                 Page 235

                           1        RED T RE C T          EX A M I N A TI O N          1   diagram, is that diagram fi-om when you visited
                           2                  BY MR. GREEN                             2   there?
                           3         Q. I would just like to mention when              3        A. I wrote it out this morning so l
                           9     you first came in 1 asked if you brought anything     4   know where north was and orient myself.
                           5     with you and in reference to the questions to         5        Q. Okay. And you have a note there
                           6     individual defendant attorney I see you're making     6   aUout the McIntosh case and when that occurred?
                           7     reference to notes, do you have notes on this case    7        A. Correct.
                           8     that you brought with you?                            8        Q. August 24th, 2014. And just on the
                           9         A. These are little prompts for -- to             9   front, you also have your opinions one through
                          10     anticipate questions for tl~e depo to make it run    10   five.
                          11     smoothly.                                            11                 Are those the five general
                          12         Q. Let me just have a copy ofthat for            12   opinions that we discussed earlier?
                          13     the record.                                          13        A. Yes.
                          19         A. You can lave it.                              19        Q. And that's how you would group them
                          15              MR. GREEN: I'll Ue right -- we'll           15   yourself?
                          16     just take a quick break.                             16        A. Yes.
                          17              THE VIDEOGRAPHER: Okay. We are              17        Q. And then you have to the right DOJ,
                          18     going offthe video record at 4:40 p.m.               18   is that -- that you base those upon the DOJ
                          19                 (Whereupon, a break was taken            19   report?
                          20                  after which the following               20        A. Right, they're all taken out -- as
                          21                  proceedings were had.)                  21   you know, DOJ lists seven. These are five out of~
                          22              THE VIDEOGRAPHER: We are back on            22   those seven.
                          23     video record at 4:43 p.m.                            23        Q. And that's one would be six, two
                          24              MR. GREEN: All right. Thank you.            29   would be five, three would be eight, four would be


                                                                      Page 234                                                 Page 236

                            1     BY MR. GREEN:                                        1   four and five would besix --
                            2         Q. Mr. Clark, you handed me your notes.          2        A. Correct.
                            3     We made copies for everyone. I marked it as          3        Q. -- is that correct? And just up on
                            4     Exhibit 5.                                           9   the left-hand top comer, what is that?
                            5                 Would you take a quick look at           5        A. Oh, that's my career. Ijust wanted
                            6     exhibit 5 if you have your notes in front of you,    6   to -- in teens of years starting out with Central
                            7     the original.                                        7   Jail, patrol, detective bureau, communications --
                            8                 (Document marked as Clark                8   then I Uecame a sergeant, communications, patrol,
                            9                  Exhibit No. 5 for                       9   EOB, became a lieutenant, CJ, Central Jail, CVS,
                          10                   identification.)                       10   G•escenta Valley Station, RFB, Reserve Forces
                          11      BY THE W17'NESS:                                    11   Bureau and the last NORSAT. Those are the basic
                          12          A. I have it.                                   12   tiu~e periods in my career.
                          13      BY MR. GREEN:                                       13        Q. Okay. And the 7:40 p.m. up here is
                          19          Q. At the top, you have September 2017          19   i[ relates to when the shooting occw•red --
                          15      you have site visit, is that 3 -- is that 3:30      15        A. Correct.
                          16      p.m. or 3:00?                                       16        Q. -- in this underlying case?
                          17          A. 1 think it's -- it is 330, right?            17             MR. GREEN: Okay. No further
                          18          Q. And d~ese «sere notes from yow• visit        1$   questions. Thank you.
                          19      yesterday?                                          19             MR. ODIM: Again, no further
                          20          A. Nn,just this morning when I wrote            z~   questions for the plaintiff and ~~~e'll reserve
                          21      out these limit prompts. That's -- it is 3:30       Z1   signature.
                          22      because my plane landed at 4:30 and -- i mean,      ZZ             MR. GREEN: I ~e+as just going to ask
                          23      2:30. So. right.                                    23   you. Thank you.
                          :'9         Q. And the second page you have a               29             THE VIDEOGRAPHER: All right. Thank



                                                                                                 59 (Pages 233 to 236)
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                                                                                         Page 237                                                        Page 239
                                1      you. This concludes today's deposition.           The time    1             WITNESS ERRATA SHEET
                                                                                                     2
                                       is now -I:d6 p.m. and ~+~e are going off the video                 1 wish to make the following chmiges for the
                                3      record at the end of media unit five.                         3   following reasons:
                                                                                                     9   Page Line
                               9              AND FURTHER DEPONENT SAITH NAUGHT...                       _           Change:
                               5                                                                     5          Reason:
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                          23                                                                                        G7iange:
                          29                                                                        23          Reason:
                                                                                                    29   (Signed)


                                                                                         Page 238                                                        Page 290
                           1                 UNITED STATES DISTRICT COURT                            i            WITNESS ERRATA SHEET
                                             NORTHERN D1STRiCT OF ILLINOIS                           2
                           2                   EASTERN DIVISION                                           I wish to make the following changes for the
                           3                                                                         3   following reasons:
                                    ESTATE OF PIERRE LOURY,            )                             9   Page Line
                           4        Deceased, by Ta~nbrasha  )                                                       Change:
                                    Hudson. Administrator.  )                                        5           Reason:
                           5                                                                         6               Change:
                                               Plaintiff, )No. 16 C 04452
                                                                                                                Reason:
                           6                             )                                           ~
                                        °5               ~                                                          Change:
                           ~                            ~                                            8          Reason:
                                    CITY OF CHICAGO,Chicago )
                                    Police Officers SEAN EIITZ )                                     9              Chmige:
                                    (Star No. G272)and JEFF J. )                                                Reason:
                           9         RIORDAN (S~ar No. 771G), )                                     10
                                                        ~                                                           Change:
                          10                  Defendants. )                                         11          Reazon:
                          11                  1 hereby ccrlifi that 1 have read                     12              Chance:
                                    the foregoing transcript of my deposition given on                          Reason:                           __.
                          12        December 27, 2017, at the time and place                        13
                                    aloresaid, consisting ofPages I thimigh 237,                                    Change: --__.... ___
                          13        inclusive, and f do again subscribe and make an                 19          Reason:
                                    oath that the same is a p'ue, correct and complete              15              Change:
                          l4        [ranscripl otlny deposition so given as aforesaid.                          Reason:
                          ~~                                                                        16
                                             please check one:                                                       Change:
                          ~c                                                                        i~   — a~5o~,:
                                                     have submitted errata sheets)                  1B              Change:
                          l7                        No corrections were noted                                   Reason:
                          1e
                                                                                                    19
                                                  ROGER CLARK
                         L9                                                                                          Change:
                                                                                                    20          Re:~son:
                         '0         SUBSCRIBED AND SWORN TO
                                                                                                    21               Change:
                                    before me tl~is _day
                         '~ 1       of        . A.D., 2018.                                                     Reason:
                          ,,                                                                        22
                                     Nolmy Public                                                                   Change:
                         ,3                                                                         23          Reason:
                          q                                                                         29   (Signed)



                                                                                                                   60 (Pages 237 to 240)
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                                                                                Page 241                                             Paqe 213
                           1             WITNESS ERRATA SHEET                               1         The undersigned is not interested in the
                                   wish ~o make the following chln~es for die               2    ~~-ithin case, nor of kin or counsel to any of the
                           3    follo~~~ing reasons:                                        3    parties.
                           9    Pate t'°e                                                   4         Witness my official signature in and for
                           5           Reason~a~~se                                         5    COOk COUI1Cy, IllinOls, On Ihls             day Of
                           6                Change:                                         6                 , A.D., 2018.
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                                      Change:
                          11      Reason:                                                                     STEVE B         KEY,CSR
                          iz    _     ci,an~e:                                             12                 8 West Moruoe Street
                                  Reason:                                                                     SUjte Z~O~
                          13          C~ ~~ e
                                                                                           13                 Chicago, Illinois 60603
                          lg          Reason:                                                                 Phone: (312)419-9292
                          ~s               Cl~an~e:                                        14                 CSR No.084-004675
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                          21               Change:                                         21
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                          22                                                               22
                                          Change:                                          23
                          23          Reason:                                              2q
                          29   (Signed)

                                                                                Page 242

                           1              UrIITED STATES DISTRICT COURT
                                          NORTHERN DISTRICT OF ILLINOIS
                           2                 EASTERN DIVISION
                           3
                           9           I; Steven Brickey, Certified Shorthand
                           5      Reporter; do hereby certify that o~~ the 27th day
                           E      of December, A.D., 2018, the deposition of die
                           7      ~~~i[ness, ROGER CLARK, called by the Defendants,
                           8      ~~-as taken before me; reported stenographically,
                           9      and ~~~as thereafter reduced to typewriting under my
                          10      direction.
                          11          The said deposition was taken at 30 North
                          12      LaSalle Street, Chicago, Illinois, and there were
                          13      present counsel as previously set forth.
                          19          The said witness, ROGER CLARK, was first
                          15      duly sworn to tell the ouch, the whole t~vth, and
                          16      nothing but die truth, and was then examined upon
                          17      oral interrogatories.
                          18          I fiirther certify that the foregoing is a
                          19      true, accurate, and complete record of'the
                          20      questions asked of and answers made by the said
                          21      witness, ROGER CLARK, at the time and place
                          22      hereinabove referred to.
                          23         'The signatw•e of the witness, ROGER CLARK,
                          29       vas reserved by agreement.



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